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                             DISTRICT OF NEW JERSEY


                                             Case No. 18-cv-04772 (JMV) (JBC)
   IN RE CELGENE CORPORATION
   SECURITIES LITIGATION
                                             SECOND AMENDED
                                             CONSOLIDATED CLASS ACTION
                                             COMPLAINT
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                             GLOSSARY OF TERMS

  AAN                      American Association of Neurology

  ACG                      American College of Gastroenterology

                           American Committee For Treatment And Research In Multiple
  ACTRIMS
                           Sclerosis

  ADME                     Absorption, Distribution, Metabolism and Excretion

  AMF                      Lead Plaintiff AMF Pensionsförsäkring AB

  ARR                      Annualized Relapse Rate

  AUC                      Area Under the Curve

  BD                       Business Development

  CD                       Crohn’s Disease

  CDAI                     Crohn’s Disease Activity Index

  CDEIS                    Crohn’s Disease Endoscopic Index of Severity

  CELG                     Celgene ticker symbol

  CFR                      Code of Federal Regulations

  CPMAC                    Corporate Pricing and Market Access Committee

  CRP                      C-reactive protein

  DDW                      Digestive Disease Week

  DMC                      Data Monitoring Committee

  HEOR                     U.S. Health Economics and Outcomes Research

  I&I                      Inflammation & Immunology

  IBD                      Inflammatory Bowel Disease

  IIEC                     Inflammation & Immunology Executive Committee

  MS                       Multiple Sclerosis

  mRNA                     Messenger RNA


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  MSL                      Medical Science Liaison

  NDA                      New Drug Application

  NICE                     National Institute for Health and Care Excellence

  PA                       Psoriatic Arthritis

  PBM                      Pharmacy Benefits Manager

  RML                      Regional Medical Liaison

  RMS                      Relapsing Multiple Sclerosis

  RTF                      Refuse To File

  S1P1                     sphingosine-1-phosphate receptor-1

  S1P5                     sphingosine-1-phosphate receptor-5

  SEC                      Securities and Exchange Commission

  SES-CD                   Simple Endoscopic Score for Crohn’s Disease

  SOPP                     Standard Operating Policy and Procedure

  UC                       Ulcerative Colitis

  UEGW                     United European Gastroenterology Week




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        Lead Plaintiff AMF Pensionsförsäkring AB (“AMF” or “Lead Plaintiff”), by and through

 its undersigned counsel, brings this action individually and on behalf of all other persons and

 entities who purchased or otherwise acquired the common stock of Celgene Corporation

 (“Celgene” or the “Company”) between January 12, 2015 and April 27, 2018, both dates inclusive

 (the “Class Period”), and were injured thereby (the “Class”).

        Lead Plaintiff alleges the following upon personal knowledge as to itself and its own acts,

 and upon information and belief as to all other matters. Lead Plaintiff’s information and belief is

 based upon, among other things, the investigation conducted by and through its attorneys, which

 included, among other things, interviews with numerous individuals, including former employees

 and consultants of Celgene, a review of Celgene’s public documents, conference calls concerning

 Celgene, United States Securities and Exchange Commission (“SEC”) filings, wire and press

 releases published by Celgene, analyst reports and advisories about the Company, media reports

 concerning Celgene and information obtainable on the Internet. Lead Plaintiff believes that

 substantial additional evidentiary support will exist for the allegations set forth herein after a

 reasonable opportunity for discovery.

 I.     INTRODUCTION

        1.      By 2015, Celgene confronted a major problem. The Company knew that in just a

 few years, it would lose its single largest source of revenue. Celgene’s blockbuster multiple

 myeloma drug, Revlimid, was going to lose patent exclusivity in 2022. As Celgene knew, when

 that happened, less expensive generic versions of Revlimid would immediately take much of the

 market share that had been Revlimid’s alone since 2006. Celgene would no longer be able to lean

 on Revlimid to provide billions in annual revenues. For more than five years running, Revlimid

 had delivered well over half of the net product sales for the entire Company. In 2014, the year



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 prior to the start of the Class Period, net product sales from Revlimid had accounted for $4.98

 billion, or more than 65% of total net sales, for the Company as a whole.

        2.      The approaching threat to Celgene from “the Revlimid patent cliff” was recognized

 in 2015 and throughout the Class Period by investment analysts and national media outlets alike.

 For example, in July 2015, investment analysts at Morningstar discussed the Company’s need to

 “reduce Celgene’s reliance on cancer drug Revlimid beyond 2020.” Celgene’s over-dependence

 on Revlimid continued throughout the Class Period, leading one analyst to write in May 2017 that

 “investors have reason to be ‘concerned’ over the Company’s revenue concentration from

 Revlimid.”

        3.      Celgene needed something it could point to as the replacement for its multi-billion

 dollar blockbuster drug. It needed a major new source for the revenue and growth that investors

 had come to rely on from Revlimid. Celgene knew it. The industry knew it. Investors knew it.

        4.      The alleged fraud in this case begins in January 2015, when Celgene embarked on

 a campaign to fraudulently misrepresent that three drugs in its Inflammation & Immunology

 (“I&I”) franchise were poised to be billion-dollar blockbusters and provide massive revenues after

 Revlimid went off-patent. As Defendants knew, that was nowhere near the truth.

        5.      The first drug was GED-0301 (also known as Mongersen). Licensed from a small,

 Irish pharmaceutical company called Nogra in April 2014 for an upfront $710 million payment

 and tiered royalties, GED-0301 was touted as a potentially transformative treatment for the

 difficult-to-treat inflammatory condition Crohn’s Disease (“CD”) in January 2015. Celgene

 represented that GED-0301 was in an advanced stage of the development and regulatory approval

 process, and at the forefront of Celgene’s new drug pipeline.




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          6.     The second drug was Otezla, a pill that treats psoriasis and psoriatic arthritis

  (“PA”), which Celgene began to sell in 2014. Celgene marketed Otezla as the first oral therapy

  approved by the U.S. Food and Drug Administration (“FDA”) for the treatment of adults with

  active PA.

          7.     Celgene added the third drug, Ozanimod, through a $7.2 billion acquisition of

  Receptos, Inc. (“Receptos”) just months into the Class Period on July 14, 2015. Ozanimod was in

  development for the treatment of multiple sclerosis (“MS”) and ulcerative colitis (“UC”).

          8.     After the Receptos acquisition, on July 15, 2015, The New York Times reported that

  Celgene “has grown to be one of the most successful biotechnology companies, based largely on

  its blockbuster cancer drug, Revlimid. But Revlimid will eventually lose patent protection, and

  the company has been aggressively looking to expand its business and diversify. . . . Celgene

  executives said that ozanimod could have peak annual sales of $4 billion to $6 billion and would

  complement GED-0301 and also Otezla, a pill Celgene already sells to treat psoriasis and psoriatic

  arthritis.”

          9.     Throughout the Class Period, Celgene again and again trumpeted the supposed

  multi-billion dollar “replacement” revenues that these three I&I drugs—GED-0301, Otezla, and

  Ozanimod—would deliver in the next few years, as Revlimid fell off the “patent cliff” and its

  revenues faded away. Unbeknownst to the market, however, from at least 2015 until the end of

  the Class Period, Celgene and numerous Celgene executives materially misrepresented the true

  facts about GED-0301, Otezla and, starting in 2017, Ozanimod.

          10.    In their attempt to assure the market that Celgene could fill the revenue hole

  Revlimid would soon leave, Celgene and the other Defendants concealed the truth from investors

  at almost every turn. In particular, Defendants: (i) blew past red flags and warnings from



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  Celgene’s own employees and independent scientists, while publicly promoting sham, half-baked

  study data with respect to GED-0301, even after GED-0301’s failure was known internally;

  (ii) ignored warnings of flat sales, implacable barriers to market penetration, and explicit calls to

  change long-standing, publicly issued sales guidance for Otezla from Celgene’s senior market

  access executives; and (iii) disregarded warnings and guidance from Celgene’s senior scientists

  and its primary regulator, the FDA, confirming that the Company’s publicly promised application

  for approval of Ozanimod by the FDA in late 2017 would be rejected without required study data.

  Instead, Defendants misrepresented to investors the true state of affairs surrounding the growth

  and development status of these drugs, no matter how bleak things appeared to those within the

  Company.

          11.    By the end of the Class Period, Defendants disclosed that: (i) GED-0301 was such

  an outright failure that it had to be scrapped, resulting in a $1.6 billion impairment charge; (ii) the

  Company had reduced its revenue guidance for Otezla by over a quarter of a billion dollars; and

  (iii) the FDA issued a stunning “Refusal to File” (“RTF”) rejection of Celgene’s initial New Drug

  Application (“NDA”) for Ozanimod. Defendants’ fraud directly caused billions of dollars in losses

  to Celgene investors, which Lead Plaintiff seeks to recover on behalf of the putative Class through

  this action.

          A.     GED-0301

          12.    From at least January 2015 forward, Defendants fraudulently misrepresented

  material facts concerning GED-0301. Until October 2017, Defendants trumpeted GED-0301 not

  only as an emerging blockbuster drug, but as a potentially “miraculous” treatment for

  Inflammatory Bowel Disease (“IBD”), including both CD and UC. These claims were false,

  however, as Defendants misrepresented: (i) the strength of the GED-0301 testing data; (ii) the



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  robustness of the primary GED-0301 study designs; and (iii) the likelihood of GED-0301’s

  commercial success.

         13.     Defendants repeatedly cited to “striking” testing data for GED-0301 throughout the

  Class Period. In truth, however, Celgene never had data showing, with any defensible scientific

  analysis, that GED-0301 worked. In fact, Celgene scientists who reviewed the GED-0301 data

  from the time of Celgene’s licensing of the drug in 2014 onward protested that the data was rife

  with defects and red flags. Furthermore, post-acquisition testing during the Class Period was

  designed to avoid negative results, and thus never corrected these deficiencies.

         14.     It was a deceptive game of “kick-the-can-down-the-road,” in which Celgene

  spuriously touted inadequate GED-0301 data as adequate, while behind the scenes avoiding proper

  testing that would risk proving that the drug did not work. This bought Celgene both investor

  optimism and time—time in which to identify another drug that could potentially deliver post-

  Revlimid revenues.

         15.     Indeed, by early 2017, GED-0301 was treated internally at Celgene as if it had

  already been abandoned in favor of other options. As Celgene publicly promoted GED-0301’s

  prospects as a treatment for CD, the Company internally pivoted away from the drug and

  intensified its efforts to groom Ozanimod as a potential treatment for the disease. In fact, by the

  summer of 2017, Celgene personnel openly discussed in Company meetings that GED-0301

  would be “scrapped.” Despite this, Defendants’ blushing public statements about GED-0301

  remained unchanged until late October 2017, when Celgene finally disclosed that GED-0301 was

  a failure, and was being written down to zero. This belated disclosure caused a $14.63 decline in

  Celgene’s share price in a single day.




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           16.      Defendants’ Class Period misrepresentations concerning GED-0301 began on

  January 29, 2015, when Defendants touted the development-stage drug as a potential blockbuster

  in the lucrative IBD market based, in part, on “striking clinical data” 1 from a Phase II efficacy

  study. 2 In truth, however, the Phase II study did not provide meaningful evidence of efficacy, as

  it did not provide endoscopic confirmation of whether GED-0301 was having a positive effect on

  patients. That is, the study did not determine whether clinical responses potentially attributable to

  GED-0301 were accompanied by actual changes in the bodily tissue affected by CD, i.e., healing.

           17.      While some investment analysts noted the lack of endoscopic testing in the Phase

  II study, Defendants dismissed any suggestion that the data was somehow compromised.

  Defendants reemphasized the purported strength of the Phase II clinical data, and noted that

  additional testing would follow.

           18.      Celgene’s false words of comfort had the intended effect on investment analysts.

  For example, in a report issued on March 18, 2015, after the publication of the Phase II results,

  SunTrust Robinson Humphrey noted the lack of endoscopic data, but concluded, “[n]et-net, we

  view these results as impressive . . . .” Through 2015 and beyond, Defendants continued to

  fraudulently tout the supposed strength of the GED-0301 Phase II data. For example, at a




  1
           Unless otherwise noted herein, all emphasis is added.

  2
           New drugs undergo three phases of pre-approval studies. During Phase I studies, researchers test the new
  drug in 20 to 80 healthy volunteers for safety and adjust dosing amounts to find the highest dose of the new treatment
  that can be given safely without serious side effects. During Phase II studies, researchers administer the new drug to
  a group of patients with the disease or condition for which the drug is being developed to test if the drug works, while
  continuing to collect safety information. Phase III studies presume that the drug has an effect, and are designed to
  assess the safety and effectiveness of the new treatment in a larger population over a longer period of time (and
  therefore its value in clinical practice). Phase III studies are typically randomized controlled multicenter trials on
  large patient groups (300–3,000 or more depending upon the disease/medical condition being studied) and are aimed
  at providing a definitive assessment of how effective the drug is, in comparison with current “gold standard” treatment.

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  healthcare conference in January 2016, Defendant Hugin characterized the Phase II as

  “incredible.”

         19.      Multiple former employees and independent scientists who consulted with Celgene

  about GED-0301 recounted how these and similar statements by Defendants were false and

  misleading because they were not supported by the GED-0301 data that Celgene actually

  possessed. Indeed, as early as 2014, when Celgene acquired the due diligence data on GED-0301,

  including the Phase II study data, members of Celgene’s GED-0301 Advisory Board, comprised

  of independent scientists, warned Celgene, both before and after the Company’s acquisition of the

  drug, of significant deficiencies in the supposed efficacy data. Likewise, former employees and

  scientists at Celgene observed and raised openly the fact that the existing data was flawed and

  indeterminate, and inconsistent with the Company’s public statements.

         20.      For example, a member of the GED-0301 Advisory Board described the Phase II

  evidence touted by Celgene as “too good to be true.” Similarly, a former director in the I&I

  franchise reported that “everybody” at the Company knew the GED-0301 acquisition was “a poor

  science decision” as the study data existing at the time of the acquisition did not support a claim

  of efficacy. According to a former member of the drug’s development team, “something didn’t

  seem right,” and aspects of the data looked “suspicious.” Given the dubious data, Defendants’

  Class Period claims that GED-0301 would be “transformational” were viewed from inside the

  GED-0301 development team as “baffling” and scientifically “irresponsible.”

         21.      The lack of endoscopic data was only one problem. There were other known facts

  that contradicted Defendants’ claim that GED-0301 worked as represented.        Indeed, Celgene’s

  internal experiments established that the drug did not work as the seller, Nogra, had represented

  during the pre-acquisition diligence.    Further, according to former Celgene employees and



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  consultants: (i) GED-0301’s “dose response” data “didn’t add up”; and (ii) “nothing added up”

  in the pre-acquisition mechanism data Celgene reviewed.

         22.     As part of Defendants’ efforts to publicly dismiss any remaining concerns over the

  lack of endoscopic confirmation in the Phase II study, the Company promised investors that it was

  including an endoscopic endpoint as part of a Phase Ib study that was set to commence in April

  2015. Unbeknownst to investors, however, the Phase Ib study, like the Phase II study, was

  defective and unreliable as Celgene chose not to include a placebo control arm. That design flaw

  prevented any apparent efficacy results from being attributed to GED-0301 versus some other

  cause. As such, data from the study could not provide a valid basis for determinations concerning

  the efficacy of GED-0301.

         23.     Defendants nevertheless praised the purported robustness of the Phase Ib study

  design and study results when they came out later in 2016. For example, at the Morgan Stanley

  Global Healthcare Conference on September 12, 2016, Defendant Smith stated that the Phase Ib

  study results were “validating” of the prior Phase II study results. Defendant Callegari echoed on

  an October 18, 2016 conference call that “[t]he efficacy seen in this exploratory trial . . . validates

  previous GED trials and reinforces the potential of GED for patients with active Crohn’s

  disease.”

         24.     Despite these glowing public representations, numerous former employees and

  consultants with direct knowledge of GED-0301’s development recognized the deficiencies in the

  Phase Ib study design, and recounted that these deficiencies were widely acknowledged and

  discussed within Celgene during the Class Period. As a former Celgene employee put it, the

  decision not to include a placebo arm in the study was “a corporate decision”—Celgene “chose

  not to install adequate controls.”



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         25.     Furthermore, given its flawed design, data from the Phase Ib study could not

  support Defendants’ public claims of efficacy. For example, one former Celgene employee who

  reviewed the Phase Ib study results and heard Defendants’ October 18, 2016 statements touting

  GED-0301’s “efficacy” based on the study, recalled that the statements “sounded like a complete

  fabrication” and “didn’t make any sense.”

         26.     As with the Phase II study’s lack of endoscopic testing, certain investment analysts

  noted the Phase Ib study’s lack of a placebo control arm and asked Defendants about the

  unorthodox study design. Defendants doubled-down and falsely assured them that the lack of a

  control arm did nothing to undermine Defendants’ efficacy claims. The analysts again accepted

  Defendants’ lulling statements. For example, in an October 18, 2016 report, analysts from RBC

  Capital Markets commented that the data “continue to point to a promising new oral therapy for

  Crohn’s disease, which is a $5B market opportunity.” In an April 27, 2017 report, analysts at

  BMO Capital Markets talked about “GED-0301’s clean safety and promising efficacy profile.”

         27.     Defendants continued to misrepresent the true state of affairs involving GED-0301

  in and after the fourth quarter of 2016, assuring investors that GED-0301 remained on track for

  regulatory approval, when in fact, major concerns had arisen inside Celgene that GED-0301 would

  not even make it out of ongoing Phase III trials, due to a lack of effectiveness.

         28.     A former Celgene employee who participated regularly in internal quarterly review

  meetings of Celgene’s Vice Presidents recounted that after September 2016, GED-0301 was hardly

  mentioned during the meetings, which was surprising because all pipeline drugs said to be

  advancing towards FDA approval, were discussed. Another former employee stated that, by

  March or April of 2017, an internal push arose to promote Ozanimod as a potential therapy for

  CD. This was striking because Defendants had consistently touted GED-0301 as Celgene’s CD



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  treatment. “Frantic” efforts ensued within Celgene to show better results for Ozanimod in treating

  CD than those shown by GED-0301. In at least one instance, employees were directed to

  manipulate testing parameters to make Ozanimod look better than GED-0301 as a CD treatment.

         29.      Moreover, by no later than July 2017, it was openly discussed within Celgene,

  including by scientists with access to information concerning the Phase III trial, that GED-0301

  would be “scrapped.” The drug would not survive Phase III testing on the basis of futility. Simply

  put, GED-0301 didn’t work.        One former employee reported hearing this plainly material

  nonpublic information and deciding not to sell his Celgene stock out of caution. Another reported

  that the discontinuation of GED-0301 was discussed at an August 2017 meeting in which

  Celgene’s most senior medical executives, including Defendant Callegari and Bob Diamond,

  participated.

         30.      Shockingly, Defendants continued to tout the purported “progress” of GED-0301

  for months after its failure in Phase III had been acknowledged internally at Celgene. For example,

  Celgene presented slides reiterating its purported regulatory approval timeline for GED-0301

  during at least three different healthcare conferences in September 2017. At one of those

  conferences, Defendant Alles expressly discussed Celgene’s development plans for GED-0301,

  even though the decision to “scrap” the drug had been made months earlier.

         31.      Celgene delayed informing the market of the demise of GED-0301 until it could

  present good news, to try to drown out the bad. To that end, on October 16, 2017, Celgene issued

  a press release stating that Phase II studies of Ozanimod showed “meaningful clinical and

  endoscopic improvements in patients with . . . Crohn’s disease.”

         32.      Three days later, on October 19, 2017, Defendants issued a disclosure that corrected

  the months of prior misstatements about GED-0301. Celgene finally admitted that GED-0301 had



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  exhibited futility—i.e., there was no evidence that it worked—and the Phase III trial was

  discontinued. As a result, Celgene disclosed that it would recognize a $1.6 billion impairment of

  the failed GED-0301 asset for a pre-tax charge to earnings of up to a half a billion dollars. In direct

  response to this news, Celgene’s common stock price fell $14.63 per share, or nearly 11%, in one

  day. A report from Evaluate observed, “with the company losing around $10bn of its value this

  morning, shareholders obviously had higher hopes for mongersen [GED-0301].”

         B.       Otezla

         33.      On January 12, 2015, the beginning of the Class Period, Celgene publicly unveiled

  a five year strategic growth plan. Celgene claimed that its I&I franchise would grow to deliver $3

  billion in net sales by 2020—and that Otezla would lead the way. Specifically, Celgene stated that

  Otezla, which launched in 2014, would bring in $1.5 billion to $2 billion in net sales by 2017.

  Defendant Hugin stated that the “progress achieved . . . with Otezla . . . gives us great confidence

  that we are on track to really again meet or exceed the 2017 guidance.” Investment analysts

  cheered this representation of Otezla’s strength, with SunTrust Robinson Humphrey writing that

  it “should spur investor excitement.”

         34.      In multiple statements over the next year and a half, Defendants repeated the refrain

  that Otezla would achieve $1.5 billion to $2 billion in revenues by 2017, signaling to the market

  that the conditions necessary to hit those numbers—sustained and increasing market acceptance

  and sales growth—were firmly in place. Those statements were materially false and misleading

  when made. In reality, after the initial post-release excitement in 2014, Defendants knew that

  Otezla sales growth was flat, and numerous factors barred the way to further market penetration

  for the drug.

         35.      For starters, Otezla was trying to take market share away from well-established,

  proven psoriasis and PA drugs, which doctors knew and trusted, and also faced competition from

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  other new entrants into the space. More fundamentally, Otezla did not work as well as the other

  psoriasis and PA treatments, and Defendants knew it. Reports from the field did not support

  competitive efficacy levels. Otezla also worked more slowly, and on a narrower range of

  indications, than its competitors, further limiting its potential patient population. Furthermore,

  while Celgene promoted the fact that Otezla was an easy-to-take pill, as opposed to the

  inconvenient injections of its competitors, multiple former Celgene employees confirmed that its

  inferior efficacy overshadowed this convenience, contributing to lower prescription rates.

         36.      In addition, insurers and Pharmacy Benefits Managers (“PBMs”), who greatly

  influence whether and when treatments are covered by insurance plans, posed another major

  obstacle to the growth of Otezla sales. In 2015, these entities largely refused to cover Otezla as a

  first-line treatment. Instead, they imposed so-called “step-edits” – requirements that patients first

  try less expensive treatments before being covered for Otezla.

         37.      To get the step-edits removed and attempt to gain market share, Celgene decided

  to “pay to play” and offered steep discounts and rebates to insurers for Otezla. The discounts also

  drove down the price that Celgene could obtain from Medicaid. The discounts, however, did not

  buy Celgene enough market access to offset the lower revenue generated from the discounted

  Otezla sales.

         38.      Numerous former Celgene employees reported that throughout the Class Period,

  these and other fundamental barriers were recognized within the Company as blocking Otezla from

  selling sufficiently to achieve the 2017 sales guidance, which Defendants repeatedly and

  unwaveringly affirmed to the public without any reasonable basis.

         39.      The dismal Otezla growth trends from 2015 and 2016 were recognized and

  discussed at the highest levels of Celgene’s I&I franchise, as was the fact that the publicly-issued



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  2017 net sales guidance for Otezla could not be met. Indeed, former high-ranking Celgene

  employees specifically recounted that at multiple meetings of Celgene’s I&I Executive Committee

  (“IIEC”), of which Defendants Curran and Smith were members, in the third and fourth quarters

  of 2016, senior market access executives presented Otezla data and warned expressly that the 2017

  net sales guidance for Otezla was not attainable.

         40.     By the fourth quarter of 2016, high-ranking Celgene employees, including Robert

  Tessarolo, the Senior Vice President of I&I, U.S., explicitly urged Curran, Smith, and the other

  members of the IIEC to lower the guidance. Despite the fact that, according to a senior executive

  in the U.S. Market Access group, “everyone knew that the actual stated forecast was not

  reasonable” and could not be met, the IIEC insisted that the public guidance would not be changed.

  Indeed, this executive recounts that Defendants Smith and Curran “told” the forecasting team to

  “change” the numbers—i.e., Celgene’s internal forecasts—to make Otezla’s sales growth appear

  better than it actually was. Moreover, Defendants continued to publicly reaffirm the guidance

  through the end of 2016, without any reasonable basis.

         41.     In a public filing in January 2017, Celgene again assured investors that it was on

  track to meet the 2017 guidance and represented that it expected Otezla to achieve approximately

  57% year-over-year sales growth to meet that guidance. Former Celgene personnel recount,

  however, that by early 2017, it was again recognized and openly discussed by senior market access

  employees within the Company that there was no way 57% growth in Otezla sales was attainable

  in 2017.

         42.     Moreover, the IIEC was once again warned, in at least one meeting in early 2017,

  that the Otezla net sales guidance remained too high, was unattainable, and needed to be lowered.

  In response, Defendant Smith cut off the presentation, saying he had heard enough.



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         43.     After Defendants continued to falsely affirm the 2017 Otezla net sales guidance

  throughout the second and third quarters of 2017, on October 26, 2017, Celgene abruptly reversed

  course and admitted publicly that Otezla would not hit the net sales guidance the Company had

  long affirmed, and cut its Otezla guidance by a quarter of a billion dollars. This disclosure

  blindsided investment analysts, and the market reeled in response to the news, with the price of

  Celgene’s common stock falling $19.57, or more than 16% per share, on October 26, 2017 alone.

         C.      Ozanimod

         44.     Defendants also fraudulently misrepresented the true facts about Ozanimod, when,

  starting in January 2017, they represented that this development-stage MS and UC drug was sailing

  towards regulatory approval (and subsequent product launch) in late 2017, based on successful,

  ongoing Phase III clinical testing.

         45.     In reality, in late 2016, Celgene had received results from Ozanimod tests (which

  Celgene had long deferred performing) that identified critical issues in areas known to be of high

  FDA concern. These test results were a huge setback for Ozanimod. They raised basic questions

  about how the drug worked in humans that would require many months, and even years, of

  additional testing to answer. The results virtually guaranteed that the FDA would not accept, much

  less approve, an Ozanimod NDA in 2017 as the Company had represented to investors. In a private

  meeting, the FDA told Celgene that further testing was required with the Ozanimod NDA. Yet

  Celgene said nothing to the market and, instead, pushed forward with the doomed Ozanimod NDA

  in late 2017, without the additional test results. The FDA promptly rejected the NDA, revealing

  Defendants’ fraud to a stunned marketplace.

         46.     Celgene acquired Ozanimod in July 2015, when it bought Receptos, the company

  that first developed the drug. Strong results from advanced clinical studies made Ozanimod the

  “crown jewel” of the $7.2 billion acquisition, and Celgene immediately projected FDA approval

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  and launch by 2018, and potential Ozanimod sales of up to $6 billion per year. Post-acquisition,

  Celgene took complete control of Receptos, installing Defendant Philippe Martin (Celgene’s Vice

  President of Leadership & Project Management – Immunology) as de facto CEO.

         47.     If Ozanimod won FDA approval, it would compete directly with the established

  MS drug, Gilenya. Just three months after Celgene bought Ozanimod, however, a major patent

  ruling against Gilenya fundamentally changed the market outlook. In October 2015, Gilenya lost

  a challenge to would-be generics. Cheap, generic versions of Gilenya would thus hit the market

  by 2019. This ramped up the pressure on Celgene to establish Ozanimod’s market share well

  before 2019, when competition from Gilenya generics would kick in.

         48.     In 2015, Celgene repeatedly told the market that Phase III trials for Ozanimod were

  well underway, and that the drug was on track for submission for FDA approval (for MS

  indications) by 2017, and a projected launch by 2018. Analysts cheered Ozanimod’s progress

  toward launch, with RBC Capital Markets analysts, for example, reporting that Ozanimod was

  “ahead in timing,” as of November 2015. The Gilenya generics ruling left little margin for error.

         49.     However, through 2015 and much of 2016, Celgene’s Ozanimod development

  portfolio was missing a crucial component. Namely, Celgene lacked complete and adequate

  testing of Ozanimod’s metabolites. Metabolites are essentially the chemical byproducts of the

  body breaking down a drug. They can be inactive or active. Active metabolites produce their own

  effects on the body and can impact the functioning of drugs. New Drug Applications must address

  drug metabolism, and in guidance dating back to at least 2008, the FDA has made clear that testing

  and understanding the properties of active metabolites associated with a drug is a priority that

  should be undertaken “as early as possible” in drug development. The FDA warns that a failure

  to ascertain metabolite effects can “cause development and marketing delays.” Seminal drug



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  development literature also urges that the importance of metabolite testing “cannot be

  overemphasized,” and that it should be done “at an early stage of clinical development, such that

  issues of disproportionate human metabolites may be addressed prior to the initiation of large-

  scale clinical trials.”

          50.     Nevertheless, Celgene had pushed forward with large scale Phase III clinical trials

  of Ozanimod without the requisite metabolite testing. The Company had put off performing

  (among other tests) the critical test to conclusively identify all active metabolites and begin to

  study how these metabolites affected the body—the “human radiolabeled mass balance study,”

  which is “generally accepted” in the field as the “gold standard.” Working, in effect, out of order,

  Celgene sought to backfill clinical pharmacology testing of Ozanimod (including metabolite

  testing) only after it had publicized promising results from the efficacy phases of the drug’s

  development.

          51.     Celgene did not begin the necessary “mass balance” testing for Ozanimod

  metabolites until October 2016—more than a year after Celgene acquired Ozanimod.

  Unbeknownst to investors, this testing detected the disproportionate presence of a highly active

  metabolite, named CC112273 by Celgene (the “Metabolite”). Under FDA guidance, various forms

  of significant, additional testing on the Metabolite were required before submitting the Ozanimod

  NDA. Those tests, however, would take time.

          52.     These late metabolite test results, obtained in November 2016, sent shockwaves

  through Celgene. Defendant Martin and other Celgene senior management knew about the results

  and regularly received updates on the issue. Former employees with roles in the Ozanimod

  development process immediately recognized the need for additional testing on the Metabolite

  before an Ozanimod NDA could be filed with the FDA. These former employees noted that filing



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  the NDA without the testing would cause the FDA to issue an RTF letter—which is a rejection of

  the NDA as facially deficient—a fact that was conveyed to their direct management. One former

  clinical pharmacologist who had first-hand knowledge of the discovery of the Metabolite stated

  that the working team in “clinpharm” advocated that if Celgene submitted the NDA, it would

  get a refusal to file, and he thought other teams felt that way too from speaking with them. A

  second former employee also recounted that the need for additional testing was raised in a meeting

  involving Celgene senior leaders, including Defendants Tran and Martin, in early 2017. However,

  Martin abruptly shut down the discussion.

          53.     Notwithstanding the discovery of the Metabolite in November 2016 and the need

  to conduct protracted additional Phase I testing, Defendants knowingly misrepresented that the

  NDA was on track to be submitted by the end of 2017 pending only the results of ongoing Phase

  III testing, and that Ozanimod remained on track for FDA approval in 2018. Specifically,

  Defendants told the market that Ozanimod was advancing through Phase III testing, and that,

  “contingent on that, we will file an NDA for Ozanimod in multiple sclerosis by the end of the

  year.” And when the last Phase III trial was ultimately completed in the spring of 2017, Defendants

  touted the results, without ever mentioning the need to go back and perform basic Phase I testing

  on the Metabolite. In essence, Defendants told investors that Ozanimod was on the two-yard line

  for NDA submission when, in fact, given the need to conduct the additional testing, it was back at

  the fifty-yard line.

          54.     Analysts relied upon on Defendants’ misrepresentations. For example, in a January

  2017 report, J.P. Morgan analysts wrote that an Ozanimod “NDA submission” by year-end 2017

  was a “Key 2017 catalyst” for Celgene.




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         55.     Former Celgene employees also recounted that Celgene met with the FDA in

  November 2017 to discuss the Ozanimod NDA and the FDA explicitly informed Celgene that the

  Metabolite test results must be included in any Ozanimod NDA. Despite this directive from the

  FDA, Defendants charged ahead and filed the deficient Ozanimod NDA in December 2017. This

  was a reckless gamble that was also financially motivated. Former Celgene employees report that

  Defendant Martin and other executives received lucrative bonuses upon mere submission of the

  NDA to the FDA—and that they “just wanted to get the NDA out the door.” Furthermore, as

  noted above, Celgene was desperate to capture market share from Gilenya before it lost patent

  exclusivity in 2019—and delaying submission of the NDA to complete protracted testing of the

  Metabolite would prevent Ozanimod’s launch until after the market was saturated with cheaper

  generic alternatives.

         56.     On February 27, 2018, Celgene shocked the market when it disclosed that it had

  received an RTF rejection of its Ozanimod NDA application from the FDA—just as Celgene

  employees had warned.      Celgene disclosed that, “[u]pon its preliminary review, the FDA

  determined that the . . . pharmacology sections of the NDA were insufficient to permit a complete

  review.” The FDA issues an RTF only where an NDA contains glaring, facial deficiencies,

  including “scientific incompleteness, such as omission of critical data, information or analyses

  needed to evaluate safety, purity or potency.” Notably, RTFs are exceedingly rare—industry

  observers estimate that RTFs have been issued just forty-five times in the past sixteen years and

  almost never to well-established pharmaceutical companies like Celgene.

         57.     Celgene’s receipt of the RTF was a public debacle. Investment analysts decried

  Celgene’s “self-inflicted wounds” and lashed the Company with criticism. When the dust settled




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  on the February 27, 2018 disclosure, it had driven Celgene’s common stock price down by $8.66

  per share in a single day.

         58.     In late April 2018, Celgene disclosed additional information about the Metabolite.

  Based on this presentation, analysts from Morgan Stanley reported that completion of the required

  metabolite testing would delay the refiling of the Ozanimod NDA by up to three years, or until

  2021. In direct response to this final disclosure, which concludes the alleged Class Period,

  Celgene’s common stock price fell an additional $4.08 on heavy trading.

  II.    JURISDICTION AND VENUE

         59.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Securities

  Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b) and 78n(a), and the rules and

  regulations promulgated thereunder, including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5.

         60.     This Court has jurisdiction over the subject matter of this action pursuant to Section

  27 of the Exchange Act, 15 U.S.C. § 78aa, and under 28 U.S.C. § 1331, because this is a civil

  action arising under the laws of the United States.

         61.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

  U.S.C. § 1391(b), because Defendant Celgene conducts business in this District and also maintains

  its administrative headquarters in this District.

         62.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

  Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

  including but not limited to, the United States mail, interstate telephone communications, and the

  facilities of the national securities exchange.




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  III.    PARTIES

          A.         Lead Plaintiff

          63.        Lead Plaintiff AMF is one of the largest pension companies in Sweden. AMF

  manages the AMF family of mutual funds, as well as separate pension, private client, and fixed

  income portfolios.       AMF was established in 1973 as the asset management branch of the

  Stockholm-based AMF insurance group, and manages approximately $65 billion in assets on

  behalf of more than four million pension customers. As set forth in the certification attached hereto

  as Exhibit A, AMF purchased or otherwise acquired Celgene common stock on the NASDAQ at

  artificially inflated prices during the Class Period and was damaged as a result of the conduct

  alleged herein. On September 26, 2018, this Court appointed AMF as Lead Plaintiff for this

  litigation.

          B.      Defendants

                1.          Celgene

          64.        Defendant Celgene, a Delaware corporation headquartered in Summit, New Jersey,

  is an integrated global biopharmaceutical company engaged primarily in the discovery,

  development, and commercialization of therapies for the treatment of cancer and inflammatory

  diseases. The Company operates two key divisions: (i) the I&I franchise, which focuses on

  developing drugs for treatment of inflammatory diseases, such as psoriasis, PA, UC, MS, and CD;

  and (ii) the “Hematology & Oncology” franchise, which focuses on developing treatments for

  blood diseases and cancer. Celgene’s common stock trades on the NASDAQ Global Select Market

  under the ticker symbol “CELG.” For fiscal year 2017, Celgene reported earnings of $2.539 billion

  with annual revenues of $13 billion.

          65.     On July 15, 2015, Celgene entered into an agreement and plan of merger with

  Receptos, a San Diego, California-based biopharmaceutical company, pursuant to which Celgene

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  acquired Receptos and its development-stage drug, Ozanimod, through a series of merger

  transactions for $7.2 billion. On August 27, 2015, Celgene closed its acquisition of Receptos,

  which resulted in Receptos becoming a wholly-owned subsidiary of Celgene.

               2.         The Individual Defendants

         66.        Defendant Mark J. Alles (“Alles”) has served as Celgene’s Chief Executive Officer

  (“CEO”) since March 1, 2016 and Chairman of its Board of Directors since February 6, 2018.

  According to the Company’s 2017 Annual Report, as CEO, Alles is the chief operating decision

  maker, and manages and allocates resources at the global corporate level. As discussed in the

  Company’s April 30, 2018 Proxy Statement, at the beginning of each fiscal year, Alles establishes

  goals and objectives with each executive officer that are designed to advance his or her functional

  role, while promoting achievement of overall corporate performance goals. From August 2014

  until February 2016, Alles served as Celgene’s Executive Vice President and Chief Operating

  Officer (“COO”). Alles was elected to Celgene’s Board of Directors in February 2016. Prior to

  this time, Alles served in other senior executive positions at Celgene for over fourteen years.

         67.     Defendant Robert J. Hugin (“Hugin”) was Executive Chairman of Celgene’s Board

  of Directors from March 1, 2016 until his retirement on February 5, 2018. Prior to that time, from

  June 2011 until March 1, 2016, Hugin served as Chairman of Celgene’s Board of Directors. Hugin

  also served as CEO from June 16, 2010 until March 1, 2016. According to the Company’s 2015

  Proxy Statement, as CEO, Hugin was responsible for creating, implementing, and integrating the

  strategic plans for both of Celgene’s franchises.

         68.     Defendant Scott A. Smith (“Smith”) served as Celgene’s President and COO from

  April 1, 2017 until his departure from Celgene, on April 2, 2018. Prior to April 1, 2017, Smith

  was President of the I&I franchise. According to the Company’s 2017 Proxy Statement, in this

  role, Smith was engaged in company-wide strategic planning and decision making aimed at

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  delivering on short and long-term financial goals and continuing to innovate, develop, and

  commercialize Celgene’s products.       Smith also oversaw the clinical development, global

  registration, and commercial sales of drugs within the I&I franchise.

         69.     Defendant Peter N. Kellogg (“Kellogg”) currently serves as Celgene’s Executive

  Vice President and Chief Corporate Strategy Officer. Kellogg previously served as Celgene’s

  Chief Financial Officer (“CFO”), and Chief Accounting Officer from August 2014 until August

  2018. Kellogg joined Celgene as Executive Vice President in July 2014.

         70.     Defendant Terrie Curran (“Curran”) was promoted to President of Celgene’s

  Global I&I franchise on April 1, 2017. From March 2016 through April 1, 2017, Curran served

  as Head of Worldwide Markets for Celgene’s I&I franchise. From April 2013 to March 2016,

  Curran served as the U.S. Commercial Head of the I&I franchise. According to Celgene’s Senior

  Management Team biographies, in this role, Curran built capabilities and recruited the teams that

  executed the U.S. launch of Otezla.

         71.     Defendant Jacqualyn A. Fouse (“Fouse”) served as the Strategic Advisor to the

  Celgene Management Executive Committee beginning on April 1, 2017 and retired from Celgene

  effective June 30, 2017. Prior to assuming this role, from March 2016 through March 2017, Fouse

  served as the President and COO of Celgene. Fouse was also the President of the Hematology &

  Oncology franchise from August 2014 through February 2016, and was elected as a member of

  Celgene’s Board of Directors effective February 11, 2016.

         72.     Defendant Philippe Martin (“Martin”) has served as Celgene’s Vice President of

  Leadership & Project Management - Immunology since January 2014. Martin also served as

  Celgene’s Corporate Vice President from January 2017 to June 2018. From June 2016 to June

  2018, Martin also served as Managing Director at Celgene-Receptos.



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          73.     Defendant Nadim Ahmed (“Ahmed”) was promoted to President of Celgene’s

  Hematology & Oncology franchise on August 23, 2017. From March 2016 to August 23, 2017,

  Ahmed served as President of Worldwide Markets for Hematology & Oncology. From August

  2014 until March 2016, Ahmed served as General Manager of the U.S. Hematology & Oncology

  franchise.

          74.        Defendant Jonathan Q. Tran (“Tran”) has served as the Executive Director of

  Clinical Pharmacology at Receptos since its purchase by Celgene in July 2015.

          75.        Defendant Peter Callegari, M.D. (“Callegari”) has served as Corporate Vice

  President of Global Medical Affairs for Celgene’s I&I franchise since September 2013.

          76.     The Defendants referenced above in ¶¶ 66-75 are referred to herein as the

  “Individual Defendants.”

          C.      Relevant Non-Parties

                1.         Former Employees, Consultants and Scientists 3

          77.     FE 1 is an IBD and Clinical Trials expert who previously served as a consultant to

  Celgene, beginning prior to the Class Period. FE 1 holds an M.D. and is board certified in

  Gastroenterology and Internal Medicine. FE 1 is a professor of medicine and a medical director

  of a digestive health center at a leading university. FE 1 has published hundreds of medical articles

  and has overseen dozens of clinical trials. As a consultant, FE 1 advised Celgene on its acquisition

  of GED-0301, reviewed proposed protocols for the Phase II and Phase Ib clinical trials, and

  assisted in planning the Phase III GED-0301 study. These responsibilities included advising




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           Former Employees, Consultants and Scientists (“FEs”) will be identified herein by number (FE 1, FE 2,
  etc.). Regardless of gender, all FEs will be described in the masculine to protect their identities.


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  Celgene on the design of the GED-0301 Phase III clinical trial in CD, and providing input on

  which specific controls to use.

            78.   FE 2 worked in Clinical Research & Development in the Company’s I&I franchise

  before the beginning of the Class Period to late 2016 in Summit, New Jersey. FE 2’s

  responsibilities included long-term planning of both organizational and project-related activities,

  and assisting the Vice President of the I&I Clinical Research and Development department with

  the management of the department. Additionally, FE 2 participated in clinical development

  planning for I&I’s compounds and managed departmental activities to ensure on-time delivery of

  the clinical component for regulatory submissions. FE 2 also served as a member of the GED-

  0301 developmental team and participated in writing a protocol for one of the GED-0301

  studies. Prior to his work with GED-0301, FE 2 worked on over five NDAs for various drugs.

            79.   FE 3, a board certified physician in Internal Medicine, Gastroenterology, and

  Transplant Hematology, served as a Principal Investigator for Celgene’s GED-0301 Phase Ib

  clinical trial. FE 3 is a professor of medicine at a major university and the Director of an IBD

  program at the university’s hospital.

            80.   FE 4 worked in Translational Development, I&I at Celgene throughout the Class

  Period.     In this role, he was responsible for the design, implementation, and analysis of

  pharmacodynamics and pharmacogenetics biomarker studies in Phase I and Phase II clinical trials.

  Additionally, FE 4 led efforts to develop compounds for inflammatory and immunological

  diseases. FE 4 was also a member of the research management team where he oversaw the research

  and development for Celgene’s developmental drugs.

            81.   FE 5 was employed as a Director at Receptos from mid-2015 to mid-2017. While

  at Receptos, FE 5 oversaw and performed statistical analyses for the Ozanimod CD and UC



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  studies. In this role, FE 5 was a regular attendee at meetings related to Celgene’s Ozanimod

  clinical trials, including meetings regarding the submission of Ozanimod for FDA approval as a

  treatment for Relapsing Multiple Sclerosis (“RMS”). FE 5 also reviewed the GED-0301 Phase Ib

  study results in connection with his work on Ozanimod. While at Receptos, FE 5 reported to Jeff

  Kopicko (“Kopicko”), the Executive Director of Biometrics. Kopicko reported to Defendant

  Martin, who in turn, reported to Defendant Smith.

         82.     FE 6 was a Regional Medical Liaison (“RML”) for the Company’s I&I franchise

  in the New England region from before the beginning of the Class Period to late 2017. In this role,

  FE 6 was part of the Market Access team, where he worked with Account Manager teams to

  identify scientific and medical support needs for accounts with marketed and pipeline products in

  the I&I franchise. FE 6 was also responsible for maintaining a working knowledge of all the I&I

  franchise’s products so that he could educate the Account Managers on a product’s clinical data.

         83.     FE 7 was a Senior National Account Manager at Celgene from 2013 to 2016. FE

  7’s work encompassed Market Access, in which he had 18 years of experience. FE 7 advised

  Celgene’s senior executives on the pricing strategy and market access strategy for Otezla. These

  senior executives included Sal Grausso (“Grausso”), Executive Director of Market Access for I&I,

  Betty Jean Swartz (“Swartz”), Vice President of U.S. Market Access, Robert Tessarolo

  (“Tessarolo”), Senior Vice President of I&I, U.S., Gordon Willcox (“Willcox”), Vice President of

  Market Access, and Defendant Curran. In his role as Senior National Account Manager, FE 7

  reported to Defendant Curran and Grausso, who in turn reported to Defendant Smith.

         84.     FE 8 was an I&I Sales Representative at Celgene from before the beginning of the

  Class Period to late 2017 in the Northeast Region and his focus was on selling Otezla.




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         85.     FE 9 was a Dermatology Specialty Sales Territory Manager at Celgene from before

  the beginning of the Class Period to early 2017 in the Southwest Region and his focus was on

  selling Otezla. He was also involved in Celgene’s launch of Otezla.

         86.     FE 10 worked as a Rheumatoid Sales Specialist for Celgene from early 2015 to late

  2016. FE 10 was responsible for Otezla sales in the Northeast Region.

         87.     FE 11 was a Celgene District Sales Manager for the Northeast Region from before

  the beginning of the Class Period to late 2016. As District Sales Manager, he received weekly

  reports regarding Otezla sales volume and growth for the previous week, quarter, and half-year,

  and a year-over-year comparison. FE 11 had eleven Otezla sales representatives under his

  supervision—five rheumatoid representatives and six dermatology representatives.

         88.     FE 12 was a Sales Representative for Celgene from before the beginning of the

  Class Period to late 2017. FE 12 was responsible for Otezla sales in the Northeast Region.

         89.     FE 13 was a Regional Sales Manager at Celgene from before the beginning of the

  Class Period to early 2015. FE 13 was in charge of I&I sales for more than five states in the mid-

  and western U.S. FE 13 was responsible for the launch and sales of Otezla.

         90.     FE 14 was a Sales Representative at Celgene from before the Class Period to early

  2017. FE 14 promoted Otezla to doctors in a large Northeast market, from the early days of

  Otezla’s launch until he left Celgene. At least quarterly, FE 14 received a ranking report, which

  force ranked FE 14 against other Otezla sales personnel based on their volume of Otezla sales.

         91.     FE 15 was a senior member of the Pricing and Market Access group at Celgene

  from before the beginning of the Class Period to late 2015. In this role, FE 15 developed market

  access models for various drugs, including Otezla. These models were based on the drug’s efficacy




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  compared to other medications already in the market space. FE 15 provided the models to Frank

  Zhang (“Zhang”), Celgene’s Global Head of HEOR, who reported to Defendant Smith.

         92.    FE 16 was a high-ranking member of HEOR and Pricing for the U.K. and Ireland

  at Celgene throughout the Class Period.      In this role, FE 16 was responsible for making

  reimbursement submissions to the National Institute for Health and Care Excellence (“NICE”), an

  organization in the U.K. that determines whether the government will reimburse a company for a

  new drug. FE 16 reported to the Head of Market Access and Corporate Affairs for the U.K. and

  Ireland, the Global Head of HEOR and Pricing for I&I in the U.S., who reported to Defendant

  Smith, and a high-ranking member of the Global Market Access group.

         93.    FE 17 was a senior executive in the U.S. Market Access group at Celgene from

  early 2016 to late 2017. In this role, FE 17 worked with the managed care team where he

  negotiated new contracts with health plans. FE 17 led the U.S. Market Access team responsible

  for optimal patient access, strategic development, and execution of Celgene’s value proposition.

  FE 17 also prepared pricing recommendations for the IIEC, which included pricing

  recommendations for Otezla. FE 17 reported to Tessarolo. Tessarolo reported to Defendant Smith

  and Defendant Curran.

         94.    FE 18 was a senior executive in the U.S. Health Economics and Outcomes Research

  (“HEOR”) group at Celgene from before the beginning of the Class Period to early 2018. FE 18

  reported to Swartz.

         95.    FE 19 was a senior executive in U.S. Field HEOR from mid-2016 through the end

  of the Class Period. FE 19 worked in external Market Access to guide key decision makers with

  respect to patient access to specific drugs and services, efficacy, and safety. FE 19 reported up

  through the Executive Director of U.S. HEOR.



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         96.     FE 20 was a senior executive in Clinical Development at Receptos from before the

  beginning of the Class Period to late 2016.    FE 20 was responsible for conducting all the Phase

  II and Phase III studies for Ozanimod in MS and UC.

         97.     FE 21 was a Clinical Pharmacologist from late 2016 to early 2018 at Receptos and

  worked on the Phase I studies of Ozanimod. FE 21 contributed to the clinical pharmacology

  section of the Ozanimod NDA and had first-hand knowledge of the Metabolite starting at the time

  of its discovery. Following this discovery, FE 21 worked on studies regarding the Metabolite,

  including tests to identify and characterize the Metabolite.

         98.     FE 22 was a contractor for Receptos and worked as a Project Manager for the

  Ozanimod UC/CD team in San Diego between late 2017 and early 2018. As a Project Manager,

  FE 22 oversaw the Ozanimod UC/CD drug development through various clinical stages. FE 22’s

  job responsibilities also required him to be kept apprised of the status of the MS Ozanimod project.

  IV.    FACTUAL ALLEGATIONS

         A.      Celgene Needed to Offset the Looming Loss of Revlimid’s Patent
                 Protection

         99.     After the launch of Revlimid in 2006, the drug quickly became a blockbuster for

  Celgene. By 2010, Revlimid accounted for $2.469 billion in annual product sales—roughly 70.4%

  of Celgene’s total annual net product sales—and, by the end of 2014, just before the start of the

  Class Period in January 2015, Revlimid accounted for $4.980 billion in sales.

         100.    Celgene’s over-reliance placed significant pressure on the Company to diversify its

  pipeline away from Revlimid. Indeed, analysts often cited the risk inherent in Celgene’s financial

  success being tied so closely to a single drug. On May 5, 2017, for example, Benzinga reported

  that “investors have reason to be ‘concerned’ over the company’s revenue concentration from




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  Revlimid. . . . During the recent quarter, sales of Revlimid accounted for 64 percent of total

  revenue and that proportion is only growing.”

         101.    The Revlimid patent protects the drug from generic competition, but only until the

  year 2022. With Revlimid’s patent expiration on the horizon, and given the frequent challenges

  to the validity of the patent by a number of generic drug manufacturers, Celgene was under intense

  pressure before and during the Class Period to create and maintain a drug pipeline (including

  through acquisitions) to offset the anticipated loss in revenues that would result from generic

  Revlimid competitors entering the market.

         102.    For example, on July 15, 2015, The New York Times recognized Celgene’s need to

  replace the revenue it historically relied upon from Revlimid in an article discussing Celgene’s

  recent acquisition of Receptos:

         Celgene agreed on Tuesday to pay $7.2 billion in cash to acquire Receptos, which is
         developing a potentially promising drug for autoimmune diseases. . . . Receptos, based in
         San Diego, is developing a drug called ozanimod that is now in late-stage clinical trials as
         a treatment for multiple sclerosis and ulcerative colitis, with an approval possible for
         multiple sclerosis as early as 2018 and for ulcerative colitis the year after. . . .
         [Celgene] has grown to be one of the most successful biotechnology companies, based
         largely on its blockbuster cancer drug, Revlimid. But Revlimid will eventually lose patent
         protection, and the company has been aggressively looking to expand its business and
         diversify. . . .
         Celgene has earned a reputation as willing to pay top dollar either to acquire smaller
         companies or to license their drugs. . . . Last year it made an eye-popping initial payment
         of $710 million to an obscure company based in Dublin, Nogra Pharma, for rights to GED-
         0301, a drug being tested for Crohn’s disease, which, like ulcerative colitis, is an
         inflammation of the bowel. . . .
         Celgene will be paying more than 16 times the $14 price at which Receptos went public
         two years ago. Celgene executives said that ozanimod could have peak annual sales of $4
         billion to $6 billion and would complement GED-0301 and also Otezla, a pill Celgene
         already sells to treat psoriasis and psoriatic arthritis.




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          103.    Celgene itself also told the market that it was diversifying its pipeline away from

  Revlimid and situating itself to offset the anticipated loss of Revlimid patent exclusivity and the

  accompanying reduction in revenues with the Company’s I&I franchise. On May 31, 2017, for

  example, Celgene touted GED-0301 as one of its most promising treatments and important assets,

  and Alles, after referencing the Company’s historical reliance on annual Revlimid revenues, told

  investors that GED-0301, Ozanimod and Otezla, would serve as a “replacement for it.”

          B.       Defendants Misrepresent the Deficient Data Supporting the Efficacy
                   of GED-0301 and Conceal the Drug’s Failure

                 1.        Celgene Acquires GED-0301 Based on Inadequate Study Data

          104.     Celgene made its first foray into the IBD market through its multi-billion dollar

  acquisition of the rights to development-stage drug GED-0301, also known as Mongersen.

          105.     IBD is a term used to describe two similar disorders that involve chronic

  inflammation of the digestive tract: CD and UC. 4 According to the Centers for Disease Control

  and Prevention, an estimated 3.1 million people in the U.S. were diagnosed either with CD or UC

  in 2015.

          106.    In addition to anti-inflammatory drugs, the primary treatments for both CD and UC

  are immunosuppressive therapies, which inhibit patients’ inflammatory response, thereby allowing

  for healing of the ulcers that accompany CD and UC. Two of the leading drugs—AbbVie’s

  Humira (adalimumab), which has been available to treat PA since 2005, CD since 2007, psoriasis

  since 2008, and UC since 2012, and Johnson & Johnson’s Remicade (infliximab), which has been

  available to treat CD since 1998, UC and PA since 2005, and psoriasis since 2006—are so-called




  4
           Crohn’s Disease is characterized by relapsing inflammation leading to ulcers in the ileum and colon.
  Ulcerative Colitis is characterized by long-lasting ulcers in the innermost lining of the colon and rectum.


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  “biologic” therapies that work by neutralizing a protein produced by the immune system. Each

  generated billions of dollars per year in sales during the Class Period. However, biologic

  treatments carry well-known drawbacks. They are administered only through injection and carry

  an increased risk of infection, among other side effects. Moreover, while biologic therapies such

  as Humira and Remicade have proven effective in relieving some patients’ symptoms, they are not

  effective in as many as one-third of IBD patients.

         107.    By contrast, Celgene heralded GED-0301 as an oral medication, with a different

  mechanism of action than the biologics, and which targeted the root cause of IBD while potentially

  avoiding the side effects associated with Remicade and Humira. Celgene claimed that GED-0301

  offered a potential new path to break into the lucrative IBD market.

         108.    On April 24, 2014, Celgene announced that it had entered into a global, royalty-

  bearing license agreement with Nogra Pharma Limited, a private pharmaceutical company based

  in Dublin, Ireland, to develop and commercialize GED-0301 for the treatment of CD and UC. As

  part of the deal, Celgene paid $710 million upfront and committed to almost $2 billion in additional

  payments based on the achievement of certain development, regulatory and sales milestones, as

  well as tiered royalties on sales of licensed products. The $710 million Celgene paid was the

  largest upfront payment any drug company had ever made to acquire a single drug.

         109.    In announcing the deal, Celgene described GED-0301 as “an oral antisense DNA

  oligonucleotide targeting Smad7 mRNA for the treatment of moderate-to-severe Crohn’s disease

  and other indications.” Whereas biologic therapies suppress the body’s immune response to

  control inflammation, antisense therapies such as GED-0301 are supposed to work by shutting

  down the genes that cause diseases by binding to messenger RNA (mRNA), which is genetic

  material involved in the body’s production of proteins.



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         110.    At the time of the acquisition, the only publicly available clinical data on GED-

  0301 came from a 15-subject Phase I trial.

         111.    Nevertheless, Celgene—which, alone, knew the full extent and nature of the

  information it had reviewed in pre-acquisition due diligence—described GED-0301 in an April

  24, 2014 press release as a “late-stage product” and told investors that GED-0301 had already

  made its way through a placebo-controlled Phase II study, and that the data from this study had

  been submitted to a major medical journal and would be presented at an upcoming medical

  congress. The press release touted the non-public Phase II trial as a “double-blind, placebo-

  controlled, multicenter phase II trial of three doses of GED-0301 in 166 patients with active

  Crohn’s disease.” Based upon the data it possessed on GED-0301, Celgene stated that it intended

  to begin recruiting patients for a Phase III clinical trial by the end of 2014.

         112.    In the April 24, 2014 press release, Defendant Smith, then Celgene’s Senior Vice

  President and Global Head of I&I, stated that “GED-0301 is a potentially transformative therapy

  that demonstrated striking clinical activity in a phase II trial for Crohn’s disease.” Smith added

  that the acquisition “strengthens our expanding pipeline of novel therapies intended to address

  significant unmet medical need in immune-mediated diseases.”

         113.    During a conference call with analysts and investors that same day, Defendants—

  including Hugin, Alles and Smith—repeated similar claims. For example, Smith described GED-

  0301 as a “breakthrough compound,” and cited non-public data, to which only Defendants had

  access, that purportedly demonstrated “consistently high response rate and rate of remission after

  just 4 weeks” of treatment. Defendants also highlighted the purported “significant diligence”

  Celgene performed as part of the acquisition. Defendants’ presentation included the following

  slide justifying the GED-0301 acquisition:



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         114.    Defendants continued to promote the purported strength of the GED-0301 data in

  discussions with analysts. For example, during the April 24, 2014 conference call, a Deutsche

  Bank analyst asked “what gives [Celgene] comfort in the mechanism [of action] for [GED-0]301?”

  In response, Defendant Smith assured investors that “[r]elative to the other oral antisense drugs,

  which have gone to a variety of different places, I think you see here the coupling of the antisense

  technology with [a] delivery system that delivers the drug right on-site in the gut for absorption at

  the site at the pathophysiology of the disease. And then we see the clinical data, the Phase II

  data, you can see a very robust response . . . .”

         115.    Defendants’ assurances regarding their confidence in the strength of the non-public

  data they reviewed as part of their due diligence had the intended effect. For example, Jacob

  Plieth, a well-known biopharma industry commentator, observed on April 25, 2014, that “Celgene

  must have seen something absolutely earth-shattering in the phase II data,” adding that “[u]ntil

  yesterday the Crohn’s disease project was virtually unknown – as was Nogra itself – and only early

  human data on it are available.” Plieth continued: “Celgene has touted the still unpublished results


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  of a phase II study that it saw in due diligence as one reason for handing across

  what EvaluatePharma data compute to be the largest up-front payment in biopharma history.”

                2.          Defendants Disregard the Lack of Evidence of GED-0301’s Efficacy
                            and Other Red Flags Upon Licensing the Drug

         116.        Defendants’ assurances that GED-0301 had shown “robust response” and “striking

  activity” were not supported by the data Celgene had reviewed as part of its due diligence process,

  including data from the non-public Phase II clinical trial. As discussed below, former Celgene

  employees, consultants, and IBD experts independently confirmed that Defendants’ claims that

  GED-0301 was a potentially transformative, or even effective, treatment for CD were not

  supported by the existing scientific data.

         117.        Reports of former Celgene employees confirm this. FE 1 was a medical expert

  hired by Celgene to advise the Company on its acquisition and development of GED-0301. FE 1

  explained that Celgene established a GED-0301 “Advisory Board,” which was comprised of the

  “key opinion leaders” in CD and UC, including himself and several other leading experts. FE 1

  stated that the Advisory Board met at least twice a year while GED-0301 was in development.

  Some of these meetings occurred via teleconference, but FE 1 also recalled in-person meetings

  with Celgene senior executives, including Celgene’s Senior Medical Director, Bob Diamond

  (“Diamond”).

         118.        FE 1 stated that Celgene had inadequate data from the due diligence process to

  determine if GED-0301 was effective and that the Company was “absolutely” aware of the lack of

  evidence of GED-0301’s efficacy at the time of the acquisition. FE 1 was therefore surprised when

  Celgene purchased GED-0301 for such a steep price.            FE 1 stated that Celgene received

  warnings—from FE 1 and other members of the Advisory Board—that there was insufficient

  evidence that GED-0301 was an effective treatment for IBD, both at the time the Company


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  acquired the rights to the drug and thereafter. FE 1 cited several conference calls that took place

  prior to Celgene’s acquisition of GED-0301, in which FE 1 and representatives from Celgene

  participated. During these calls, FE 1 cautioned Celgene that the data reviewed in due diligence

  had major shortcomings, including, notably, the lack of endoscopic evidence 5 or bio-markers in

  the Phase II study to show that the drug actually works as a treatment for IBD and, thus, GED-

  0301 “looks too good to be true.”

           119.     FE 1 explained that Celgene’s claims that GED-0301 was an effective treatment for

  CD were based on the Phase II clinical results, which lacked endoscopic evidence of efficacy and

  instead relied on the Crohn’s Disease Activity Index (“CDAI”), which measures the severity of

  symptoms as reported by study participants. 6 According to FE 1, Celgene knew that such clinical

  data alone, without complementary endoscopic evidence to confirm the existence of ulcers among

  study participants immediately prior to enrollment, and to document the remission of ulcers

  following treatment, was not sufficient to demonstrate “response” to GED-0301. Indeed, the

  scientific literature recognized that endoscopic evidence is necessary to properly assess the

  efficacy of a treatment for CD when compared to placebo. 7




  5
           Endoscopy is a nonsurgical procedure used to examine a person’s digestive tract. Practitioners who study
  CD utilize a variety of scoring systems to assess and describe the severity of CD as well as measure its remission,
  including CD Endoscopic Index of Severity (“CDEIS”) and Simple Endoscopic Score for CD (“SES-CD”). Such
  endoscopic scores are also used by clinical trials to assess the efficacy of various treatment agents on inducing and
  maintaining mucosal healing, and are considered “the gold standard tool indicating the presence or absence of active
  bowel inflammation.” See https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4898086/.

  6
           The CDAI is a research tool used in clinical trials to quantify the symptoms of patients with CD. The CDAI
  does not include any endoscopic assessment of disease.

  7
           As explained by Laurent Peyrin–Biroulet, M.D., Ph.D. in a February 2014 editorial in Clinical
  Gastroenterology and Hepatology, a comprehensive review of placebo randomized controlled trials evaluating
  therapies for active CD, including the prevailing biologic treatments, infliximab and adalimumab, suggests that “there
  is always a clinically relevant placebo effect [among CD study participants] when considering clinical response or
  remission as a primary end point.” In other words, as explained by FE 1, in order to demonstrate the efficacy of a

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          120.     Moreover, FE 1 explained that Celgene knew there was an emphasis among

  regulators on endoscopic evidence as the primary measure of efficacy in clinical trials for CD

  treatments, and that regulatory bodies, including the FDA, had made clear that they would not

  accept purported proof of efficacy that did not include endoscopy. Indeed, as FE 1’s colleague,

  William Sandborn, M.D., the Director, Inflammatory Bowel Disease Center and the Chief of the

  Division of Gastroenterology at the University of California, San Diego, wrote in a March 19,

  2015 article in Medpage Today:

          CDAI-based endpoints[] are no longer acceptable to the FDA. The FDA is now
          requiring patients entering clinical trials in Crohn’s disease to have objective
          evidence of active inflammation as demonstrated by a baseline colonoscopy and
          co-primary endpoints of patient-reported outcomes (currently stool frequency and
          abdominal pain) and improvement in centrally read endoscopic disease activity
          scores from baseline.

          121.     FE 2, who was part of the GED-0301 developmental team at Celgene, agreed with

  FE 1 that at the time Celgene licensed GED-0301, the FDA did not view the CDAI score as a valid

  endpoint in the absence of complementary endoscopic data. FE 2 stated that, based on internal

  discussions, Celgene knew that endoscopic evidence was necessary to demonstrate efficacy. FE

  2 also believed that Celgene was specifically advised by the FDA of the need for endoscopic

  endpoints in order to support claims of efficacy.

          122.     FE 1 stated that without endoscopic evidence, GED-0301 was an “unproven drug,”

  meaning that its efficacy as a treatment for GED-0301 had not been demonstrated. FE 1 stated

  that the Advisory Board agreed on the need for endoscopic evidence and the limitations of the

  Phase II study. FE 1 further stated that he communicated the need for endoscopy to Celgene prior




  treatment for CD, a study must assess endoscopic evidence of remission and not rely on clinical symptoms alone. See
  https://www.cghjournal.org/article/S1542-3565(13)01095-1/fulltext.


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  to the Company’s acquisition of GED-0301 and, thus, Celgene was aware of the limitations of the

  Phase II study prior to acquiring the drug. Furthermore, FE 1 stated that after Celgene entered into

  the licensing agreement, he personally communicated with members of Celgene’s senior

  management—including either Defendant Smith or Diamond—about the limitations of the Phase

  II data and that Celgene’s senior management acknowledged these limitations. Nevertheless,

  Celgene decided to go forward with the high-risk deal and misrepresent the efficacy of GED-0301.

         123.    FE 1 was not the only industry expert to note the dubious and inconclusive nature

  of the GED-0301 data at the time Celgene entered into the licensing agreement. FE 3, an IBD

  expert who participated in Celgene’s GED-0301 Phase Ib clinical trial, reviewed the available data

  concerning the drug—including the pre-clinical studies from animal models, small cell culture

  models, and the Phase II trial data—which Celgene provided to him prior to his participation in

  the Phase Ib study.

         124.    FE 3 described the remission rate reported in the Phase II study as “unbelievable”

  and explained that “if it looks too good to be true, you always have some reservations.” In the

  case of the Phase II study, FE 3, like FE 1, noted that the study did not include endoscopic

  confirmation of disease as an inclusion criterion, meaning that participants in the study may not

  have even had active IBD at the time the study began. Moreover, FE 3 explained that, because the

  Phase II study did not include endoscopic reduction in disease as an endpoint, instead relying on

  the CDAI, there was no evidence that the subjectively reported reduction in symptoms among

  study participants was correlated with a measurable reduction in disease inside the body.

         125.    FE 3 explained that endoscopic confirmation was viewed as necessary because the

  CDAI was highly subjective. For example, FE 3 noted that a patient’s mood could greatly impact

  the severity of reported symptoms, making clinical data reliant solely on the CDAI unreliable. FE



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  3 concluded that the absence of endoscopic data was a defect in the Phase II study that severely

  limited the significance of the results.

          126.   FE 4 stated that Celgene took a “big risk” when it acquired GED-0301. He recalled

  discussions with other scientists and investigators within Celgene, including Gerald Horan

  (“Horan”)—one of FE 4’s colleagues in the Translational Medicine department who performed

  pre-clinical research on GED-0301 following the acquisition—concerning the pre-acquisition

  GED-0301 data. FE 4 stated that the consensus was that “everybody knew the acquisition was a

  poor science decision,” in large part because the data that was used to justify it lacked endoscopic

  evidence of efficacy.       FE 4 also recalled a discussion with a colleague at Janssen

  Pharmaceuticals—a subsidiary of Johnson & Johnson and the maker of Remicade—regarding

  Janssen’s decision not to acquire GED-0301 based on the same data to Celgene reviewed. This

  colleague had performed due diligence on GED-0301 and agreed that the data was inadequate and

  did not support claims of efficacy, which was the basis for Janssen’s decision not to acquire the

  drug.

          127.   FE 4 stated that despite the concerns regarding the data, Celgene decided to go

  forward with the acquisition as part of its effort to compete in the I&I space. Moreover, FE 4

  understood, based on conversations with Celgene employees who worked on the rights acquisition

  of GED-0301, that Celgene was required to proceed with Phase III trials as part of its deal with

  Nogra. The decision to initiate a Phase III program for GED-0301 was not based on the scientific

  evidence Celgene had to support efficacy.

          128.   Similarly, FE 2, stated that “something didn’t seem right” regarding GED-0301,

  and that people working on the GED-0301 project had concerns about the pre-acquisition data. FE

  2 recalled “a lot of discussion” within Celgene among employees that Celgene had paid too much



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  for GED-0301, and that it had bought “a lemon.” FE 2 stated that Celgene employees who were

  working on GED-0301 internally recognized that the pre-acquisition data was a “little suspicious,”

  and that people within Celgene were not comfortable discussing their opinions regarding the drug.

         129.    FE 2 also confirmed that the Company’s public praise of GED-0301 was

  unfounded. Consistent with FE 1 and FE 4, FE 2 explained that based upon the Phase II clinical

  trial data, he had no idea how anyone could make the claim that GED-0301 was

  “transformational.”   FE 2 said that such a claim was “baffling” to him and scientifically

  “irresponsible.” In addition to the lack of endoscopic endpoints, which FE 2 agreed was a flaw in

  the Phase II data, FE 2 indicated that another limitation of the data was the fact that GED-0301

  had an inconsistent dose response curve when assessed using the clinical CDAI data, explaining

  that at varying dose responses, GED-0301 either did not seem to work or appeared to work really

  well. FE 2 stated that GED-0301’s dose response “didn’t add up,” and that “nothing added up”

  when it came to the pre-acquisition data.

         130.    Further, FE 2 stated that at the time of the acquisition, Celgene did not have

  extensive experience in GI diseases. FE 2 also explained how other companies with more

  experience in CD seemed to stay away from GED-0301, which FE 2 believed reinforced the

  questionable nature of the data for the drug.

         131.    In addition, Celgene ignored other red flags in the push to acquire the rights to

  GED-0301. For example, FE 2 recalled conversations regarding the fact that the lead investigator

  for the pre-acquisition data, who had developed GED-0301, Giovanni Monteleone

  (“Monteleone”), had a large personal financial interest in GED-0301. FE 2 explained that as its

  inventor, Monteleone was the one person in the world who had the most to gain from the sale of

  the drug and that as the lead researcher, he had the most control over the pre-acquisition data.



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  Indeed, Monteleone held a patent for the use of GED-0301’s specific mechanism of action in CD,

  and thus:     (i) stood to profit immensely if GED-0301 garnered the interest of a major

  pharmaceutical company like Celgene; and (ii) was incentivized to ensure that the pre-acquisition

  data did not suggest a lack of efficacy.

         132.        The fact that the Phase II data all came from a single country was an additional red

  flag. FE 2 explained that when data comes from only one country, the integrity of the data may

  be impacted. FE 2 recalled that in the past, there had been problems with data generated from

  within a single country in Europe. FE 2 also noted that the patients in that country may not be

  representative of patients in other countries, and in fact may be different in meaningful ways. As

  an example, FE 2 cited the fact that differences in diet and treatment protocols, which vary from

  country to country, could affect the integrity of data generated from within a single country,

  whereas collecting data from multiple countries lowers the chance that regional differences played

  a role in the outcome. FE 2 further explained that, in the case of the Phase II data, Celgene did

  not know if the Italian researchers working on the development of GED-0301 applied the same

  standards as would be applied at a research facility in the U.S.

         133.        Ignoring the deficiencies and inconclusiveness of the pre-acquisition data and the

  other red flags described above, Celgene committed to follow through with its high-risk agreement

  to license GED-0301.

                3.          Defendants Tout the GED-0301 Phase II Data and Promise Investors
                            Endoscopic Evidence as Part of the Phase Ib Study

         134.    Despite the inadequacies of the pre-acquisition and Phase II data, Defendants

  repeatedly represented throughout the Class Period that such data supported a showing of efficacy

  that would be further established through a planned Phase Ib study and Phase III clinical trials.




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         135.     Beginning on January 29, 2015, Smith touted the “[s]triking Phase II data for

  GED-301” and noted that these data would be published “in a major medical journal.” Smith also

  noted that the Company had “received important regulatory feedback for our proposed GED-0301

  clinical development plan,” and that the GED-0301 clinical development program “will consist of

  3 main components that will run in staggered parallel fashion. The first step is a registration

  enabling endoscopy study [i.e., the Phase Ib study], which is initiating currently.”

         136.     During the call, analysts questioned the lack of information concerning the planned

  “endoscopy study,” with one analyst stating that investors “don’t really know much about the

  design” of the Phase Ib study. In response, Smith stated that “[t]he purpose of the endoscopic

  [Phase Ib] study is to match up clinical symptom resolution with positive histologic changes.” 8

  That is, the Phase Ib study purportedly would be designed to show both clinical remission and

  objective, endoscopic evidence of efficacy. Smith also promised to provide investors additional

  evidence of GED-0301’s efficacy in short order, stating that “because of the timing of it, we have

  an interim analysis plan.”

         137.     On March 18, 2015, the GED-0301 Phase II study results were published in the

  New England Journal of Medicine (“NEJM”). That same day, the Company issued a press release

  announcing the publication of the results, and stating that “[t]he newly published findings from

  this phase II study showed that a significantly greater proportion of patients with active Crohn’s

  disease achieved the primary endpoint of clinical remission at both day 15 and day 28 with once

  daily GED-0301.” The press release quoted Smith as stating: “GED-0301 offers a completely

  different mechanism of action that has the potential to transform the Crohn’s treatment landscape.




  8
         Histology refers to the microscopic study of tissues.


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  We are encouraged by the phase II data and are committed to bringing innovative medicine to

  patients with Crohn’s disease, starting with advancing the phase III trial for GED-0301.”

         138.    While Defendants touted the GED-0301 Phase II data, some outside the Company

  raised questions regarding the absence of endoscopic evidence—the very same limitation that FE

  1, FE 4, and FE 2 all recognized. For example, in an editorial in the same issue of the NEJM,

  Séveirne Vermeire, M.D., Ph.D., Department of Gastroenterology, University Hospitals, Leuven,

  Belgium, wrote that:

         [T]he inclusion criteria used by Monteleone and colleagues were based on the
         CDAI score and did not include more objective criteria for active disease.
         Endoscopic confirmation of active Crohn’s disease was not an inclusion criterion,
         so it is unclear what proportion of patients underwent randomization without
         actually having mucosal lesions.

         139.    Dr. Vermeire also noted the fact that the Phase II study did not include endoscopic

  evidence that GED-0301 was effective as an endpoint, or assess biological evidence such as

  normalization of biomarkers that are indicative of active disease. “In short,” Dr. Vermeire

  concluded that “there is a lack of congruence between clinical remission and biologic remission,

  an issue that will need to be addressed in future studies.”

         140.    FE 1 stated that after the publication of the NEJM editorial, the GED-0301

  Advisory Board discussed the limitations identified by Dr. Vermeire, including the lack of

  endoscopic confirmation of CD as an inclusion criterion and the absence of endoscopic evidence

  of remission as an endpoint. FE 1 stated that GED-0301’s failure to reduce the level of C-reactive

  protein (“CRP”), which he explained was indicative of active CD, raised questions about whether

  the reported reduction in the CDAI scores for participants in the Phase II study was indicative of

  actual disease remission. Similarly, FE 3 agreed with Vermeire’s conclusion that there was “a




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  lack of congruence” between the patient reported remission rates and the biological evidence of

  remission.

         141.    FE 1 stated that the Advisory Board agreed with the limitations identified by Dr.

  Vermeire. FE 1 stated that the views of the Advisory Board were communicated to Celgene, and

  that privately, Celgene acknowledged the limitations of the Phase II clinical trial data.

         142.    Further, FE 2 recalled that in or around mid-2015 there were ongoing meetings

  among the GED-0301 development team, including with Keith Usiskin (“Usiskin”), the executive

  director in charge of the GI Clinical Research & Development Department and the clinical lead of

  the GED-0301 team, about the limitations of the GED-0301 Phase II study data. Usiskin reported

  to the Vice President of Clinical Research & Development, who in turn reported to Defendant

  Smith. These discussions were intended to inform the design and implementation of subsequent

  research regarding GED-0301 and FE 2 recalled that the lack of endoscopic evidence was one of

  the limitations discussed.

         143.    Publicly however, Defendants waved away any concerns over the lack of

  endoscopic evidence in the Phase II study, assuring investors that the data indicated a promising

  blockbuster drug, and that Celgene would provide such evidence through the Phase Ib study. For

  example, on April 30, 2015, during Celgene’s first quarter 2015 conference call, Smith stated that

  “[w]e are aggressively moving clinical development plans forward” and that the “endoscopy

  study is underway.” In response to an analyst question concerning the NEJM editorial, Smith

  stated that the editorial was “very positive and balanced. Unprecedented efficacy, the opportunity

  to potentially change the face of treatment of Crohn’s disease, and maybe the first steps in the cure

  and some very positive things [were addressed in the editorial].” Smith also assured investors that

  the Company’s upcoming presentation at the annual Digestive Disease Week (“DDW”) event



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  would answer any “questions that were raised” in the editorial, including “the relationship between

  dose and clinical response and remission.”

         144.        While some analysts took note of the NEJM editorial “questions,” they focused on

  Defendants’ positive characterization of the Phase II data and promise to provide the missing

  endoscopic evidence through the forthcoming Phase Ib study. For example, in a March 18, 2015

  report, SunTrust Robinson Humphrey stated that:

         Phase II results for CELG’s GED-0301 in Crohn’s disease were published in the
         New England Journal of Medicine. The accompanying editorial describes clinical
         data as “impressive” but nevertheless raises some questions on patient baselines
         and endpoint choice, mirroring investor concerns to date. We believe CELG is
         working to address these issues with a Phase I study (matching CDAI and
         endoscopy) ahead of the launch of two Phase III trials in mid-15.

  The report concluded that “[n]et-net, we view these results as impressive and believe CELG is

  working to address the shortcomings of this dataset.”

         145.        In an April 30, 2015 report, RBC Capital Markets reported that “GED-0301 will

  have [a] deep dive meeting at DDW on May 17th” and that the Phase Ib study included

  “‘endoscopy data’ . . . that will be disclosed.” SunTrust Robinson Humphrey also reported on this

  date that “[w]e anticipate DDW presentations of GED-0301 in Crohn’s will address questions

  raised in the NEJM editorial discussing Phase II results.”         As reflected by these reports,

  Defendants’ statements touting the purported quality of the results seen in Celgene’s data falsely

  assured the market that GED-0301 was a viable and promising treatment.

                4.          Defendants Continue to Praise the GED-0301 Data Throughout the
                            Phase Ib Study

         146.    On April 8, 2015, approximately one month after the full Phase II study results

  were reported, Celgene began its Phase Ib study—also known as CD-001. On May 17, 2015, as

  part of Celgene’s DDW Investor Event presentation, in which both Defendants Smith and Martin



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  participated, Celgene presented the following slide summarizing the supposed “improvement” and

  “clear clinical benefit” that had “resulted” from GED-0301 in Phase II:




         147.   Defendants’ presentation also included a slide representing that in the Phase II

  study, “Severity of Disease or Level of Inflammation Did Not Impact the Efficacy of Mongersen

  160mg Dose,” effectively refuting the criticisms in the NEJM regarding the “lack of congruence

  between clinical remission and biologic remission.”            Indeed, Defendants represented

  unequivocally that, based on the Phase II data, GED-0301’s efficacy had been established:




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  Thus, according to Defendants, the only aspects of GED-0301 which remained “Under

  Investigation” following the Phase II study, were its ability to cause “Mucosal Healing” and use

  in “Long-term Maintenance.”

         148.    During this presentation, Defendants also provided an overview of the ongoing

  Phase Ib trial, highlighting the fact that the trial included an endoscopic index of CD severity as a

  primary endpoint. Moreover, Defendants provided an overview of the Phase III 52-week trial

  design. Defendants’ presentation concluded by stating that “GED-0301 has the potential to

  transform the treatment of Crohn’s disease.”

         149.    Analysts again were reassured by the Company’s positive statements. For example,

  in a May 18, 2015 report, SunTrust Robinson Humphrey reported that, with respect to the

  criticisms of the Phase II data, the “[n]ewly presented” data at DDW “suggest that GED-0301 is

  effective both in milder and more severe Crohn’s disease patients, and that baseline CRP levels,”

  or level of inflammation, “did not impact GED-0301 activity.” The report also noted that the “key

  investor questions post Phase II data presentations revolved around the lack of endoscopic

  validation of CDAI improvement,” but that Celgene “is addressing this question with the CD-001

  [Phase Ib] study,” which “is slated to correlate endoscopy assessments . . . with CDAI

  improvement.” The report concluded that Celgene’s “[a]d-hoc analyses of the Phase II study of

  GED-0301 in Crohn’s disease suggest efficacy irrespective of baseline disease severity and CRP

  levels.”

         150.     Similarly, following the Company’s announced acquisition of Receptos (and

  Ozanimod, with its proposed UC indication) on July 14, 2015, Leerink Partners reported that

  Celgene management stated that “the acquisition of RCPT does not reflect a change in its

  confidence in GED-0301 which remains high.”



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          151.     During the Company’s July 23, 2015 conference call for the second quarter of 2015,

  Smith stated that Defendants expected “to see a series of blockbuster launches beginning in 2018

  with Ozanimod in multiple sclerosis, quickly followed by GED-0301 in Crohn’s disease and

  Ozanimod in UC.” He added that “[t]hese launches have the potential to transform the treatment

  of these serious and difficult-to-treat diseases as well as setting the foundation for significant

  revenue growth in 2020 and beyond.” Moreover, Smith characterized the GED-0301 development

  program as a “late-stage development program.” Smith’s statements were echoed by Hugin on

  January 11, 2016 at the J.P. Morgan Healthcare Conference when he touted “the incredible Phase

  2 data.”

          152.     Through these and other similar representations, Defendants maintained market

  expectations that there was a reasonable basis to believe GED-0301 was in fact a

  “transform[ative]” drug based on the then-existing data, despite the fact that multiple former

  Celgene employees, consultants, and IBD experts independently confirmed that the Phase II data

  did not support the efficacy of GED-0301 or the praise bestowed upon it by Defendants.

          153.     Moreover, former employees also revealed that at the same time Celgene was

  publicly praising GED-0301’s efficacy, internally, additional doubts had arisen about the validity

  of the pre-acquisition data.

          154.     For example, FE 2 stated that that the mechanism of action for GED-0301 was

  obscure and unsettled while the drug was in development at Celgene. 9 FE 2 specifically recalled

  a large interdepartmental meeting regarding GED-0301 that was held in or around March 2016.

  The multi-disciplinary project meeting, which included anyone involved with GED-0301



  9
          “Mechanism of action” refers to the biological process through which a drug produces its effect in a patient’s
  body.


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  (including Manufacturing and Toxicology), lasted several days and acted as a general overall

  project review and update. The meeting was structured as an open-discussion about all the

  elements of the GED-0301 program where the participants could voice information and opinions.

  FE 2 stated that while executive management did not participate directly in the meeting, it was

  “impossible to imagine” that they were not briefed about it afterwards. As part of the meeting, FE

  2 recalled a presentation by Celgene’s Translational Medicine group that discussed GED-0301’s

  mechanism of action. The presenter explained that Celgene had conducted experiments trying to

  elucidate GED-0301’s mechanism of action and that these experiments suggested that GED-0301

  did not work in the way Nogra represented at the time of the acquisition (see supra ¶ 109).

         155.        FE 2 recalled that in addition to uncertainty regarding how GED-0301 supposedly

  worked, the GED-0301 delivery mechanism was also obscure. FE 2 explained that the GED-0301

  formulation, which was an oral therapy, was not systemically absorbed by the body, and so it had

  to dissolve at just the right spot in the gastrointestinal system to be effective. FE 2 analogized

  GED-0301 to a “magic bullet” that seemed “too fantastic to be true.”

         156.     In addition to these undisclosed uncertainties and concerns about the pre-

  acquisition data, unbeknownst to investors, the Phase Ib study, like the Phase II study, was also

  internally recognized from inception as inadequate to support Defendants’ claims of efficacy.

                5.          Defendants Internally Recognize that the Phase Ib Data Does Not
                            Demonstrate Efficacy But Make Misleading, Contrary Public
                            Statements

         157.        On September 12, 2016, Celgene announced interim topline data from its Phase Ib

  study, which purported to evaluate the effects of GED-0301 on both endoscopic and clinical

  outcomes in patients with active CD. In a press release issued by the Company that day, Smith

  was quoted as saying, “we are pleased that oral GED-0301 showed both endoscopic



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  improvements and clinically meaningful responses and remission at an early timepoint in this

  study.”

            158.   During the Company’s presentation at the Morgan Stanley Global Healthcare

  Conference later that day, Smith stated that Defendants “were very, very encouraged by what we

  saw in the particular [Phase Ib] study” based on the fact that they “saw endoscopic improvements,

  clinical responses and clinical remissions across all three groups” of the study. Smith also noted

  that “what we found in the study” was that “the patients were starting to heal.”

            159.   On October 16, 2016, Celgene reported the full interim results from the Phase Ib

  study. In the press release, Defendants again touted the fact that the Phase Ib study purportedly

  showed “[e]ndoscopic improvement [] across all treatment groups,” stating that “[o]f the patients

  with evaluable endoscopies at week 12,” or fifty-two participants out of the sixty-three person

  study, thirty-seven percent had an endoscopic response, defined as greater than a twenty-five

  percent reduction in SES-CD score (i.e., Simple Endoscopic Score for CD) “with no meaningful

  difference across treatment groups.” Based on these results, the press release quoted Smith as

  reiterating that “oral GED-0301 showed both meaningful endoscopic improvement and clinical

  remission at an early time point in this study.”

            160.   On October 18, 2016, Celgene held a conference call to discuss the Phase Ib study

  results, during which Celgene’s Head of Global Medical Affairs, Defendant Callegari, stated that

  “[t]he efficacy seen in this exploratory trial, in terms of clinical response, remission, and

  endoscopic improvement seen validates previous GED trials and reinforces the potential of GED

  for patients with active Crohn’s disease.”

            161.   Whereas Defendants had stated that GED-0301’s ability to cause “mucosal

  healing” was still “under investigation” following the release of the Phase II study results,



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  Defendants now claimed that GED-0301’s effectiveness in achieving endoscopic improvement

  was established through the Phase Ib results. Indeed, during the October 18, 2016 conference call,

  Defendants presented a slide in which they represented that the only open issue concerning GED-

  0301’s efficacy was whether the drug caused “long-term endoscopic remission,” which was being

  tested in the ongoing Phase III “Revolve” trial:




         162.    Also during the October 18, 2016 conference call, Smith stated that, with the

  interim Phase Ib results in hand, “planning remains on track for GED submission to the FDA in

  2018 and expected approval in 2019.” Defendants also presented the below slide, entitled

  “Preparing for Upcoming Cascade of Global Launches for Celgene I&I,” which reinforced the

  previously stated timeline and referred to GED-0301, along with Ozanimod and Otezla, as

  “blockbuster products.”




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           163.   Smith further stated that “GED-0301 represents our lead asset in Crohn’s disease

  and an integral part of our industry-leading portfolio of oral therapies for the treatment of IBD.”

           164.   In sharp contrast to the false and misleading impression created by Defendants’

  glowing public statements about the Phase Ib results, inside the Company, the deficiencies and

  dubiousness of the GED-0301 study data were recognized. For example, because the Phase Ib

  study had no placebo arm or acceptable alternative, it was impossible for Celgene to conclude that

  the observed reduction in SES-CD score was due to GED-0301 as opposed to a placebo effect. In

  other words, Celgene did not have a reasonable basis to tout GED-0301’s efficacy following this

  study.

           165.   According to a position paper by the American College of Gastroenterology

  (“ACG”), “[t]reatment programs for digestive diseases should be evaluated by randomized clinical

  trials” and “[u]nder most circumstances, the best design for such trials requires placebo controls.”

  The ACG states that diseases such as IBD “may have sufficiently high response rates to placebo

  therapy as to favor placebo-controlled study designs.” The ACG further notes that “when the

  study period is very short”—such as in Celgene’s twelve week Phase Ib study—“[p]lacebo


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  treatment is also free of substantial risk.” The ACG concluded that “[p]lacebo-controlled trials are

  therefore generally feasible and desirable methods for testing the safety and efficacy” of treatments

  for gastrointestinal diseases. Moreover, the ACG found that the only “[a]cceptable alternatives to

  placebo control” are “direct comparisons of new agents to standard therapy and addition of either

  new agents or placebo to a continuing baseline of standard therapy,” neither of which occurred in

  the Phase Ib study.

         166.    As with the Phase II study data, former employees and consultants of Celgene

  advised and warned Defendants that the Phase Ib data did not support any conclusions about GED-

  0301’s efficacy, let alone Defendants’ emphatic public representations. Accordingly, the study

  data in Defendants’ possession by September 12, 2016—including the Phase Ib and Phase II

  results—did not justify their claims of efficacy to the market.

         167.    For example, contrary to Defendants’ representations that the Phase Ib study results

  “validate[d]” those of the Phase II study, FE 1 stated that Celgene’s decision to conduct the Phase

  Ib study and include endoscopy as an inclusion criterion and an endpoint, reflected the Company’s

  awareness of the limitations of the Phase II study that Defendants had publicly touted. FE 1,

  however, said that Celgene “chose not to install adequate controls” for the Phase Ib study. FE 1

  also noted that from the period prior to the acquisition of GED-0301 until the time the Phase Ib

  study was conducted, the Advisory Board communicated the limitations of the data supporting

  GED-0301’s efficacy to Celgene, and that the decision not to include a control arm was a

  “corporate decision.” FE 1 stated that while he could not definitively state that Celgene’s intent

  in designing the Phase Ib study without a control arm was to avoid a finding that GED-0301 was

  ineffective, the GED-0301 Phase Ib study was set up in such a way as to limit the chances of such

  a finding.



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         168.    FE 1 recalled discussing the limitations of the Phase Ib study, and specifically the

  Phase Ib study’s lack of a control arm, with other IBD experts who worked with Celgene, all of

  whom shared FE 1’s concerns about the limitations of the study’s results.

         169.    Specifically, FE 1 discussed this issue with Brian Feagan, M.D., the Director of

  Clinical Trials at the Robarts Research Center in London, who specializes in controlled trials

  evaluating new treatments for CD and UC, and who FE 1 explained had input into the GED-0301

  Phase Ib study design. FE 1 also recalled discussing his concerns about the faulty design of the

  Phase Ib study with the following experts, each of whom is an authority in IBD: (i) Dr. Sandborn;

  (ii) Bruce Sands, M.D., Professor of Medicine, Gastroenterology, Icahn School of Medicine at

  Mount Sinai Hospital and Feinstein IBD Clinical Center; (iii) Jean Frederic Colombel, M.D.,

  Professor of Medicine, Gastroenterology, Icahn School of Medicine at Mount Sinai Hospital and

  Feinstein IBD Clinical Center; and (iv) Geert D’Haens, M.D., Ph.D., the Head of the Academic

  Medical Centre, IBD Unit, University of Amsterdam, Netherlands. Notably, Dr. Sands and Dr.

  Colombel both participated in the Phase Ib study and therefore had first-hand knowledge of the

  study results. FE 1 stated that each of these experts shared his opinion that without a placebo arm,

  the significance of the Phase Ib study was limited. FE 1 further stated that his discussion with his

  colleagues confirmed his belief that the Phase Ib study was flawed and that Celgene chose not to

  install adequate controls when designing the Phase Ib study.

         170.    Given the limitations of both the Phase II and Phase Ib studies, FE 1 stated that

  there was a lack of evidence that GED-0301 was effective prior to the commencement of the Phase

  III study. FE 1 also stated that Celgene was consistently advised about the limited evidence of

  efficacy.




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         171.    Similarly, FE 3 believed that Celgene decided conduct the Phase Ib study to give

  “credence” to the Phase II clinical results, which “look[ed] too good to be true.” As to why

  Celgene chose not to include a placebo arm, FE 3 noted that having a placebo arm tends to mitigate

  the excitement for patients, meaning that patients will report a lesser reduction in symptoms when

  they know that they could be receiving a placebo. Whatever Celgene’s reasoning for designing

  the study the way it did, FE 3 stated that without a placebo arm, the Company could not conclude

  on the basis of the Phase Ib results that GED-0301 was more effective than placebo, a threshold

  measure of efficacy.

         172.    With respect to the actual Phase Ib study results, FE 3 indicated that he entered four

  patients into the study, two of whom completed the twelve week study. FE 3 personally reviewed

  the endoscopic data for these patients and did not see any meaningful difference between the initial

  endoscopy and the ending endoscopy, and therefore concluded that there was no endoscopic

  response. FE 3 recalled filling out forms that would have been submitted to Celgene which

  reported the fact that there was no endoscopic response observed at his testing site. While FE 3

  did not have access to the aggregate data, he did recall a sense from his peers that they also did not

  see robust endoscopic results.

         173.     Former Celgene employees confirmed that Defendants secretly recognized the

  severe limitations of the Phase Ib data. FE 4 stated that following the release of the Phase Ib

  results, the evidence of GED-0301’s efficacy became a “hot topic” inside the Company and was

  regularly discussed. Based on these discussions, FE 4 stated that it was known internally at

  Celgene that the lack of a control arm in the Phase Ib trial meant that the results did not support

  Celgene’s claims regarding GED-0301’s efficacy. FE 4 stated that in his experience at Celgene,

  the GED-0301 Phase Ib trial was the only trial that the Company conducted without a control



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  group. FE 4 explained that with the exception of drugs that treat terminal illnesses like cancer,

  where it would be unethical to treat a patient with a placebo, a control group is always needed to

  evaluate the effectiveness of a treatment. Moreover, as FE 4 noted, conditions such as CD and UC

  often relapse and remit without any treatment, making it extremely hard to tell whether an IBD

  drug is effective if a study does not include a control group.

         174.    FE 4 characterized Defendants’ statements, such as the one in Celgene’s September

  12, 2016 press release that “oral GED-0301 showed both endoscopic improvements and clinically

  meaningful responses and remission at an early timepoint in this study,” as statements to promote

  the drug, rather than an accurate statement of what Celgene knew and believed about GED-0301’s

  efficacy at the time.

         175.    Similarly, FE 5 stated that upon reviewing the results of the Phase Ib study, which

  were distributed by Oscar Velastegui, Senior Director, Program Management at Receptos, he was

  so surprised by the small sample size and lack of a control group that he approached Velastegui

  and Regulatory Affairs professional David Kao to discuss his concerns regarding the flawed study

  design. Specifically, FE 5 told Velastegui and Kao that the claimed efficacy was “not real”

  because the efficacy estimates could not be relied upon without a placebo control group. FE 5

  (like FE 4) stated that CD can go into remission without treatment. The flawed study design made

  FE 5 “uncomfortable” with GED-0301 and, by extension, Defendants’ public praise of the results.

         176.    FE 5 listened to Celgene’s October 18, 2016 conference call while attending the

  United European Gastroenterology Week (“UEGW”) 2016 conference in Austria. FE 5 recalled

  hearing Smith praise GED-0301 and the Phase Ib results, and refer to GED-0301 as a possible cure

  for CD, which, FE 5 said, “pissed me off, because it wasn’t.” Regarding Celgene’s other

  representations about the evidence of GED-0301’s efficacy, including Defendant Callegari’s



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  statement during the October 18, 2016 conference call that “[t]he efficacy seen in [the Phase Ib

  trial], in terms of clinical response, remission, and endoscopic improvement seen validates

  previous GED trials and reinforces the potential of GED for patients with active Crohn’s disease,”

  FE 5 stated that, based on his review of the study data, “[i]t wasn’t possible. It sounded like a

  complete fabrication. It didn’t make any sense.”

         177.    FE 5 raised his concerns regarding GED-0301 with Diamond, Celgene’s Chief

  Medical Officer, Velastegui and others. However, FE 5 recalled that none of these individuals

  would engage substantively about GED-0301’s lack of efficacy, and that several, including

  Velastegui, became angry with him. FE 5 stated that “I thought there was something wrong with

  them because it was obvious” that GED-0301 lacked evidence of efficacy. FE 5 further stated that

  “the hostility became pretty bad” and that he was shut down from challenging research results.

  This troubling response was a key reason why FE 5 ultimately left Celgene.

         178.    FE 2 similarly stated it was “jarring” to find out that there was no placebo arm in

  the Phase Ib study. FE 2 noted that even in a pediatric GED-0301 study with patients as young as

  two years old, it was known that a placebo was needed, meaning that study investigators would be

  performing invasive endoscopic testing on children who had received a placebo. FE 2 explained

  that such controls were necessary to demonstrate efficacy, and that the lack of a placebo meant

  that the Phase Ib investigators were performing invasive endoscopic testing even though the results

  would be inconclusive. FE 2 stated that ethically, this raised questions about the appropriateness

  of the Phase Ib study.

         179.    At the time Celgene announced the Phase Ib results, some analysts noted that the

  Phase Ib study lacked a control group, which raised questions about the ability to draw conclusions

  regarding the study. For example, Leerink Partners reported on September 12, 2016 that “there



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  was no control arm for the trial to demonstrate statistical significance or show if the efficacy signal

  was drug-induced.”      However, as with the concerns regarding the Phase II study results,

  Defendants assured investors that their efficacy claims were supported by the scientific data,

  concealing the doubts and criticisms about the lack of efficacy evidence discussed internally at

  Celgene.

         180.    For example, Smith defended Celgene’s decision not to include a placebo arm

  during the September 12, 2016 Morgan Stanley Global Healthcare Conference:

         There is no placebo in this particular study, but I will say I would expect the
         placebo rate in this particular population, this study from an endoscopic
         perspective to be very, very low. This confirms significant extensive disease at
         baseline, you wouldn’t expect the placebo patients to be getting better, you’d
         probably expect the majority of them getting worse over that 12-week period, it
         would be unlikely that you would get many responses. So you would expect a low
         placebo rate given what we’ve done here, so what you’d want is to be able to feel
         good that you could separate from placebo and show statistically significant effects
         in our large powered study than you would achieve that end point.

         And having looked at all, and our interpretation of data is we feel very comfortable
         around the size, the structure and the timing of the Phase III program given that
         we’ve just -- given the data that we’ve just seen.

         181.    Celgene received similar questions from analysts during the Company’s October

  18, 2016 conference call. An analyst from Cowen and Company asked:

         As you guys know, you have been chided a little bit by the investment community
         for a lack of placebo control in this study and I guess I am wondering just what’s
         the best defense here that there is a true drug effect as opposed to just a reversion
         to the mean in a patient population that’s very severe at the baseline?

         182.    Smith responded: “If you take a look at a number of different things, [the Phase Ib

  study] was a little bit patient poor, but data rich, as we look at things, which was the reason for not

  having a placebo arm.” Smith added that the “cumulative evidence really tells you that not only

  are you having a pretty significant effect from a response and remission standpoint, but you are

  also seeing everything go in the direction that you would like to see it go,” citing the Phase Ib


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  study finding that the largest endoscopic response was associated with patients with most extensive

  disease as “a very positive sign of drug activity as well.”

         183.    Defendants’ public statements had the intended effect of mollifying analysts and

  investors. For example, RBC Capital Markets stated in an October 18, 2016 report that the Phase

  Ib data “continue to point to a promising new oral therapy for Crohn’s disease which is a $5B

  market opportunity with high unmet need (only 1/3 of p[a]t[ient]s on biologics get a remission and

  only 1/5 of those can even keep it for a year) and no oral therapies approved.” The report focused

  on the “[b]ig picture” that “positive efficacy so far for GED-0301 suggests even a modest/medium

  efficacy drug can be a potential $1B+ drug in our view.”

                6.       Defendants Continue to Tout GED-0301 while Failing to Disclose the
                         Dubious Viability of the Phase III Trial

         184.     As the Phase Ib study continued, Celgene’s Phase III “Revolve” trial for GED-0301

  began on December 8, 2015. The trial enrolled 701 participants across 538 study locations, and

  was designed to test GED-0301 compared to a placebo for a period of 52 weeks, using both clinical

  and endoscopic measures of remission and response. While each patient would participate for 52

  weeks, because patients started at different times, the Phase III study was expected to take two

  years or more to be completed.

         185.    While investors eagerly awaited the Phase III “Revolve” study results, Defendants

  continued to tout the efficacy of GED-0301 based on the Phase Ib and Phase II data, as well as

  their confidence in its timeline for regulatory submission and approval. For example, during

  Celgene’s fourth quarter 2016 conference call on January 26, 2017, Smith stated that “[t]his year

  we expect to fully enroll critical studies in our IBD program, including the large treat-through

  pivotal trial for GED-0301 [i.e., the Phase III “Revolve” study] in the treatment of Crohn’s disease.

  We are very excited about the transformational potential of this novel oral treatment approach in


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  an area of very high unmet medical need.” Similarly, during the Company’s first quarter 2017

  conference call on April 27, 2017, Smith assured investors that the Company was “on track” to

  launch GED-0301, stating that the GED-0301 Phase III registration program “has really

  accelerated over the last little while” and that “[w]e remain on track with time lines there.”

         186.    Analysts echoed Defendants’ confidence in GED-0301. An April 27, 2017 report

  by investment analysts at BMO Capital Markets stated that “[w]e believe GED-0301’s clean safety

  and promising efficacy profile to date may position it for 1L [first-line] use and may enable

  Celgene to take a similar strategy to Otezla by entering the market place at a potentially lower

  price point to other competitors, but sequenced in earlier course of therapy and towards larger

  patient segments.”

         187.    In contrast to Defendants’ positive statements, significant concern persisted within

  Celgene that GED-0301 was ineffective and would not make it past the Phase III clinical trials.

  According to FE 4, these concerns were a continuation of the longstanding doubts about GED-

  0301’s efficacy dating back to the time of its acquisition in 2014. In fact, FE 4 recalled that

  Celgene had effectively given up on GED-0301 after the Phase Ib study. For example, between

  the time that the Phase Ib data was released in September 2016 and the time that the Phase III trial

  was discontinued in October 2017, FE 4 did not recall GED-0301 even being mentioned during

  any of the internal quarterly review meetings with Celgene’s Vice Presidents, in which the

  Company’s pipeline drugs advancing to market were typically discussed. FE 4 stated that it was

  unusual for an actual, major development-stage drug not to be discussed at these meetings.

         188.    Further evidencing that Defendants had all but written off GED-0301 by this time,

  FE 5 stated that internally, by the spring of 2017, it was very clear that Celgene had recognized

  GED-0301’s ineffectiveness. During a two day meeting in March or April 2017, FE 5 recalled



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  that at least one session focused on how Ozanimod needed to become a first line therapy for CD,

  which was significant and unusual, given that GED-0301 was publicly represented to be Celgene’s

  CD treatment, poised for FDA approval in 2019. FE 5 further stated that it would be strange for

  Celgene to have two drugs in development for the same indication. Moreover, FE 5 described

  how in meetings at this time, Defendant Martin, Kopicko, and Jean Louis Saillot (“Saillot”), Vice

  President of Project Leadership, Regulatory Affairs, and Clinical Pharmacology at Receptos, were

  pushing the Ozanimod CD team to show better efficacy for CD than GED-0301. FE 5 stated it

  felt “frantic” like “they were digging” to produce better results with Ozanimod.

         189.    FE 5 also recounted that Kopicko, in particular, was very concerned about the

  efficacy of GED-0301, and that Kopicko’s team was trying to obtain better evidence of CD

  efficacy for Ozanimod than GED-0301 had produced. As an example, FE 5 cited SES-CD as a

  metric on which Kopicko’s team sought to show better results when treated with Ozanimod

  compared to GED-0301.

         190.    To accomplish this, Kopicko and others directed FE 5 to manipulate the Ozanimod

  Phase II CD testing protocol to achieve the desired result. At the Ozanimod Phase II CD team

  meetings in March or April 2017, which FE 5 regularly attended, FE 5 recalled Martin and Kopicko

  asking FE 5’s team to widen certain testing parameters “to such a degree to make efficacy look

  better” in the Phase II Ozanimod CD testing. FE 5 stated that Kopicko ended up changing the

  testing, per Martin’s request, in order to improve the apparent efficacy results for Ozanimod.

         191.    In addition, FE 5 stated that Martin and Kopicko directed Pharmaceutical Product

  Development, a third-party vendor who performed much of the statistical analysis on Ozanimod’s

  CD efficacy, to assist in making Ozanimod appear more efficacious than it actually was.




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  According to FE 5, these “frantic” efforts to produce positive results in the Ozanimod CD clinical

  trial were reflective of Celgene’s undisclosed concerns regarding the efficacy of GED-0301.

                 7.          Defendants Determine that GED-0301 Phase III Trial Will be
                             “Scrapped” Months Prior to the Public Announcement of Futility

          192.    By July 2017, Celgene employees openly discussed the fact that the Phase III CD

  trial would be cut short and that GED-0301 would be abandoned. For example, FE 4 stated that

  approximately four months prior to Celgene’s October 2017 announcement of the futility

  determination and discontinuation, Horan, who was in a position to access the information

  regarding the ongoing Phase III GED-0301 trial, told FE 4 that the trial was going to be

  “scrapped.” FE 4 recognized at the time that this was material, non-public information likely to

  negatively impact the Company’s stock price. Thus, FE 4 decided not to sell any of his Celgene

  stock after learning this information. FE 4 noted that, like other investors in Celgene, he suffered

  financial losses when, four months later, Celgene announced that the Phase III GED-0301 trial

  was being discontinued for futility, and its stock price plummeted.

          193.        FE 4 explained how individuals at Celgene could have known the results of the

  Phase III trial while it was ongoing, stating that even though the clinical data would have been

  “blinded” (i.e., it was unknown which study participants received GED-0301 or placebo), people

  within the Company would have had access to pharmacological data that could be extrapolated to

  determine whether GED-0301 was having the desired effect. FE 4 stated that given Horan’s role

  with respect to GED-0301, FE 4 believes that Horan would have had access to exactly this type of

  data.

          194.        FE 6, one of Celgene’s RMLs for I&I, also was informed by a Celgene colleague

  in the summer of 2017 that the GED-0301 Phase III clinical trial would be discontinued. FE 6

  explained that in August 2017, this colleague attended a meeting among Celgene’s RMLs and


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  Medical Science Liaisons (“MSL”) in Chicago. Both Defendant Callegari and Diamond were

  present at the meeting, during which participants discussed the fact that the GED-0301 Phase

  III trial would not be successful.

         195.    Despite this knowledge, in and after the summer of 2017, Defendants repeatedly

  misrepresented GED-0301’s efficacy and supposed progression toward ultimate regulatory

  approval and expected market launch. For example, during the Company’s second quarter 2017

  conference call on July 27, 2017, Defendant Curran stated that “progress continues with GED-

  0301” and that “[w]e remain focused on progressing our next generation growth drivers,

  Ozanimod and GED-0301, and look forward with anticipation to multiple data readouts in the

  next 12 to 24 months.”

         196.    At the Baird Global Healthcare Conference on September 6, 2017, Defendants

  included the following illustration reiterating a potential 2019 FDA approval timeline for GED-

  0301, completely at odds with the internal recognition that the critical Phase III trial would be

  “scrapped”:




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           197.        Defendants also presented the identical slide at the Bank of America Merrill Lynch

  Healthcare Conference on September 14, 2017 and at the Cantor Fitzgerald 3rd Annual Healthcare

  Conference on September 26, 2017.

           198.        Similarly, at the Morgan Stanley Healthcare Conference on September 13, 2017,

  after being questioned regarding the business development plans for GED-0301, Alles responded:

  “We still project GED-0301 data, in particular, in Crohn’s disease in ’18, with ’19 being the

  regulatory year plus launch.”

           199.        Moreover, confirming FE 5’s account that Defendants had pivoted to Ozanimod as

  a potential treatment for CD after it became clear that GED-0301 did not work, on October 16,

  2017, just three days prior to Celgene’s announcement of the termination of the Phase III GED-

  0301 trial, Defendants issued a press release touting the results of the Company’s Phase II studies

  of Ozanimod for treatment of CD and UC. The press release stated that Ozanimod “demonstrated

  meaningful clinical and endoscopic improvements in patients with moderately to severely active

  Crohn’s disease.”

                  8.          Celgene Finally Admits that GED-0301 is Not an Effective Treatment
                              of CD and Terminates the Phase III Studies

           200.        On October 19, 2017, after the market closed, Celgene announced that it was

  discontinuing the GED-0301 Phase III “Revolve” trial (and the related “Sustain” extension trial)

  in accordance with an October 2017 recommendation of the Data Monitoring Committee

  (“DMC”), which assessed overall benefit/risk during an interim futility analysis. 10




  10
           A DMC is an independent committee established as part of large Phase III trials and which is typically
  comprised of clinicians with expertise in the relevant field being studied, and at least one biostatistician knowledgeable
  about statistical methods for clinical trials. DMCs are often given access to unblinded study data in order to assess
  the safety and futility of completing a Phase III trial.


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         201.    In a Form 8-K filed on this date, Celgene announced that as a result of the decision

  to discontinue the Phase III GED-0301 clinical trials, the Company would recognize a $1.6 billion

  fourth quarter 2017 charge to earnings related to GED-0301, partially offset by a reduction in

  liabilities associated with its development, as well as wind-down costs associated with

  discontinuing the trials and certain development activities. The Company estimated the immediate

  net pre-tax charge to earnings to be in the range of $300 million to $500 million.

         202.    In response to this news, the price of Celgene common stock declined $14.63 per

  share, or nearly 11%, from a close of $135.96 per share on October 19, 2017, to a close of $121.33

  per share on October 20, 2017.

         203.    News outlets directly associated the stock price decline with the negative news

  regarding GED-0301. For example, Investor’s Business Daily reported that the Company’s “stock

  fell late Thursday after the biotech discontinued a pair of trials and won’t begin a third for a late-

  stage drug being investigated to treat Crohn’s disease.” Similarly, an article from Evaluate

  commented on October 20, 2017 that although “[b]ullish Celgene analysts would have investors

  believe that the failure of its late-stage Crohn’s disease project mongersen just clears the way for

  an even more promising candidate, ozanimod . . . with the company losing around $10bn of its

  value this morning, shareholders [] obviously had higher hopes for mongersen.”

         204.    The October 19, 2017 press release stated that Celgene was waiting to review the

  full dataset from the Phase II trial of GED-0301 in UC to determine next steps. However, analysts

  recognized that the announcement meant that GED-0301 was a failure. For example, Mizuho

  Securities USA analyst Salim Syed stated that “GED-301 for all practical purposes is dead.”

  Syed’s prediction was correct, as Celgene has not issued any further statements regarding GED-

  0301’s potential as a treatment for UC.



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           C.       Defendants Fraudulently Reaffirm Otezla Sales Guidance That They
                    Knew Was Unattainable

           205.     The second aspect of Defendants’ three-pronged plan to replace the Company’s

  revenue stream from Revlimid was Otezla—the most commercially advanced drug in Celgene’s

  I&I franchise. Otezla, which the Company touted as one of its “primary commercial stage

  products,” is an oral medication that is used to treat PA and psoriasis. 11 While many drugs used

  for the treatment of psoriasis and PA are biologics, Otezla is an oral medication. Celgene regularly

  promoted the convenience of Otezla to patients, emphasizing that Otezla is “not an injection, cream

  or biologic. It’s a pill . . . .”

           206.     Otezla was approved by the FDA in March 2014 for the treatment of PA, and

  Celgene began recognizing revenue from the sales of Otezla during the second quarter of 2014.

  As early as January 13, 2014, months before the Otezla launch, Defendants primed the market that

  Otezla sales were poised to sky-rocket, representing that Otezla net product sales would reach $1.5

  billion to $2 billion by 2017.

                  1.          Celgene Issues 2017 Guidance for Otezla Without a Reasonable Basis

           207.     On January 12, 2015, Celgene issued a press release unveiling the Company’s five-

  year strategic growth plan. According to this plan, Celgene maintained that Otezla net product

  sales would grow to between $1.5 billion and $2 billion in 2017 and its net product sales from the

  I&I franchise as a whole would exceed $3 billion by 2020. During a presentation at the J.P.

  Morgan Healthcare Conference that same day, Defendant Hugin highlighted the Company’s 2017

  Otezla sales guidance, claiming that “the progress achieved in the fourth quarter [of 2014] with




  11
           Psoriatic arthritis is a type of arthritis that affects some people who have psoriasis—a chronic skin condition
  that speeds up the life cycle of skin cells, causing extra skin cells to build up on the surface of the skin in scales and
  red patches that are itchy and sometimes painful.

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  Otezla in our I&I franchise, gives us great confidence that we are on track to really again meet or

  exceed the 2017 guidance.”

         208.        Analysts quickly seized on Celgene’s reaffirmation of the 2017 Otezla and I&I

  guidance as well as Hugin’s assurances that the Company would achieve these numbers. For

  example, SunTrust Robinson Humphrey wrote that “management’s commentary that CELG is

  slated to ‘meet or exceed 2017 guidance’ . . . should spur investor excitement.”

                2.          Celgene Internally Recognizes Multiple Barriers that Prevented
                            Otezla From Achieving the 2017 Otezla Sales Guidance

         209.        Unbeknownst to investors, Defendants lacked a reasonable basis for their January

  2015 statements reaffirming the Company’s aggressive 2017 sales guidance for Otezla. In reality,

  after the 2014 launch, numerous barriers impeded Celgene from achieving those numbers, and

  Company sales representatives struggled and failed to grow their Otezla sales commensurate with

  the Company’s projections.

         210.     According to FE 7, a Senior National Account Manager, as early as the March 2014

  launch, Otezla’s sales and revenue generating capabilities were severely impaired by several

  dynamics.

         211.    For example, FE 7 stated that, shortly after the drug’s launch in 2014, Celgene

  offered excessive rebates and discounts to convince insurance companies to remove “step-edits”—

  the requirements put in place by insurers and PBMs that forced patients to try other, less expensive

  therapies before being permitted to use Otezla. Celgene’s goal was to gain market share for Otezla

  by using the rebates and discounts to lower Otezla’s effective. However, according to FE 7, the

  plan was doomed from inception.

         212.    As FE 7 explained, one consequence of the Company’s steep rebates and discounts

  on Otezla was additional downward pressure on Otezla sales revenues due to the impact of these


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  rebates and discounts on Celgene’s “best price calculation” for the drug. As FE 7 explained, rather

  than boosting net sales from Otezla by capturing market share through the large discounts and

  rebates, Celgene drove down the “best price” calculation, and was left selling the drug for what

  FE 7 illustratively described as one cent per pill—thus ensuring that the Company would never

  meet the 2017 Otezla net sales guidance.

         213.    In the pharmaceutical industry, a drug’s “best price” refers to the price a drug

  manufacturer must offer to Medicaid. Specifically, the Medicaid “best price” policy requires drug

  manufacturers by statute to give Medicaid programs the lowest or “best” price offered to nearly

  all purchasers. Accordingly, because Celgene was repeatedly driving down the price of Otezla

  that it was offering to insurers and PBMs, it necessarily drove down the price it was required to

  provide to one if its largest payers, Medicaid.

         214.    The inherent flaw of this strategy was known to senior management, including

  Defendant Smith, who FE 7 stated had the final say with regard to Otezla and Market Access

  decisions. In fact, starting in 2014, FE 7 repeatedly warned Smith that the Company’s pricing and

  discounting strategy for Otezla was fatally flawed and simply would not work to increase revenues.

  When Otezla launched, FE 7 informed Smith that he would be destroying the “best price” for the

  drug by offering large rebates and discounts, thereby setting Otezla up for consistently depressed

  net sales going forward. In response, Smith told FE 7 that Celgene would do “whatever it takes to

  get the business.”

         215.    After the Otezla launch in 2014, FE 7 wrote multiple emails to Celgene’s senior

  executive management, including Smith, documenting his concerns about the discounts and

  rebates that Celgene was offering for Otezla. FE 7 also told Smith that Celgene should never “pay

  to play”—i.e., offer rebates and deep discounts in exchange for market access—as that would



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  prevent Celgene from maximizing its profits. Notwithstanding FE 7’s warnings, Celgene pressed

  ahead with its ill-fated “pay to play” plan for gaining market access.

         216.    FE 7 also stated that, critically, Otezla was far worse than Humira, Amgen’s Enbrel

  (etanercept)—a biologic treatment manufactured by Amgen that has been available to treat PA

  since 2002 and psoriasis since 2004—and other competitors in terms of efficacy. The drug’s

  inferiority to numerous established competitors in the marketplace made market penetration, and

  thus any attempt to increase revenues from Otezla sales, even more difficult.

         217.    FE 7 added that these impediments to growing Otezla net sales were exacerbated

  by the fact that, from the date of the Otezla launch, Smith hired extremely inexperienced sales

  representatives to sell the drug.

         218.    Echoing the accounts of FE 7, former Celgene sales representatives from every

  corner of the country all told the same story: for several fundamental reasons that remained

  unchanged throughout 2015, 2016 and 2017, the growth rate of Otezla sales was essentially flat.

         •   FE 8, a Celgene Sales Representative in the Northeast Region, confirmed that
             his annual Otezla sales were flat the entire time he worked for Celgene, from
             early 2014 through late 2017.

         •   FE 9, a Sales Territory Manager in the Southwest Region, recounted that by
             2015, the growth of his Otezla sales had flattened and were flat from 2015 until
             he left Celgene in March 2017.

         •   FE 10, a Celgene Sales Representative in upstate New York, stated that, during
             his entire time with Celgene (from early 2015 until the end of 2016), it was
             “certainly a struggle to sell” Otezla, particularly on the rheumatology side—
             i.e., for patients suffering from PA. As FE 10 explained, “[o]nce the buzz
             [around Otezla] had dropped off by 2016, and once providers got a sense
             [Otezla] wasn’t going to work that well,” growing sales of Otezla “started to
             become a huge issue.” Thus, FE 10 recalls that “the consensus was that the
             growth was not sustainable by 2016.”

         •   FE 11, a District Sales Manager for the Northeast Region, stated that by 2016,
             his prescription sales had flattened for the entire year and there was a decline in
             annual growth (vs. 2016).


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         •   FE 12, a Sales Representative in the Northeast Region, similarly noticed a
             slowing of Otezla prescription sales, particularly around October 2016.

         •   FE 13, a Regional Sales Manager, said that it was virtually impossible for
             Celgene to sell enough Otezla to meet its 2017 guidance. Specifically, FE 13
             stated that the idea that Otezla could ever achieve 40% year-over-year growth
             in net product sales in 2017, let alone the 57% growth Defendants projected in
             January 2017, was absurd. FE 13 explained that he had seen no indication that
             would justify that kind of projection unless Celgene was expecting some huge
             shift in the managed care environment, and that it makes no logical sense to see
             those numbers domestically.

         219.    The Otezla sales representatives confirmed that Celgene’s executives had access to

  information showing that the Company was unable to increase the growth rate of Otezla sales

  throughout the Class Period. FE 14 stated that Celgene management knew of Otezla’s struggles

  because all of the sales results were available to management through a computer program called

  “Tableau.” FE 12 explained that Tableau is a computer data tool that Celgene uses to compile and

  analyze sales data that Celgene receives from IMS—a company that collects pharmaceutical data.

  During the Class Period, the data available through Tableau for Otezla included straight volume,

  volume growth, number of prescriptions by territory, number of prescriptions by provider, and

  number of prescriptions attributed to each salesperson. According to FE 12, anyone from the sales

  side at Celgene could log on to Tableau and view the Otezla sales data. The degree of access to

  the data increased as you went higher up in the Company.

         220.    The former sales representatives also confirmed FE 7’s account, uniformly

  attributing their struggles to grow Otezla sales to three main issues: (i) Otezla’s inferior efficacy

  compared to its competitors, including the fact that Otezla worked slower than other drugs and

  was only effective for certain indications; (ii) challenges with insurance coverage for Otezla,

  including step-edits and preauthorization requirements; and (iii) various other obstacles that made

  it difficult for patients to get Otezla or negatively impacted the ability of sales representatives to

  sell Otezla. These persistent and widespread impediments to growing Otezla sales rendered

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  Celgene’s 2017 Otezla guidance unattainable and Defendants’ representations reaffirming that

  guidance materially false and misleading.

                        (a)     Celgene Internally Viewed Otezla’s Competitors As More
                                Effective, Faster-Acting, and Covering a Broader Range of
                                Indications

         221.   As numerous FEs recounted, the first fundamental barrier to growing Otezla sales

  throughout the Class Period was the fact that Otezla was not as effective as the other PA and

  psoriasis drugs from which it was attempting to capture market share.

         •   FE 9 explained that Humira produced positive results more quickly than Otezla.
             In addition, Otezla was not as effective as Humira for individuals who only
             suffered from psoriasis.

         •   FE 8 stated that Otezla’s main competitors, Humira and Enbrel were simply
             more effective products with broader indications than Otezla. Humira and
             Enbrel could be prescribed to patients with mild to severe symptoms and
             typically worked within two to three weeks, whereas Otezla was only approved
             for mild to moderate indications and required up to four months to produce
             noticeable results. FE 8 referred to Otezla as “training wheels” compared to
             Humira and Enbrel.

         •   FE 10 confirmed that Otezla was difficult to sell because it was not as effective
             as its competitors, stating, for example that PA patients who had the disease for
             some time often did not respond well to Otezla. FE 10 received consistent
             feedback from rheumatologists that Otezla did not work well to treat PA.

         •   FE 11 added that there was an increase in competitor products entering the
             market during the Class Period, and in contrast to Otezla’s efficacy rate of
             approximately 33%, these new biologic competitors had efficacy rates between
             50% and 75%. As FE 11 explained, these statistics made it difficult to convince
             doctors and patients to switch to Otezla.

         •   FE 13 likewise confirmed that the efficacy of Otezla was nothing
             groundbreaking and not nearly as efficacious as some of the other competitors.

         •   FE 12 and FE 14 also indicated that there were issues with Otezla’s efficacy
             and FE 12 specifically stated that Otezla worked slower than other competitor
             products and that these competitor products had more efficacy data. FE 12
             further noted that there were significant deviations between patients in terms of
             Otezla’s efficacy.



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                        (b)      Celgene Understood Internally That the Market Was
                                 Oversaturated with Entrenched Competitor Drugs

         222.    Celgene’s attempt to capture market share and increase Otezla sales during the

  Class Period was further stymied by the sheer number of competitors in the PA and psoriasis

  treatment market and the fact that many of these drugs had been on the market for years and were

  well-accepted by physicians.

         •   FE 9 explained that the market for PA and psoriasis medications was
             oversaturated with competitor treatments, including established drugs like
             Humira. Physicians had many choices and Otezla was not at the top of the
             list—other, better known treatments were.

         •   FE 8 stated Otezla had difficulty capturing market share from its main
             competitors, Enbrel and Humira, as they had been on the market since 2002 and
             2005, respectively.

         •   FE 11 similarly recounted that Humira was the “big kid on the block” and was
             already entrenched in the Northeast Region.

         •   Echoing FE 11, FE 13 indicated that the growth of Otezla sales was limited by
             Humira’s successful saturation of the market.

         •   FE 13 explained that while the Company wanted Otezla to be the first in-step
             therapy, in light of its safety profile, that was just a “pipe dream” because
             Methotrexate (another competitor) was so much cheaper and had been in use
             for so long that it just was never going to happen.

         •   According to FE 13, Otezla was always destined to be a niche product as
             compared to its previously launched competitors.

                        (c)      Insurance Coverage for Otezla Was Limited and Patients
                                 Faced Step-Edits and Preauthorization Requirements

         223.    Celgene’s efforts to drive down pricing, in part, to avoid insurance step-edits and

  preauthorization requests, were largely unsuccessful until 2017, when several large PBMs finally

  agreed to cover Otezla as an initial PA and psoriasis treatment. As such, insurance companies

  threw up roadblocks that constrained Otezla’s ability to gain market share and increase sales from

  the beginning of the Class Period through at least 2016.



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         •   FE 9 reported issues with insurance companies, including that pre-authorization
             was routinely denied for Otezla and patients had to try other first-line drugs due
             to insurers’ step-edit requirements. Insurance companies initially would not
             budge on coverage for Otezla.

         •   FE 14 stated that Otezla suffered from challenges with insurance coverage,
             including step-edits.

         •   FE 10 stated that insurance providers were unwilling for an initial period to
             reimburse patients for Otezla.

         •   FE 11 explained that several of the managed care groups in the Northeast
             Region had step-edits in place that required patients to use and reject Humira
             and Enbrel before they would approve Otezla, and the appeals process was
             cumbersome, so most doctors and plans opted to take the easier route by
             prescribing other drugs.

                         (d)     Other Barriers to Growth

         224.    The growth of Otezla sales was also constricted by the fact that some patients

  experienced difficulties in trying to fill their Otezla prescriptions and the fact that Celgene lacked

  experienced sales personnel. FE 9 recounted that Otezla was considered a specialty drug, and had

  to be ordered from specialty pharmacies, unlike Humira and Enbrel, which were readily available

  in traditional pharmacies. This limit on access made it harder for patients to obtain Otezla even if

  their doctors prescribed it and insurance companies covered it. In addition, like FE 7, FE 14 also

  reported that Celgene’s Otezla sales representatives were very inexperienced, which adversely

  impacted their ability to sell Otezla.

                         (e)     Otezla Faced Barriers to Growth in the European Markets

         225.    Former Celgene employees involved with Celgene’s efforts to expand Otezla into

  European markets similarly reported challenges to introducing Otezla into these markets and

  growing Otezla sales to meet the Company’s unrealistic sales guidance.

         226.    FE 15, a senior member of the Pricing and Market Access group throughout 2015,

  was charged with creating pricing and market access models for reimbursement applications that


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  Celgene submitted to foreign national healthcare organizations in conjunction with efforts to

  obtain approval to market Otezla in Europe. As FE 15 explained, during the Class Period, there

  were two main hurdles before a drug could be marketed outside the U.S.: (i) the drug must be

  approved by the foreign counterpart to the FDA; and (ii) a reimbursement application must be

  accepted by the national healthcare organization charged with evaluating, among other things, the

  efficacy, cost and potential patient base for a drug.

         227.    In developing the models for Celgene’s reimbursement applications, FE 15

  struggled with Otezla’s lack of compelling efficacy data because the models are usually driven by

  a drug’s efficacy compared to other medications that are already in the market space. As he

  explained: “Otezla is worse than other things on the market so there was very little for me to work

  with.” Because the data for “Otezla wasn’t any better and was much worse than all of the

  competitors, it was very difficult to find the value” to support the reimbursement application

  models.   FE 15 provided the Otezla models for the reimbursement applications to Zhang,

  Celgene’s Global Head of HEOR, Pricing and Market Access, who in turn presented them to

  Defendant Smith.

         228.    Based on his review of the Otezla Phase II and Phase III trial data, FE 16, a high-

  ranking member of HEOR and Pricing for the U.K., stated that Otezla was inferior to its biologic

  competitors in terms of response rate and efficacy. It was his understanding that Otezla had a

  response rate that was 50% of the rate of biologics. Otezla’s main advantage was that it was an

  oral medication, but the response rates for patients taking Otezla were “nowhere near” a biologic

  like Humira.

         229.    FE 16 confirmed that, in the U.K., Celgene’s strategy was to discount Otezla to just

  below the price of its biologic competitors to stimulate sales and capture market share. However,



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  clinicians and patients were not swayed by the discount because the clinician would put the two

  drugs side by side, and the modest discount was not enough to make a difference with such an

  inferior efficacy. As FE 16 further explained, it was aggressive and foolish to assume that

  clinicians would use Otezla over biologics—clinicians just want to use the best product with the

  best data. As a result, FE 16 recounted that the Otezla sales and uptake forecasts compiled by

  Celgene for the U.K. and Ireland were overly aggressive. FE 16 added that his colleagues in other

  parts of Europe shared the same feeling that the Company’s targeted sales figures were quite

  aggressive. FE 16 and his European counterparts at Celgene participated in discussions with

  independent advisory boards comprised of clinicians, local payers and various stakeholders. The

  advisory board members would consistently criticize Celgene, stating:          “You’re offering a

  biologic-like price without [] biologic-like efficacy.”

         230.    According to FE 16, once approval was granted by the relevant U.K. regulatory

  body, the NICE, in late 2016, and Otezla was introduced into the U.K. marketplace, sales and

  uptake were “very slow and very low.” FE 16 stated that they missed sales targets for five or six

  quarters and were continuing to struggle as late as the middle of 2018. The early sales targets were

  missed by close to 50%. FE 16 confirmed that both Celgene’s European and U.S. leadership were

  well aware of the missed targets. Indeed, there was “business review meeting after business review

  meeting” concerning the missed targets, including, at one point in late 2016 or early 2017, a

  meeting in London between Defendant Smith and Business Unit Director Rob Moore.

                3.       Defendants Reaffirm the 2017 Guidance and Tout Otezla’s Net
                         Product Sales Prospects Throughout 2015 and Into 2016

         231.     Notwithstanding the numerous barriers that were impeding Otezla’s net product

  sales and market share growth by the beginning of the Class Period, Defendants repeatedly

  represented that Celgene was on track to meet its 2017 Otezla guidance—net product sales of $1.5


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  billion to $2 billion—over the course of the next year and a half. For example, during the May 12,

  2015 Bank of America Merrill Lynch Healthcare Conference, Smith lauded the purportedly

  “phenomenal” “acceptance of [Otezla]” for psoriasis and PA by new patients, claiming that Otezla

  was “off to a great start” and that Celgene was “very, very encouraged.”

         232.    Defendants also presented nearly identical versions of the slide set forth below

  discussing “sustainable, high growth” and reassuring investors that the Company was “on track to

  meet or exceed” its 2017 Otezla sales guidance at no fewer than five separate investor

  conferences—on March 4, May 12, June 10, September 17 and November 10, 2015:




         233.    At the May 11, 2016 Bank of America Merrill Lynch Healthcare Conference,

  Defendant Alles claimed that Otezla’s “terrific launch” gave Celgene confidence in the Company’s

  ability to hit the Otezla 2017 guidance. Alles went on to downplay certain impediments to growth

  such as the step-edits imposed by the insurance companies on new users of the drug, stating, “we

  understand the access environment very well, so some of those barriers that gave us all a little bit


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  of caution for the uptake of Otezla early have started to present themselves in ways where we can

  manage it, understand it, and in many cases, we have great advantaged positions now because of

  the profile of the drug.”

                4.          Defendants Ignore Explicit Warnings from Celgene’s Market Access
                            Team that the 2017 Otezla Net Product Sales Projections Are
                            Unachievable

         234.         Despite (i) Celgene’s continuing struggles to grow Otezla net sales in light of

  insurance barriers and Otezla’s inferior efficacy vis-à-vis its competitors, and (ii) management’s

  receipt of explicit warnings regarding the Company’s doomed “pay to play” strategy for gaining

  market access, Defendants maintained Celgene’s aggressive 2017 sales guidance throughout 2016

  and 2017. Furthermore, as discussed below, between July and December 2016, Defendants

  disregarded explicit warnings from high-ranking finance personnel within the Company who

  voiced grave, specific and unequivocal concerns that the 2017 Otezla sales guidance was

  unachievable.

         235.        According to FE 17, a senior-level U.S. Market Access executive between early

  2016 and late 2017, there was no Otezla revenue growth anywhere by 2016. FE 17 recalled that

  the lack of growth in Otezla sales and its fundamental causes were expressly communicated to the

  IIEC by no later than the third quarter of 2016. At this time, the IIEC was comprised of at least

  the following individuals: Defendant Smith; Defendant Curran; Tessarolo; Hunter Smith (Vice

  President, Finance); Tom Tomayko (Vice President, Commercial Development & Strategy, I&I);

  and Celgene’s Head of Medical.

         236.        FE 17 and his team presented to the IIEC one to three times during each of the third

  and fourth quarters of 2016. Jim Kilgallon, Executive Director, U.S. Market Access, Pricing and

  Contracting, who worked with FE 17 and maintained much of the supporting Otezla payer and

  pricing statistics, presented with FE 17 at these meetings. During these presentations, which

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  focused on payers and pricing, FE 17 and his team expressly warned the IIEC that the 2017 Otezla

  guidance could not be met. FE 17 explained that the detailed research he reviewed and presented

  regarding payers and pricing showed that the forecasted Otezla sales for 2017 were not attainable.

  According to FE 17, Tessarolo also warned the IIEC in weekly meetings by the third quarter of

  2016 that the 2017 Otezla guidance could not be met.

         237.     In the fourth quarter of 2016, FE 17 expressly advised the IIEC that the Otezla sales

  guidance should be lowered. FE 17 also specifically recalls that he and Kilgallon told Tessarolo

  directly that the guidance needed to be lowered. Tessarolo agreed and later confirmed to FE 17

  that he, too, warned the IIEC that the guidance should be lowered, but the other members of the

  IIEC, which included Defendants Smith and Curran, insisted that the guidance would not be

  changed. Thus, FE 17 confirmed that by the third and fourth quarters of 2016 the IIEC was acutely

  aware that Celgene was not going to hit the repeatedly reaffirmed 2017 Otezla sales guidance

  numbers.      According to FE 17, “everyone knew that the actual stated forecast was not

  reasonable” and could not be met.

         238.     FE 17 further recounted that the Forecasting team (which included Doug Bressette,

  Senior Director, Global Business Planning and Analysis for I&I) was “told to change” the

  numbers (i.e., the internal forecasts) by Smith and Curran to conceal the lack of growth.

         239.     FE 18, a direct report to Swartz, Celgene’s Vice President of U.S. Market Access,

  confirmed that Smith and other Celgene executives were aware that Celgene was not going to meet

  its 2017 Otezla sales guidance by no later than the fourth quarter of 2016. FE 18 explained that

  Swartz made recommendations to the Corporate Pricing and Market Access Committee

  (“CPMAC”)—the committee charged with monitoring and approving pricing and market access

  decisions—that the Company needed to reduce the 2017 guidance numbers, but she was ignored.



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  The CPMAC was chaired by Defendant Smith, and other members of Celgene’s senior executive

  management would sit in as well.

         240.    When FE 18 first saw the 2017 Otezla sales guidance, his reaction was “wow, there

  is no way in the world we were going to make [it] . . . it was crazy.” FE 18 described the guidance

  as a “moon shot.” FE 18 indicated that the aggressive Otezla guidance did not even account for

  the introduction of new competition to the PA and psoriasis market—Defendants simply ignored

  this factor. FE 18 further explained that the guidance figures were based on the assumption that

  insurance reimbursement hurdles would be removed. To meet the Otezla sales numbers set by the

  CPMAC, Otezla would have had to completely transform the market space in less than twelve

  months—but this kind of transformation is unheard of, unless a company introduces a curative

  drug. Otezla just did not have the efficacy or novelty to bring about the market change needed to

  meet the Company’s sales guidance. FE 18 also confirmed that Otezla sales in the fourth quarter

  of 2016 were very flat and had been flat for quite some time before that.

         241.    The admonitions of Swartz, FE 18, and their colleagues responsible for pricing

  concerning the unachievability of Celgene’s Otezla sales guidance were outright ignored by

  Defendant Smith, Defendant Curran and other members of Celgene’s senior management.

  According to FE 17, Defendants refused to lower the guidance and instead put pressure on the

  salespeople to hit the impossible numbers.

         242.    Indeed, Defendants repeatedly reaffirmed the 2017 Otezla net product sales

  guidance to the market. During the September 12, 2016 Morgan Stanley Global Healthcare

  Conference, Defendant Smith claimed: “Otezla is moving along very nicely at this point in time.

  Looks like $1 billion in sales this year [2016]. . . . I feel really great about where we are going and

  the numbers both in 2017 and 2020 that we put out there.” Later, during Celgene’s October 27,



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  2016 third quarter conference call, Defendant Smith expressed a “high degree of confidence” in

  Celgene’s ability to meet the 2017 Otezla sales guidance, adding that “we feel very good about the

  targets that are out there.”

          243.        According to FE 18, Swartz was fired in late 2017. FE 18 had reported to Swartz

  for a year and a half and never had any issues with her, stating that she was always very

  professional and was a great boss to work for. The consensus among FE 18 and his colleagues

  was that Swartz had been fired due to her consistent pushback regarding the unachievable Otezla

  sales guidance that Celgene repeatedly provided to the market. According to FE 18, Swartz was

  “scapegoated” and her termination was an attempt by Celgene to “pivot around her.”

                 5.          Defendants Marginally Lower the Upper Range of 2017 Guidance But
                             Forecast Impossible 57%+ Growth in Otezla Sales

          244.    In January 2017, even after Defendants Smith and Curran were expressly advised

  by Swartz, Tessarolo and others that Celgene’s publicly-stated 2017 Otezla guidance could not be

  met, Defendants refused to revise the low end of the range and only modestly lowered the top end

  from $2 billion to $1.7 billion. Critically, Defendants also misleadingly projected 57% year-over-

  year growth in Otezla net product sales for 2017 compared to 2016. Specifically, on January 9,

  2017, Celgene filed a Form 8-K with the SEC signed by Defendant Kellogg attaching a press

  release with the Company’s 2016 preliminary results and its outlook for 2017. In this press release,

  Celgene stated that it expected Otezla net product sales of “approximately $1.5 [billion] to $1.7

  [billion]” for 2017, representing 57% year-over-year growth.

          245.    Analysts reporting on Celgene’s press release, including BTIG Equity Research,

  wrote that the “biggest driver” of the Company’s overall 2017 guidance was Otezla, “which is

  expected to grow ~58% YoY.” SunTrust Robinson Humphrey wrote that even the narrowed

  Otezla guidance range “calls for significant growth.” In addition, several analysts noted that


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  Celgene’s reaffirmation of the $1.5 billion low-end of the guidance range was in line with the

  market’s expectations. For example, RBC Capital Markets was focused on the low end of the

  range, writing on January 9, 2017 that the $1.5 billion figure was “already expected.” Evercore

  ISI wrote in a January 9, 2017 report that “CELG took the top end of Otezla guidance down from

  $2B to $1.7B, and the midpoint of Otezla guidance now tracks with consensus 2017 estimates of

  $1.54B.” Similarly, J.P. Morgan stated in a January 9, 2017 report discussing Celgene’s updated

  2017 guidance that the consensus guidance for Otezla was $1.53 billion.

         246.    Multiple former employees confirmed that Defendants’ forecasted 57% year-over-

  year growth was both unrealistic and unachievable. FE 19, a senior executive in U.S. Field HEOR,

  recounted that based on what his Market Access group was seeing in their interactions with and

  analyses of large payers, there was no way that the projected 57% year-over-year Otezla sales

  growth for 2017 was attainable. According to FE 19, in late 2016, when Defendant Smith was

  assessing the 2017 Otezla market access and setting the targets, the market did not support anything

  close to 57% growth. FE 19 continued, “even if Market Access was able to obtain 100% coverage

  [from insurance companies], it was unrealistic to obtain the kind of growth in Otezla sales that

  Smith was forecasting for 2017.”

         247.    As FE 19 explained, Otezla’s competitors, including Humira and Remicade, were

  deeply entrenched in the market space, which made it increasingly difficult for the sales team to

  come anywhere close to Smith’s projections. FE 19 stated that in light of physicians’ reluctance

  to prescribe Otezla over well-established competitor drugs, reaching the sales projection was “not

  going to happen.” FE 19 recalled having conversations with Swartz and Claudio Faria, Executive

  Director and Group Lead of U.S. HEOR, concerning the unrealistic sales projections given what

  Market Access was reporting to management. According to FE 19, there was no way Defendant



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  Smith could have interpreted what his Market Access team was saying and translated that into

  57% sales growth for Otezla in 2017. In other words, Defendant Smith ignored the Market Access

  team’s warnings.

         248.    FE 17 also detailed multiple impediments to Celgene meeting the Company’s 2017

  Otezla sales guidance, and achieving the publicly-stated 57% year-over-year growth. FE 17

  attributed the overall lack of growth in Otezla sales observed throughout 2016 and into 2017 to

  three main factors: (i) managed care was “underwater” by April 2016; (ii) as early as April 2016,

  new Otezla prescriptions and patients were down; and (iii) Celgene allowed wholesalers to buy in

  above their demand in late 2016. With respect to managed care being “underwater,” FE 17

  explained that when Celgene enters into a new PBM contract that requires Celgene to issue rebates,

  the Company ends up paying rebates for all existing prescriptions—i.e., the rebates apply both to

  new prescriptions and existing prescriptions. By virtue of the massive rebates due on the existing

  prescriptions, the PBM contracts are deemed “underwater” and undermine sales revenues. As

  early as April 2016, the rebates due on existing Otezla prescriptions covered by these “underwater”

  contracts were “significant” and amounted to millions of dollars.      FE 17 stated that Celgene

  management should have given a warning to investors in the fourth quarter of 2016 because the

  IIEC knew about the rebate issue and the impact that it was going to have on the Company’s 2017

  Otezla revenues. However, no warning was given.

         249.    Further compounding the adverse effect from the “underwater” managed care

  contracts in the first quarter of 2017, at the end of 2016, Celgene permitted wholesalers to buy

  Otezla at reduced prices in excess of their demand. As FE 17 explained, in anticipation of a

  planned 2017 price increase for Otezla, many wholesalers asked to purchase in December 2016

  the quantities of Otezla they were slated to purchase in January 2017, in order to take advantage



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  of the lower price. Celgene could have refused the requests and required the wholesalers to comply

  with their contracts to purchase the goods in 2017, but they chose not to do so. This decision,

  which FE 17 stated was motivated by management’s desire to make the fourth quarter 2016 Otezla

  numbers look great, had a negative impact on the revenues in the first quarter of 2017, and thus

  Celgene’s ability to meet its 2017 Otezla sales guidance.

         250.    FE 7 likewise confirmed that achieving a 57% increase in Otezla net product sales

  was “impossible” given Celgene’s “pay to play” strategy (see supra ¶ 215). FE 7, who identified

  multiple barriers to Otezla’s ability to capture market share (see supra ¶¶ 211-217), added that

  “there isn’t any way to grow [Otezla] revenue by 57%.” FE 7 was very vocal to senior management

  (i.e., Alles, Smith, Curran) and specifically told them that he did not think Otezla’s growth would

  continue because of the step-edit hurdles and the saturation of competitor drugs in the market. FE

  7’s warnings, however, were ignored.

         251.    Consistent with FE 7, FE 8 stated there was no way Celgene could meet the 57%

  year-over-year growth forecasted as part of the January 2017 Otezla guidance. FE 8 stated that

  Otezla sales continued to be flat into April 2017 and, as a result, he and his Regional Business

  Manager were “banging their heads against the wall.”

         252.    The disappointing sales results and other issues rendering the 2017 Otezla guidance

  unachievable were again communicated to the IIEC in early 2017. However, Defendants again

  refused to heed the warnings. Specifically, FE 17 learned from Tessarolo that he had given a

  presentation to the IIEC in early 2017 concerning the disappointing Otezla sales and had warned

  the IIEC that the Company needed to downgrade its 2017 Otezla sales guidance. During this

  presentation, Defendant Smith cut off Tessarolo, stating that he had heard enough of the negative

  information.



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                6.       Despite Continued Headwinds and Recognized Impediments,
                         Defendants Reaffirm the Aggressive 2017 Guidance

         253.     On April 27, 2017, Defendants announced that Celgene’s Otezla net product sales

  for the first quarter of 2017 fell short of the Company’s expectations, with just a 14% year-over-

  year increase and a 1% sequential decline from the fourth quarter of 2016. Rather than disclose

  the true cause of the decline in sales, Celgene reaffirmed the forecasted 57% year-over-year

  growth for Otezla sales, stating that the “Updated 2017 Guidance” for Otezla was “Unchanged.”

         254.     During the April 27, 2017 first quarter conference call, Defendant Kellogg

  represented that “sequential performance from Q4 to Q1 is always impacted by several items . . .

  Otezla is impacted by managed care dynamics that drive lower total marketplace prescriptions for

  psoriasis therapies in Q1.” Kellogg also tried to excuse the poor first quarter results by citing to

  the “higher gross-to-net adjustment related to new contracts with several large payers that were

  implemented in January,” reassuring investors that the new PBM contracts and elimination of step-

  edits would improve market access, and by extension, Otezla net product sales for 2017: “These

  new contracts approximately doubled the number of patient lives who can now access OTEZLA

  without being required to step through a biologic therapy, which has already improved OTEZLA’s

  market share in these accounts.” Smith further claimed that “[w]e initiated a number of activities

  that will expand the addressable population for OTEZLA worldwide, laying the groundwork for a

  highly successful year ahead,” stating that “[w]e can see that early gains are already evident after

  only 1 quarter from this contracting strategy.”

         255.    In truth, Defendants had no reasonable basis for representing that new PBM

  contracts and the removal of step-edits would improve Otezla sales and help the Company hit its

  2017 guidance. As detailed below by multiple former employees, the removal of step-edits and

  the newly negotiated contracts with the insurance companies and PBMs did not offset Otezla’s


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  struggling sales in light of the myriad other issues depressing the sales numbers and, thus, would

  not suffice to make up the yawning gap in sales.

                        (a)     Removal of Step-Edits Was Not a Panacea for Otezla’s
                                Lackluster Sales

         256.    Defendants acknowledged internally that Celgene needed a corresponding increase

  in Otezla sales to counterbalance the increased expenses and lower margins associated with the

  new contracts to remove the step-edits imposed by the insurance companies. According to FE 12,

  after Celgene spent a lot of money for “payer wins” (i.e., the removal of step-edits and other

  requirements by insurance companies), there was a push from corporate and District Managers to

  increase the sales volume to offset the higher expenditures and lower margins. As discussed above,

  however, a laundry list of additional issues, including the lack of efficacy and increased

  competition, continued to negatively impact Otezla sales (see supra § IV.C.2) despite the increased

  removal of step-edits by insurance companies. As FE 9 confirmed, even if Celgene managed to

  remove the step-edits, it would not solve the sales issues for Otezla because, among other things,

  physicians had been working with competitor drugs for many years and it was easier for them to

  prescribe medications they were used to and knew worked well.

         257.    During meetings in November or December of 2016 with Defendant Curran,

  Tessarolo, Swartz, Grausso, Willcox, and Rob Owen (“Owen”), National Sales Director, FE 7

  continued to warn these executives that paying to remove the step-edits for Otezla was not a cure

  for the drug’s broad-based market access challenges.

         258.    FE 7 indicated that while Celgene did remove some step-edits for Otezla in 2017,

  Celgene’s leadership had previously made decisions that hampered Otezla’s market access and

  destroyed its “best price” beginning as early as the 2014 launch (see supra ¶¶ 212-214). In

  addition, not all payers agreed to remove step-edits, including United, Aetna, Cigna and Blue Cross


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  Blue Shield. Furthermore, FE 7 stated that even if 10 million individuals obtained access to Otezla

  through the removal of step-edits, not all of them would actually buy Otezla. In short, the removal

  of the step-edits was too little too late, and could not spur on Otezla sales enough to close the

  widening gap between the actual Otezla sales and the Company’s knowingly unreasonable 2017

  guidance.

                         (b)    Many of the New PBM Contracts Were “Downgraded” in 2017

         259.    Unbeknownst to investors, Defendants’ April 27, 2017 representation that the

  newly-entered PBM contracts would help drive the Company’s 2017 Otezla sales was undermined

  by the fact that many of the PBM contracts took several months to generate revenues and, as a

  result, the Company reduced the revenue expectations associated with these contracts.

         260.    Specifically, FE 18 stated that several of the new PBM contracts Celgene entered

  into in 2017 covered patients who were receiving their Otezla prescriptions for free or at a reduced

  cost through various forms of patient assistance and other initiatives, such that Celgene was

  earning only minimal revenues related to these patients’ prescriptions. Even after the new PBM

  contracts became effective, these patients continued to receive their Otezla prescriptions at little

  to no cost until their prior entitlements expired, at which point they were brought under the new

  reimbursement scheme. FE 18 explained that it was not until this process was complete—which

  could take one or two years—that Celgene started to earn revenues on these prescriptions. In other

  words, just because new PBM contracts went into effect in 2017, Celgene did not see increased

  revenues from prescriptions for many covered patients until months later.

         261.    FE 18 said that his Market Access team worked closely with the pricing team to

  assess how the new PBM contracts were performing throughout 2017. FE 18 stated that it was

  clear from the beginning of 2017, based on the models that his team was running monthly, that the

  PBM contracts were not meeting revenue expectations. FE 18 communicated the fact that the

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  contracts were underperforming to his boss, Swartz, and he understood that she reported this

  information to the CPMAC. According to FE 18, Celgene did not lower expectations for the PBM

  contracts even when presented with data showing that the contracts were underperforming; by

  contrast, when his team presented data showing that some contracts were outperforming, Celgene

  quickly raised the revenue expectations for those contracts.

         262.    Celgene eventually internally lowered the expectations on many of these PBM

  contracts. FE 18 recalled seeing a bar graph that depicted the original expectations, the actual

  numbers, and a revised, lowered expectation. The original expectation was “through the roof.”

  While the revised expectations were closer to the current performance, this was after they had been

  significantly lowered—by amounts that “took [him] aback.” Rather than communicate this to

  investors, Defendants left the market with the false impression that the new PBM contracts would

  help drive Otezla’s 2017 sales.

                7.       Defendants Slash Otezla and I&I Guidance, Blaming Market-Wide
                         Effects

         263.     It was not until the end of the third quarter of 2017 that Celgene finally admitted to

  investors what Defendants had known for years—the 2017 Otezla guidance could not be achieved.

  On October 26, 2017, Celgene stunned the market by announcing that, in light of the dismal Otezla

  sales numbers, the Company had slashed the 2017 guidance by more than $250 million—providing

  updated guidance of $1.25 billion compared to the $1.5 billion to $1.7 billion range Defendants

  reaffirmed just weeks earlier. Defendants also revised the 2020 I&I guidance down from over $4

  billion to between $2.6 billion and $2.8 billion, due to the grim Otezla sales.

         264.     During the third quarter 2017 conference call that day, Defendants tried to blame

  the dramatic reduction of the Otezla guidance on slowing growth across the dermatology market

  and other market-wide challenges. Alles claimed: “[O]ur 2017 forecast assumptions did not


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  adequately anticipate the deep and persistent slowing growth of the psoriatic arthritis and psoriasis

  markets, especially during the entire third quarter. When combined with the discounts tied to the

  execution of our ongoing managed-care contracting strategy, we missed our third quarter OTEZLA

  sales target.” Kellogg similarly attributed the reduction in the Otezla guidance to the “market-

  wide challenges in the U.S. dermatology market,” and Curran cited the “market deceleration” and

  characterized the Otezla market as “increasingly dynamic and competitive.”

         265.    Former Celgene employees knowledgeable about the real reason for the slashed

  guidance reported that these explanations were not accurate. FE 18, for example, rejected

  Defendants’ claims that the Otezla miss was due to a slowing of the psoriasis and PA markets,

  particularly during the third quarter of 2017, as well as increasing competition, calling this

  purported explanation “bullshit.” FE 18 explained that there was no way that Celgene’s leadership

  was unaware of the fact that there would be more products entering the market in 2017. In addition,

  FE 18 confirmed that the market did not change rapidly in the third quarter of 2017. As he

  explained: “We saw what was happening way before then. We had monthly meetings with the

  contract and pricing teams . . . very early on in 2017.” FE 18 stated that there was “worry” and

  “concern” at these meetings. As FE 18 further stated: “We were in trouble with our Otezla

  contracts. You heard that from a lot of the pricing and contract people.” Thus, according to FE

  18, there was no way that Celgene’s leadership was unaware of the looming guidance miss long

  before the third quarter of 2017.

         266.    The accounts of the other former Celgene employees discussed above similarly

  confirm that the 2017 Otezla guidance was unattainable from the start of the Class Period (see

  supra § IV.C.2).




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         267.   Analysts reacted quickly and negatively to the Company’s guidance reduction and

  expressed a lack of confidence in Celgene’s ability to execute going forward. As J.P. Morgan

  wrote in an October 26, 2017 report:

         A week after a high-profile (albeit also high-risk) Phase 3 asset failed [GED-0301],
         the company reported a big miss for Otezla and a sizable cut to overall 2020
         guidance. This is clearly not a recipe for success for an over-owned stock in a
         skittish market. The question now is what happens from here? . . . . Sentiment has
         taken a tremendous hit, management faces a major credibility issue (at least based
         on our investor conversations), and generalists may be running for the hills after
         this week that more closely resembled a Halloween horror film than a typical 3Q
         biotech earnings season.

         268.   Raymond James commented that “today’s update substantially alters our outlook

  and confidence in the company’s ability to execute”:

         We previously viewed Celgene’s immune & inflammatory (I&I) franchise as a key
         driver to facilitate a revenue diversification effort away from Revlimid. However,
         with GED-301 now eliminated, and Otezla appearing to stumble, revised FY20
         targets indicate an increasing reliance on the hematology franchise (rather than
         decreasing), which is the opposite of what we’d hope to see over time. Even if
         ozanimod data shows differentiation, we think CELG has now become a “show
         me” story[.]

         269.   On the news of Celgene’s steep guidance reduction, the price of the Company’s

  common stock declined $19.57 per share, or more than 16%, on heavy trading volume from a close

  of $119.56 per share on October 25, 2017 to a close of $99.99 per share on October 26, 2017.

         D.     For Over a Year, Defendants Fraudulently Conceal the Need to
                Complete Additional Testing that Jeopardized the Ozanimod NDA

         270.   The third piece of Defendants’ three-pronged plan to replace Celgene’s revenue

  stream from Revlimid was Ozanimod. Ozanimod was initially developed by Receptos to treat




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  RMS and UC. 12 MS is the most common autoimmune disease of the central nervous system,

  affecting an estimated one million people in the U.S.

                  1.         Celgene Acquires Receptos and Installs Celgene Personnel to Oversee
                             the NDA Submission for Ozanimod

           271.     On July 14, 2015, Celgene agreed to purchase Receptos for $7.2 billion. In its press

  release announcing the acquisition, Celgene trumpeted that “[t]he transaction adds Ozanimod”

  which, based on clinical studies, “demonstrated several areas of potential advantage over existing

  oral therapies for the treatment of [UC] and [RMS] . . . .” Celgene projected potential annual

  Ozanimod sales of up to $6 billion, and analysts commenting on the Receptos acquisition zeroed

  in on the drug’s anticipated power to generate revenue. As one commentator later remarked,

  Ozanimod was “the crown jewel in Celgene’s $7.2 billion acquisition of Receptos, Inc.” In light

  of the Receptos acquisition, Celgene revised its 2020 revenue guidance for the I&I franchise up

  from $3 billion to over $4 billion.

           272.     Immediately upon acquiring Receptos, Celgene installed its own personnel at

  Receptos’ headquarters in San Diego.                 As FE 20, a former senior executive in Clinical

  Development at Receptos, explained, after the acquisition, Celgene moved in and took over

  Receptos: “They [Celgene] were in charge. Receptos was not.” FE 20 stated that Receptos was

  brought under the control of Celgene’s New Jersey headquarters. From that point forward,

  Receptos was out of the decision-making loop and important decisions were made by Celgene in

  New Jersey or by on-site Celgene personnel. FE 21 stated that after the acquisition, Receptos’




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            MS disrupts the normal functioning of the brain, optic nerves and spinal cord through inflammation and tissue
  loss, causing communication problems between the patient’s brain and the rest of the body. Most people with MS
  have RMS, which is characterized by a relapsing-remitting disease course, whereby a patient’s symptoms may remit
  for a period of time but then relapse.


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  leadership was not allowed to make any decisions that had the potential to impact Celgene’s stock

  price, and there were constant discussions between senior Receptos personnel and their

  counterparts and superiors at Celgene.

         273.    According to FE 20, Defendant Martin came from Celgene to Receptos to oversee

  the Ozanimod NDA filing. Martin formerly served as the Vice President, Head of Project

  Leadership, for Celgene’s I&I franchise. FE 2, who worked in Clinical Research & Development

  in the Company’s I&I franchise, described Martin as a “control freak” and Smith’s right hand man,

  and confirmed that Martin was sent to San Diego as Managing Director for Receptos in late 2015

  or early 2016. FE 2 recounted that Martin operated as the de facto chief executive at Receptos.

  FE 5, a former Director at Receptos, likewise described Martin as the CEO of Receptos after the

  acquisition, adding that Martin was in charge of the entire Receptos organization and reported

  directly to Smith.

         274.     FE 5 explained that once he was in power, Martin pushed out Receptos’ previous

  upper management and replaced them with his friends from Celgene in New Jersey. Martin’s best

  friend, Saillot, was brought in to serve as Vice President of Project Leadership, Regulatory Affairs,

  and Clinical Pharmacology at Receptos. FE 5 also recounted that Gary Cline, Head of Strategic

  Research and Innovation at Celgene, was another individual sent by Smith to San Diego to keep

  tabs on Ozanimod for Smith.        FE 22, a Project Manager on the Ozanimod UC/CD team,

  corroborated that Martin reported directly to Smith and further confirmed that Saillot was Martin’s

  second in command.

                2.       Celgene Touts Ozanimod’s Advantages Over Gilenya

         275.     When Celgene acquired Receptos in 2015, the Company knew that if Ozanimod

  received FDA approval, its main competitor would be Gilenya (fingolimod), a drug manufactured

  by Novartis for the treatment of RMS. The Company therefore immediately embarked on an

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  aggressive campaign to hype the purported advantages of Ozanimod over Gilenya and to rush

  Ozanimod through the FDA approval process.

          276.    Gilenya has a mechanism of action that is similar to Ozanimod. Celgene, however,

  claimed that Ozanimod had the advantage of a much shorter half-life than Gilenya. Gilenya has a

  long half-life of 168 hours, or seven days—that is, half of the drug remains in a patient’s body for

  seven days after it is taken. By contrast, Celgene claimed that Ozanimod had a much shorter half-

  life of just nineteen hours.

          277.    As one scientific paper from 2015 explained: “Having a shorter half-life and rapid

  peripheral lymphocyte recovery may provide [Ozanimod] with significant advantages, including

  flexibility in treatment with other immune-modulating agents as needed or allowing for a rapid

  switch to alternative therapies if the patients [sic] disease flares while on therapy.”

          278.    Immediately after acquiring Receptos, Celgene began touting the supposed

  advantages of Ozanimod over Gilenya and other oral RMS medications, including the drug’s

  purportedly shorter half-life.    For example, during the Robert W. Baird & Company, Inc.

  Healthcare Conference on September 9, 2015, Defendant Smith pointed to the “different half-

  life . . . that you see with the S1P1 with Ozanimod, that you don’t see with Gilenya,” noting that

  this “could potentially be some reason to differentiate.”

          279.    Armed with this supposed competitive advantage, Celgene sought to capture

  Gilenya market share following FDA approval of the Ozanimod NDA, which was expected in

  2018. In a landscape-altering ruling, however, in October 2015, the U.S. Patent and Trademark

  Office (“PTO”) quashed Novartis’s Gilenya patent claims in response to a challenge by generic

  competitors, paving the way for the entry of fingolimod generics into the RMS market by the end

  of 2019. As one publication characterized the PTO’s decision and its impact on companies like



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  Celgene: “[I]t’s not good for rival pharma companies, either. They’ll also have to contend with

  copycat versions of Gilenya, the first oral treatment for MS.”

         280.     Thus, despite Ozanimod’s purportedly superior half-life and safety profile, the

  availability of cheaper generic alternatives with a similar efficacy starting in 2019 would make it

  more difficult for Ozanimod to gain widespread acceptance among RMS patients. As a result,

  Celgene was highly motivated to file its Ozanimod NDA and seek FDA approval before the end

  of 2017, in hopes of establishing market share before the wave of generic fingolimod competitors

  hit the market in 2019.

                3.       Celgene Disregards FDA Guidance and Industry Practice and Fails to
                         Undertake Critical Testing for Ozanimod Metabolites

         281.     In announcing the Receptos acquisition, Celgene represented that it anticipated no

  obstacles to FDA approval. For example, the Company told investors on July 14, 2015 that the

  data from the two ongoing Phase III clinical trials, the RADIANCE and SUNBEAM RMS studies,

  “are expected in the first half of 2017 to support a RMS approval in 2018.” Defendants continued

  to make identical representations throughout the Class Period.          However, unbeknownst to

  investors, after Celgene discovered the Metabolite in November 2016, it failed to conduct and

  report critical testing required to receive FDA approval of Ozanimod in early 2018, thus dooming

  the drug’s prospects for this rapid approval timeline.

                         (a)     FDA Guidance and Industry Practice Standards on Metabolite
                                 Safety Testing

         282.    Pursuant to FDA guidance, in order to avoid significant delay in the review and

  approval of a new drug application, drug companies are directed to identify all metabolites early

  on in the drug development process and to conduct extensive safety testing of any active

  metabolites that are discovered during the course of these pharmacological analyses. When a drug

  is administered to a patient, the drug can be metabolized (i.e., chemically altered) by the patient’s

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  body, resulting in the formation of one or more metabolites. Metabolites are characterized as either

  “active” or “inactive.” Active metabolites continue to produce effects in the body after their

  formation, whereas inactive metabolites do not. Active metabolites can accumulate in the body

  following multiple doses of a drug and may ultimately alter both the safety and the therapeutic

  effects of the drug. Thus, according to a seminal article on the subject, understanding “the

  metabolic fate of a drug candidate in preclinical species and humans is a key factor in new drug

  development, registration and ultimate use.” 13

          283.     The importance of metabolite identification and testing has long been recognized.

  Since 1985, federal regulations have required that NDAs include “[a] section describing the

  human pharmacokinetic data” (i.e., information about how a drug moves through the body),

  including “[a] summarizing discussion and analysis of the pharmacokinetics and the metabolism

  of the active ingredients . . . of the drug product.”

          284.     In 2002, Dr. Thomas A. Baillie (Professor of Medicinal Chemistry and Dean

  Emeritus for the University of Washington School of Pharmacy, and former Vice President and

  Global Head of Drug Metabolism and Pharmacokinetics at Merck & Co.), et al. authored a paper

  entitled “Drug Metabolites in Safety Testing” that summarized the deliberations of a

  multidisciplinary committee regarding the critical importance of identifying and testing

  metabolites as early as possible in the drug development process. 14 In this paper, often referred to

  as the “MIST” paper, Baillie and his co-authors recognize “the increased attention being paid by




  13
          Human Radiolabeled Mass Balance Studies: Objectives, Utilities and Limitations, Natalia Penner, Lewis J.
  Klunk and Chandra Prakash, May 2009. At the time of this paper, Penner, Klunk and Prakash were employed in the
  Department of Drug Metabolism and Pharmacokinetics at Biogen, a pharmaceutical company focused on discovering,
  developing and delivering therapies for people affected by serious neurological and neurodegenerative diseases.
  14
          Drug Metabolites in Safety Testing, Toxicology and Applied Pharmacology 182, 188–196 (2002).


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  both pharmaceutical companies and regulatory agencies to the role of metabolites as potential

  mediators of the toxicity of new drug products.”

          285.    Baillie, et al. highlight the fact that the early identification of metabolites in drugs

  at the development stage is critical to evaluation of the drug’s safety. The MIST paper also stated

  that “it seems reasonable to expect that the sponsor would wish to develop an understanding of the

  metabolic fate of the drug candidate in humans prior to the initiation of large Phase III clinical

  trials.” Baillie, et al. further stress that “the importance of the animal and human ADME

  [Absorption, Distribution, Metabolism and Excretion] studies [used to identify metabolites]

  cannot be overemphasized, the results of which need to be viewed in the context of all available

  pharmacology and toxicology data.”

          286.    Relying on Baillie’s 2002 MIST paper, the FDA published industry guidance for

  the Safety Testing of Drug Metabolites in 2008 and reaffirmed this guidance in November 2016.

  The FDA’s guidance calls for “the identification of differences in drug metabolism between

  animals used in nonclinical safety assessments and humans as early as possible during the drug

  development process.” The FDA warns that “[t]he discovery of disproportionate drug metabolites

  late in drug development can potentially cause development and marketing delays.” Thus, the

  FDA “encourage[s] contacting the FDA early in drug development to discuss these issues.”

          287.    As Baillie subsequently explained in a 2009 paper, the FDA’s metabolite testing

  guidance “underscores the need for sponsors to conduct studies on the metabolic fate of drug

  candidates at an early stage of clinical development, such that issues of disproportionate human

  metabolites may be addressed prior to the initiation of large-scale clinical trials.” 15



  15
         Approaches to the Assessment of Stable Chemically Reactive Drug Metabolites in Early Clinical Trials,
  Chem. Res. Toxicol. 2009, 263-266.


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         288.    Testing for the presence of metabolites in humans is conducted through so-called

  radiolabeled mass balance studies, wherein a radioactive “label” (typically Carbon-14) is added to

  the drug to allow for the tracking of metabolites in the blood, plasma, urine, and feces collected

  from patients. As Penner, et al. explain, radiolabeled mass balance studies are “viewed as the

  primary source of data on human metabolites from which a decision can be made regarding the

  need for further safety assessment in preclinical species,” stating that “[h]uman radiolabeled mass

  balance . . . studies are required by regulatory authorities for the registration of a new drug, and

  therefore, are an integral part of the majority of drug development programs.” Baillie also

  acknowledges the importance of mass balance studies utilizing a “radiolabeled drug” in identifying

  metabolites, stating that these studies are “generally [ ] accepted as the ‘gold standard’ method

  for defining the fate of a drug candidate in man.”

         289.    Following the identification of metabolites through appropriate studies, certain

  metabolites require additional testing. As the FDA explains, “when the metabolic profile in

  humans is similar to that in at least one of the animal species used in nonclinical studies,” standard

  animal toxicology studies are generally deemed sufficient for FDA submission. In other words, if

  the metabolite is present in similar amounts in humans as in the animals used for toxicology

  studies, those animal toxicology studies can “stand in” for human toxicology studies. However,

  as the FDA guidance recognizes, there are cases when “the metabolite is formed only in humans

  and is absent in the animal test species or [ ] the metabolite is present at disproportionately higher

  levels in humans than in the animal species.” In these cases where such an imbalance exists

  between the metabolite’s presence in humans as compared to animals, the drugmaker should

  conduct additional testing of the metabolite before filing the NDA for the drug. In describing the

  type of metabolites subject to additional studies, the FDA guidance provides:



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             Generally, metabolites identified only in human plasma or metabolites present at
             disproportionately higher levels in humans than in any of the animal test species
             should be considered for safety assessment.

  The FDA guidance further provides that human metabolites can raise a safety concern when they

  “form[] at greater than 10 percent of parent drug systemic exposure at steady state.”

             290.   Baillie likewise stresses the importance of determining whether any of a drug’s

  metabolites are present at higher levels in humans than in animal test species. Baillie states that if

  an imbalance is detected, the next step is to determine whether “such ‘disproportionate’ human

  metabolites exceed 10% of the area under the plasma concentration vs time curve (AUC) of the

  unchanged parent”—a further red flag. The AUC, or “Area Under the Curve,” percentage is

  significant as it reflects the actual body exposure to a drug after administration of a dose of the

  drug.

             291.   If a disproportionate metabolite is identified, the FDA guidance sets forth multiple

  categories of studies “to be conducted to assess the safety” of such a metabolite. This battery of

  tests includes: general toxicity studies, genotoxicity studies, embryo-fetal development toxicity

  studies, and carcinogenicity studies.

             292.   Penner, et al. recognize the need for further tests regarding disproportionate

  metabolite levels identified during drug development and, thus, the importance of early metabolite

  identification: “Additional toxicological testing on metabolites that display higher exposure in

  humans than preclinical animal species may be required. For such metabolites, the [FDA]

  Guidance recommends that they be synthesized and evaluated by direct administration to test

  animals and the study reports be submitted prior to commencement of large-scale clinical

  trials.”




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                         (b)     Celgene Fails to Conduct Critical Metabolite Testing in
                                 Contravention of Governing Guidance and Industry Standards

         293.    Notwithstanding the need for additional, time consuming safety studies with

  respect to any disproportionate metabolites that are identified, Celgene pushed forward with large-

  scale Phase III clinical (i.e., human) trials of Ozanimod after the Receptos acquisition in an effort

  to expedite submission of the Ozanimod NDA. In doing so, the Company delayed administration

  of the “gold standard” radiolabeled mass balance study.

         294.    After the Receptos acquisition, Celgene forged ahead with the Phase III

  SUNBEAM and RADIANCE trials and only later circled back to finish the necessary Phase I

  testing. As FE 21 explained, Celgene reported to the market the “sexier” efficacy findings for

  Ozanimod first, and then sought to backfill the results from the “non-sexy” clinical pharmacology

  testing that must be conducted throughout drug trials. These “non-sexy” tests examine aspects

  such as how a drug impacts the body or absorption rates and are typically completed during Phase

  I (i.e., the first in-human studies). With respect to Ozanimod, however, FE 21 reported that

  Celgene was still undertaking many Phase I Ozanimod studies in 2016, notwithstanding that the

  Company had been proceeding with large-scale Phase III clinical trials for more than a year.

         295.    The Code of Federal Regulations (“CFR”)—a codification of the rules established

  by U.S. Federal Government agencies, including the FDA—confirms that Celgene’s decision to

  push forward with the Phase III trials without first completing the threshold Phase I studies was

  out of sequence. As these regulations explain, “the clinical investigation of a previously untested

  drug is generally divided into three phases,” Phase I, II and III, and “in general the phases are

  conducted sequentially.” 21 C.F.R. 321.21. Phase I studies “are designed to determine the

  metabolism and pharmacologic actions of the drug in humans,” among other things. Phase III




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  studies, by contrast, “are performed after preliminary evidence suggesting effectiveness of the drug

  has been obtained.”

         296.    Celgene’s acceleration of the Ozanimod Phase III testing—despite not having

  completed Phase I testing, including the “gold standard” radiolabeled mass balance study—

  conditioned the market that the Company was in position to file the Ozanimod NDA by the end of

  2017. For example, Celgene represented in a November 5, 2015 slide presentation given during

  the Company’s third quarter conference call that “Ozanimod Clinical Development Continues to

  Progress on or Ahead of Schedule.” Unaware that Celgene had not yet completed Phase I testing,

  analysts reporting on the conference call repeated Defendants’ representations regarding the timing

  of the NDA for Ozanimod. Jefferies Group LLC listed the “potential launch in MS” for Ozanimod

  as mid-2018. Morningstar similarly reported that Ozanimod is “poised to reach the market in

  2018” and also referenced Ozanimod’s “potential approval in multiple sclerosis” in 2018. An

  RBC Capital Markets analyst also wrote that Ozanimod was “ahead in timing.”

                4.       Celgene Belatedly Identifies a New Metabolite that Imperils the
                         Company’s Timeline for FDA Approval

         297.     Celgene did not undertake the testing necessary to identify all of Ozanimod’s

  metabolites until October 2016—fifteen months after first acquiring Receptos. On October 17,

  2016, Celgene began recruiting study subjects for a “Phase I, Single-Centre, Single Dose Oral

  Excretion Balance Study of [14C]-RPC1063 in Healthy Male Adults” (the “Mass Balance Study”).

  One of the stated primary objectives of this study was “[t]o determine how the drug [Ozanimod]

  moves through the body [i.e., is metabolized] and how fast it is removed from the body.” Through

  this Mass Balance Study, which was completed on November 21, 2016, Celgene identified the

  Metabolite—a disproportionate and highly active metabolite, later labelled as CC-112273—which

  triggered the need for the additional testing described in the FDA guidance.


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         298.    Celgene’s laggard discovery of the Metabolite is confirmed by former Celgene

  employees. For example, FE 20 stated that the Metabolite was discovered in 2016 during a

  radiolabel drug study. FE 21 similarly stated that the Company identified a new metabolite

  approximately a year before the Company submitted the Ozanimod NDA in December 2017.

         299.    FE 21, who had first-hand knowledge of the discovery of the Metabolite, discussed

  the Metabolite with his manager and stated that its discovery was of great concern. As FE 21

  explained, his manager told him not to tell anyone about the Metabolite finding—instead, FE 21’s

  manager and the leader of Receptos, who other former employees have identified as Defendant

  Martin, would tell him who needed to know. FE 21 understood that the individual with his parallel

  role at Celgene and his manager’s equivalent at Celgene both knew about the discovery of the

  Metabolite. FE 21 also learned that members of Celgene’s senior leadership knew about the

  discovery of the Metabolite and received updates on the issue.

         300.    Upon discovering the Metabolite in November 2016, Defendants recognized that

  they had to conduct additional studies of the Metabolite prior to submitting the Ozanimod NDA.

  The results of the Mass Balance Study revealed that the concentration of the Metabolite in humans,

  measured by the AUC, far exceeded the 10% threshold trigger for additional testing set forth in

  the FDA guidance. Moreover, as the Company would later disclose after the Class Period (see

  infra ¶ 333), the Metabolite is disproportionately formed in humans and accounts for 90% of

  Ozanimod’s activity.

         301.    Thus, Defendants knew in November 2016 that the Metabolite triggered both of the

  FDA-established thresholds for additional testing. In other words, because the Metabolite was:

  (i) “present at disproportionately higher levels in humans than in any of the animal test species”;




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  and (ii) “formed at greater than 10 percent of parent drug systemic exposure at steady state,” it

  “raised a safety concern” and should have been “considered for safety assessment.”

         302.    In addition, the Mass Balance Study revealed that the half-life for the Metabolite

  was significantly longer than Ozanimod’s half-life of nineteen hours, which the Company had

  repeatedly promoted as a competitive advantage for Ozanimod over Gilenya during the Class

  Period. In fact, the Company waited until after the Class Period to disclose that the half-life of the

  Metabolite was ten to thirteen days.

         303.    Multiple witnesses confirm that Defendants knew that Celgene needed to conduct

  further testing on the Metabolite prior to filing the Ozanimod NDA. FE 21 recounted that

  immediately after discovering the Metabolite, he and others at Celgene began working on several

  additional studies. FE 21 characterized these efforts as “herculean” and “monumental,” explaining

  that Celgene started new studies and went back and looked at closed findings to extract more data.

  FE 21 also indicated that Celgene’s senior leadership was briefed on the discovery of the

  Metabolite and the ongoing characterization efforts “quite some time before the filing” of the

  NDA. Furthermore, FE 21 confirmed that, over time, the team working on issues surrounding the

  Metabolite grew.

         304.    Similarly, FE 5 recalled that Defendant Tran, Receptos’ Head of Clinical

  Pharmacology, confirmed the need for additional testing and studies of the newly discovered

  Metabolite during an Ozanimod meeting in March or April of 2017. This meeting was attended

  by Martin, Saillot (who reported to Martin), Paul Frohna (“Frohna”) (Vice President of Clinical

  Development and Translational Medicine, Receptos, who reported to Martin), Kopicko (Executive

  Director of Biometrics, Receptos, who reported to Martin), Darryl Penenberg (“Penenberg”)

  (Director, Receptos, who reported to Kopicko), Aranda (Vice President of Clinical Development,



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  Receptos, who reported to Martin), Brett Skolnick (“Skolnick”) (Executive Director of Clinical

  Development, Receptos, who reported to Aranda), and others.

         305.    FE 5 stated that, at this meeting, Tran, who worked on the radiolabeled Mass

  Balance Study and was responsible for analyzing the Metabolite and preparing the

  pharmacokinetic report, discussed the high amounts of the Metabolite that were found in humans

  (but not in animals) and the need to conduct further studies. According to 5, Tran directed his

  comments to Martin and Saillot, and Martin and Saillot quickly shut down the conversation

  regarding the Metabolite and moved on to a separate testing discussion.

         306.    Despite discovering the Metabolite and the need to complete additional testing

  before submitting the Ozanimod NDA to the FDA—circumstances which jeopardized Celgene’s

  timeline for NDA submission at the end of 2017—Defendants concealed and misrepresented these

  material facts from investors. For example, after discovering the Metabolite and recognizing the

  need for additional Phase I testing, Defendants deceptively represented to investors in Celgene’s

  Annual Report on February 10, 2017 and in its quarterly report on April 27, 2017, that the status

  of Ozanimod’s development was “Phase III,” when in fact, substantial Phase I studies on the

  Metabolite were now required.

         307.    Defendants also continued to represent that Celgene was on track to submit the

  NDA before the end of 2017 and was only waiting on the final results from the Phase III

  RADIANCE and SUNBEAM trials. For example, Alles stated during the J.P. Morgan Healthcare

  Conference on January 9, 2017: “We have two Phase 3 trials that have completely accrued and

  expect to have the data during the first half of this year . . . contingent on that, we will file an

  NDA for Ozanimod in multiple sclerosis by the end of the year.” Alles said nothing about the

  discovery of the Metabolite two months earlier, the need for further testing as a result, or the impact



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  this further testing would have on the end-of-2017 target for submission of the NDA. In reporting

  on the conference, J.P. Morgan analysts wrote that “NDA submission by Y[ear] E[nd] [20]17” was

  a “Key 2017 catalyst[].” A JMP Securities analyst similarly stated that “the submission of an NDA

  for ozanimod in patients with multiple sclerosis” was a “key 2017 corporate milestone[].”

         308.    After Celgene received the results from the SUNBEAM and RADIANCE trials in

  the spring of 2017, Defendants repeatedly touted the findings of these Phase III studies and assured

  investors that, based on these results, Celgene planned to submit the Ozanimod NDA by the end

  of 2017. For example, on July 27, 2017, during Celgene’s second quarter 2017 conference call,

  Defendant Curran stated: “We announced positive results from RADIANCE, our second Phase III

  trial of ozanimod in MS and are on track to file the U.S. NDA by the year end.” Defendant Smith

  added, “we feel very, very good about the data that’s emerging for ozanimod,” never once

  mentioning the Metabolite.

         309.    These statements were materially false and misleading because Defendants touted

  the completion of the Phase III studies—putting the issue of Ozanimod’s development status into

  play—but did not disclose anything about the discovery of the Metabolite or the need to complete

  additional, protracted, and laborious Phase I testing which undermined Celgene’s promise to

  submit the NDA by year-end. As far as the investing public knew, Ozanimod was well beyond

  Phase I. Nothing was further from the truth.

         310.    Further deceiving investors, on August 7, 2017, the Journal of Clinical

  Pharmacology in Drug Development published a paper authored by Defendant Tran and several

  other Celgene employees entitled “Cardiac Safety of Ozanimod, a Novel Sphingosine-1-Phosphate

  Receptor Modulator: Results of a Thorough QT/QTc Study.”              In this paper, Tran stated:

  “Metabolism studies in animals identified 3 pharmacologically active metabolites (RP101988,



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  RP101075, and RP101442) that have similar S1P selectivity and potency in vitro to ozanimod”

  and described the characteristics of these three metabolites. The article also included a Figure 1

  that purported to identify the “Chemical structures of ozanimod and its active metabolites.”




         311.        Tran’s paper made no mention of the Metabolite or the requisite additional testing,

  thereby misleading the scientific and investor community and perpetuating Defendants’

  concealment of the impact of the Metabolite on the Company’s submission of the Ozanimod NDA.

                5.          Celgene Knowingly Submits a Facially Deficient and Incomplete NDA

         312.     As discussed above, Celgene was eager to rush Ozanimod to market so that it could

  compete directly with Gilenya and capture market share before Gilenya went off patent in 2019.

  Accordingly, Celgene determined not to wait until the additional Metabolite testing was complete

  and instead forged ahead with the NDA submission, knowing that it was deficient and almost

  certain to be rejected by the FDA.




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          313.        FE 21 stated that he and his colleagues disagreed with the Company’s decision to

  push forward with the NDA, instead believing that the Company should wait and finish all of the

  necessary testing and other work before submitting the NDA. He explained that he and his

  colleagues could not understand why the Company would not invest the additional time to perform

  the necessary testing prior to submitting the NDA, especially when an RTF letter, which results

  from a deficient NDA filing, could severely damage Celgene’s reputation. According to FE 21,

  there was no empirical reason for pushing ahead with the deficient filing. When FE 21 shared his

  thoughts with his managers, he was told to keep his views to himself.

          314.        In or around August 2017, FE 21 discussed with his colleagues the likely outcome

  of the Company’s decision to file the NDA without the full results of the additional Metabolite

  testing. Specifically, FE 21 and his colleagues concluded that Celgene would receive an RTF letter

  due to the absence of the requisite test results. As FE 21 explained, the working team in

  “clinpharm” advocated that if Celgene submitted the NDA, it would get a refusal to file, and he

  thought other teams felt that way too from speaking with them. FE 21 shared his concerns with

  his direct management. FE 21 and his colleagues also discussed the likelihood that the Company

  would blame Receptos personnel and the clinical pharmacology team for the RTF, and there would

  be massive layoffs as part of the fallout. As FE 21 stated, he and his colleagues were concerned

  that an RTF would cause “heads to roll locally and up top at Celgene.”

          315.        In spite of these grim misgivings inside the Company, on October 26, 2017,

  Celgene held its third quarter 2017 conference call during which Defendants painted a very

  different picture for the investing public. During the call, Defendant Curran reiterated the false

  mantra that Ozanimod “remains on track for regulatory submission, beginning with the U.S. by

  year-end . . . .”



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         316.    According to FE 22, in November 2017, the FDA confirmed that Celgene was

  required to submit the results of the additional Metabolite testing with its NDA. Specifically, prior

  to filing the NDA, Celgene was involved in discussions with the FDA concerning the submission,

  which culminated in a November 2017 in-person meeting, known as a pre-NDA meeting. FE 21

  understood that the “mini-NDA” package Celgene provided to the FDA in advance of the pre-

  NDA meeting and months before the NDA filing included information regarding the Metabolite

  and Celgene’s work and findings to date.

         317.    FE 22 later learned that, during the pre-NDA meeting in November 2017, the FDA

  expressly told the Company that: (i) the FDA required the study results for the Metabolite; (ii) the

  results were very important; and (iii) the results had to be included in the Ozanimod NDA.

         318.    Even after the FDA explicitly told Celgene during the Company’s pre-NDA

  meeting that Celgene must include the results of the additional Metabolite studies as part of its

  NDA submission—thus confirming what the Company had already recognized internally for

  months—Celgene pressed ahead with its plan to file the NDA without the test results, knowing

  that it was almost certain that the FDA would reject the NDA.

         319.    FE 22 confirmed that the Company moved forward and submitted the Ozanimod

  NDA without the required data in December 2017. FE 22 explained that one of the additional

  Metabolite studies was underway in December 2017, but results of that study were not to be

  received until April 2018—four months after the Company’s self-imposed filing deadline.

  Celgene nevertheless chose to submit a facially incomplete NDA without the results rather than

  delay the filing. FE 22 had heard that Martin and Saillot “just wanted to get the NDA out the

  door.” FE 20 echoed FE 22’s account, explaining that the Ozanimod NDA had been “hustled

  forward.”



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         320.    Celgene’s decision to push ahead with a facially deficient NDA submission which

  lacked the required Metabolite test results was motivated by two principal factors. First, as

  discussed above, Celgene was motivated to submit the NDA prematurely in order to begin

  marketing Ozanimod and gain market share before generic versions of Gilenya began to enter the

  market in 2019.

         321.    Second, many of Celgene’s high-ranking employees were entitled to receive

  bonuses upon mere submission of the NDA to the FDA. FE 22 recounted that both Martin and

  Saillot received bonuses for submitting the Ozanimod NDA by year-end 2017. FE 20 similarly

  confirmed that the compensation for the Celgene and Receptos personnel, including Martin, was

  tied to the Ozanimod NDA filing. FE 20 explained that this was the “carrot” for the employees,

  and the higher one went up the corporate chain, the greater the amount of compensation tied to the

  NDA filing. Confirming these accounts, as set forth in Celgene’s proxy statement filed with the

  SEC in 2017, Defendants Hugin, Alles, Kellogg and Smith were all entitled to performance awards

  based in part on the “filing of a new drug application.” Notably, Hugin, Alles, Kellogg and Smith

  received lucrative performance awards for 2017 of $2,175,000, $2,144,623, $800,352, and

  $845,495, respectively, along with company stock.

         322.    In the months following Celgene’s Ozanimod NDA filing, Defendants continued

  to tout the NDA submission and expected FDA approval, while withholding from investors

  material adverse information regarding the Metabolite and the Company’s decision to submit the

  NDA without the requisite test results, even though the FDA told the Company in November 2017

  that such results were required for approval. For example, on January 8, 2018, Celgene filed a

  press release in a Form 8-K with the SEC that identified the “FDA decision on the submission of

  an NDA for ozanimod in patients with relapsing multiple sclerosis (RMS)” as a “2018 Expected



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  Operational Milestone[].” Similarly, despite the great concern that arose when Celgene found the

  Metabolite in November 2016 and Celgene’s decision not to perform the required testing prior to

  its NDA submission, the Company highlighted other testing results on a January 25, 2018 Form

  8-K, but made no mention of the Metabolite and the further Phase I testing required for FDA

  approval. As Celgene stated: “In December, a New Drug Application (NDA) was submitted with

  the FDA for ozanimod in relapsing multiple sclerosis (RMS) based on data from the phase III

  RADIANCE Part B and SUNBEAM trials evaluating ozanimod in patients with RMS.”

                 6.       The FDA Refuses to File the Ozanimod NDA

          323.     On February 27, 2018, Celgene once again stunned the market by disclosing that it

  had received an RTF letter in response to its Ozanimod NDA submission.

          324.     The FDA can refuse to file an NDA and issue an RTF letter if it identifies clear and

  obvious deficiencies in a company’s submission. As the FDA’s Standard Operating Policy and

  Procedure (“SOPP”) explains:

          [A]n RTF is based on omissions of clearly necessary information (e.g.,
          information required under the statute or regulations) or omissions or inadequacies
          so severe as to render the application incomplete on its face and where the
          omissions or inadequacies are obvious, at least once identified, and not a matter of
          interpretation or judgment about the meaning of data submitted.

          325.    The SOPP provides that an RTF “[i]s not an appropriate vehicle for dealing with

  complex issues and close judgments on such matters as balancing risks and benefits, magnitude of

  clinical effect, acceptability of a plausible surrogate marker, or nuances of study design.” Instead,

  an RTF is based on “[s]cientific incompleteness, such as omission of critical data, information

  or analyses needed to evaluate safety, purity and potency or provide adequate directions for

  use.”   Thus, an RTF indicates the FDA’s threshold rejection of an NDA based on facial

  inadequacies identified through a summary review of the NDA’s contents, rather than an in-depth,



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  all-encompassing review of the substantive data and information underlying the submission. In

  other words, receipt of an RTF letter sends a clear message that the identified deficiency is patently

  obvious and that the NDA should never have been filed in the first place.

         326.    There is little publicly available information regarding the frequency of RTF letters

  because the FDA does not release information on the subject and companies have no independent

  obligation to disclose RTFs. However, the limited available information suggests that RTF letters

  are exceedingly rare. For example, using the subscription data service BioMedtracker, Forbes

  reported that the FDA issued just forty-five RTF letters in connection with NDA applications in

  the sixteen-plus years between December 31, 2001 and February 28, 2018. Moreover, receipt of

  RTFs by experienced and well-capitalized pharmaceutical companies like Celgene is virtually

  unheard of. As William Blair stated in a report entitled, “While Not a Crisis for Ozanimod, FDA’s

  RTF Letter Represents Another I&I Franchise Setback and Could Lead to a One-Year Delay,”

  published in the wake of the FDA’s RTF for Ozanimod: “In our view, well managed and high

  quality large-cap biotech companies do not make execution mistakes like the one disclosed on

  Tuesday [by Celgene].”

         327.    Celgene broke the news of the RTF letter to investors in a press release on February

  27, 2018, stating: “Upon its preliminary review, the FDA determined that the nonclinical and

  clinical pharmacology sections in the NDA were insufficient to permit a complete review.”

         328.    Analysts expressed both shock and concern upon the Company’s revelation of the

  RTF. For example, Leerink Partners noted in a report entitled “How Many Self Inflicted Wounds

  Are Excusable? Ozanimod Delay at Least a Year,” that the RTF “only adds to investors’ growing

  unease with the company’s direction and oversight of key activities” and observed that “the

  company clearly made a decision to file this application at risk, despite late information that



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  might have been more thoroughly disclosed and explored in the application, had the filing been

  postponed by a few months.” As Leerink Partners further explained:

         Celgene appears to have gambled on the ozanimod filing in December 2017 while
         knowing about the unanticipated finding from a late-stage clinical pharmacology
         trial [i.e., the Mass Balance Study] after the two phase IIIs read-out successfully.
         This study seemed to duplicate the type of study that would originally have been
         completed by Receptos, and the completion of the study itself suggests some
         recognition of a deficiency in the early clinical package prepared by the prior
         owner.

         329.     William Blair also wrote: “Obviously, investors are frustrated by another setback

  in the autoimmune franchise, especially in light of late last year’s mongersen failure in Crohn’s

  disease, clinical delay for ozanimod in ulcerative colitis, and soft third-quarter sales for Otezla.”

         330.        In the wake of the RTF announcement, the price of Celgene’s common stock fell

  from $95.78 per share on February 27, 2018 to $87.12 per share on February 28, 2018. Defendant

  Smith, who had been promoted from head of I&I to COO in April 2017, was ushered out of

  Celgene in April 2018. George Golumbeski, Celgene’s head of business development who was

  lauded as the chief architect of Celgene’s acquisition strategy, also left the Company in April 2018.

  In addition, Defendant Martin was relieved of his responsibilities at Receptos in June 2018 and,

  according to FE 22, the employees within Martin’s command at Receptos were let go after Celgene

  received the RTF. Furthermore, the 2018 proxy statement removed the “filing of a new drug

  application” as a factor in deciding upon senior management performance awards.

                7.          Celgene Admits that the RTF Was Due to Its Failure to Properly Test
                            the Metabolite

         331.     On April 25, 2018, several scientists gave a presentation at the American

  Association of Neurology (“AAN”) 2018 Annual Meeting in Las Vegas, Nevada entitled “Safety

  of Ozanimod Versus Interferon β-1a in Two Multicenter, Randomized, Double-Blind, Parallel-

  Group, Active-Controlled, Double-Dummy Phase 3 Studies in Relapsing Multiple Sclerosis


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  (SUNBEAM and RADIANCE Part B).” This presentation, which was partially funded by

  Celgene, disclosed to investors certain specifics of the Metabolite, dubbed CC-112273 by the

  Company, stating that: “Ozanimod is metabolized in humans to form one major active and other

  minor active metabolites”; “CC112273 accounts for the majority of the total activity of ozanimod

  in humans”; and “CC112273 is a minor metabolite in animal species.”

         332.    Just days after the 2018 AAN annual meeting, the market learned that the additional

  preclinical work required to test the Metabolite could delay Celgene’s refiling of its Ozanimod

  NDA for up to three years. This is precisely the kind of significant delay that the FDA guidance

  cautions that drug companies should avoid by conducting the required metabolite safety testing

  early, before NDA submission. Specifically, on April 29, 2018, Morgan Stanley published a report

  entitled “More Bread Crumbs Yield Less Confidence In Ozanimod” that provided a detailed

  analysis comparing the recently disclosed information regarding the Metabolite to the data from

  the Company’s earlier pre-clinical studies involving Ozanimod’s other metabolites. This analysis

  demonstrated that Celgene would need to run additional pre-clinical toxicology studies, which

  could take six months to two years. Thus, when combined with the time needed to start the studies,

  produce the study results and refile the NDA, these additional studies would result in a total delay

  of one to three years. In response to the news of a further delay, Celgene’s common stock fell

  from $91.18 per share on Friday, April 27, 2018 to $87.10 per share on Monday, April 30, 2018,

  the next trading day.

         333.    During its first quarter 2018 conference call on May 4, 2018, Celgene confirmed

  that the RTF arose as a result of the Metabolite and that Celgene discovered the Metabolite through

  the Mass Balance Study in November 2016. Jay Backstrom, Celgene’s Chief Medical Officer,

  stated, in part: “[T]he key issues for the Refusal to Rile centered on the completeness of the clinical



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  pharmacology and the nonclinical portions of the NDA. These issues relate to the major active

  metabolite, CC-112273.” Specifically, Backstrom stated that the Company conducted “a radio-

  labeled human mass balance study” that “identified CC-112273 as a major metabolite, accounting

  for approximately 90% of the activity” and that CC-112273 “disproportionately formed in humans

  and was not identified as a major metabolite in the nonclinical [i.e., animal] pharmacology

  studies.” Backstrom further revealed that the half-life of the Metabolite is ten to thirteen days,

  compared to the previously reported Ozanimod half-life of nineteen hours, thus confirming that

  Ozanimod had lost one of its key competitive advantages over Gilenya.

         334.    Celgene admitted that, upon review of the Ozanimod NDA, the FDA “requested

  further characterization of CC-112273.” Alles claimed to be surprised by the FDA’s decision,

  stating that: “[T]he hindsight view is that the characterization of [the] metabolite was something

  that we simply underestimated in the context of FDA’s decision.” FE 2, however, rejected

  Defendants’ claims, stating that, based on his experience with more than five NDA submissions,

  it was “incomprehensible” that Celgene was surprised by the FDA’s interest in the Metabolite.

         335.    In explaining the Company’s plan for Ozanimod going forward, Backstrom stated

  that after the Company’s meeting with the FDA in early 2018, Celgene planned to utilize data from

  the existing and ongoing clinical pharmacology studies to provide the requisite safety assessment

  for the Metabolite. Backstrom also attempted to reassure investors: “This work is well underway

  and will be incorporated into a new submission now targeted for Q1 2019.”

         336.    Following Celgene’s first quarter 2018 conference call, analysts and other

  commentators condemned Celgene for its decision to file the NDA without adequate

  characterization of the Metabolite.    An In the Pipeline article entitled “Finger-Pointing at




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  Celgene,” questioned: “[W]hy wasn’t [the] issue [of the Metabolite] fully addressed for the FDA?”

  The article stated that Celgene should have discovered the Metabolite during Phase I testing:

         Analyzing blood levels of the parent compound and metabolites is one of the
         biggest points of Phase I, actually, so it’s not like this could have been overlooked.
         If you find out that what you thought was your drug is apparently just a prodrug for
         what’s really working in vivo, well, you have more work to do. But it appears that
         lack of data about the metabolite could have been one of the main reasons the
         FDA found the NDA unworkable, which just makes no sense.

                8.       Celgene Attempts to Blame Receptos for the RTF

         337.     In an effort to deflect criticism for the RTF debacle away from Celgene itself,

  Defendants blamed Receptos for the deficient NDA filing, but in doing so, admitted that they knew

  the NDA was faulty upon submission. Specifically, Defendant Ahmed stated in a June 13, 2018

  Financial Times article that “I think that 99 percent of folk[s] at Celgene wouldn’t have submitted

  [the NDA], but we had Receptos out on the West Coast and, for whatever reason, the decision was

  made to submit . . . . We learned a lesson of humility and that when you do an acquisition it’s

  better to be more integrated rather than be completely away from the mothership.” Ahmed’s

  comments, which confirmed that Celgene knew that its NDA filing was deficient prior to

  submission, thoroughly undermined Alles’ representation to investors that the FDA’s focus on the

  Metabolite was unanticipated and something that the Company “underestimated.” Ahmed also

  stated that FDA officials were “actually quite surprised” with the deficient quality of the Ozanimod

  NDA and that “[the FDA] kinda said ‘what happened guys, this isn’t what we usually expect from

  Celgene?’ And we had to say, you know, ‘mea culpa, it’s on us.’”

         338.    The former CEO of Receptos, Faheem Hasnain (“Hasnain”), quickly disputed

  Ahmed’s attempt to place all the blame on Receptos and leave Celgene unscathed. Hasnain

  emphasized to the market that “[i]t’s important to know that Celgene had on-site control and

  oversight for two-and-a-half years before this filing took place,” and made clear that at the time


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  of Celgene’s acquisition of Receptos in mid-2015, Receptos “had mapped out the rest of the

  development and regulatory plans, with the rest of the pharmacology studies that needed to be

  done in a timely fashion.” Hasnain’s comments were echoed by Frohna, the former Vice President

  of Clinical Development and Translational Medicine at Receptos, who was “responsible for

  conducting positive Phase 2 clinical trials and two ongoing Phase 3 trials with Ozanimod in

  relapsing multiple sclerosis (RMS) and ulcerative colitis.” In a user comment responding to the

  article in which Hasnain was quoted, Frohna stated: “Thanks for setting the record straight

  Faheem! You beat me to it . . . .”

         339.    FE 21 and his colleagues were not surprised by what they called the “bullshit blame

  game” that followed the RTF. FE 21 further stated that the idea that the final NDA submission

  could be made without the approval of Celgene’s leadership was nonsensical. Likewise, FE 22

  explained that the NDA would not have been submitted without the approval of Celgene

  headquarters, as it was too important a decision to be made at the Receptos executive level. FE 2

  also rejected Celgene’s attempt to cast blame on Receptos.

         340.    FE 20 further confirmed that Celgene’s statements attempting to shift blame to

  Receptos for the RTF were empirically false, stating that “they [Celgene] were in charge. Receptos

  was not.” FE 20 added that when Celgene acquired Receptos, Celgene moved in and took over,

  installed a new head of Receptos, had control over Receptos’ budget, took Receptos out of the

  decision-making loop, placed Receptos under the control of Celgene’s New Jersey headquarters,

  and decisions were made by Celgene in New Jersey or Celgene personnel located onsite at

  Receptos.

         341.    As of the date of this complaint, Celgene has yet to refile its Ozanimod NDA for

  MS. The Company still has not completed the required testing of the Metabolite. For example,



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  the “Drug-drug Interaction Study of Ozanimod with Inhibitor or Inducer of CYP2C8 and/or

  CYP3A,” a study evaluating the potential for drug interactions with Ozanimod and the Metabolite,

  which is specifically contemplated by the FDA’s Drug Interaction Guidance, is not expected to be

  completed until April 15, 2019. Accordingly, the necessary Phase I testing will not be completed

  until more than one year after the Company repeatedly and unwaveringly assured investors that

  Celgene would obtain approval of the Ozanimod NDA.

  V.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
         AND OMISSIONS

         342.    During the Class Period, Defendants made a series of materially false and

  misleading statements and omitted material facts regarding: (i) the evidence of GED-0301’s

  efficacy, including the strength of the Phase II clinical data and the design of the Phase Ib study,

  and the timeline for GED-0301’s regulatory approval; (ii) Otezla’s ability to gain market

  acceptance and meet the Company’s 2017 financial guidance; and (iii) the completeness of the

  Ozanimod NDA for MS, the sufficiency of the underlying testing data, and the undisclosed

  discovery of a key, active metabolite that required further testing.

         A.      GED-0301

         343.    On January 29, 2015, Celgene hosted a conference call to discuss the Company’s

  fourth quarter 2014 financial results. During this call, Defendant Smith touted the “[s]triking

  Phase II data for [sic] GED-301.”

         344.    On March 11, 2015, Celgene participated in the Barclays Healthcare Conference.

  During the presentation, Smith had the following exchange with a Barclays analyst:

         [ANALYST:] Okay. So, on the, I guess from a biz dev front, you guys have been
         very, very active over the past couple of years and have some really, really
         compelling partnerships, but one of the deals last year was the Nogra Pharma deal
         for GED-301. So the data so far has been highly positive. Maybe, Scott, you could
         just help us out with kind of how you view the risk product profile of the drug now.
         How much of say endoscopy data really does add teeth to the profile? Ultimately,

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         will it be sort of the basis for our regulatory endpoint or are we still back to the old
         sort of CDAI kind?

         [SMITH:] The [Phase II] data which first came out at UEGW [United European
         Gastroenterology Week], the abstract came out a few months ago, but just a tip of
         the iceberg in terms of data and we’ve been accepted for publication at a major
         medical journal and that should be happening in the next couple of weeks. So we’re
         very excited about that because there is a lot more data in that article obviously and
         publication has just been shown through the abstract at UEGW. So, there is a real
         depth of information in terms of other endpoints and durability of response
         relative to severity of disease. So we’re really excited to get that out and talk about
         it and have that in the public domain. So, I think that’s great.

         345.    During this presentation, Smith also stated: “[F]rom the data that we saw, the Phase

  II data, where we have remission rates of the high dose, up in the 65%, 70% range of patients,”

  adding that “if you can get good durability in those responses, it could completely transform the

  whole face of the marketplace in GI disease.”

         346.    On March 18, 2015, Celgene issued a press release announcing the publication of

  the Phase II study results in the NEJM, stating: “The newly published findings from this phase II

  study showed that a significantly greater proportion of patients with active Crohn’s disease

  achieved the primary endpoint of clinical remission at both day 15 and day 28 with once daily

  GED-0301.” Based on these results, Defendant Smith stated that GED-0301 “has the potential to

  transform the Crohn’s treatment landscape. We are encouraged by the phase II data . . . .”

         347.    In connection with the Company’s presentation at the 2015 DDW conference on

  May 17, 2015, in which both Defendants Smith and Martin participated, Celgene issued and

  published a series of slides on its corporate website. One of these slides summarized the Phase II

  data and represented that the data showed “significant improvement in clinical remission” in study

  patients who were given GED-0301, “[t]herapeutic effect was durable in most patients,” and the

  data “demonstrated clear clinical benefit in patients with active Crohn’s disease”:




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         348.    Later in the presentation, Celgene presented the following slide touting GED-

  0301’s “Potentially Transformational Profile,” which represented that the efficacy of GED-0301

  was already established by the Phase II data. Specifically, the slide represented that the “Rapid

  Onset of Efficacy” and “Superior Induction of Remission” are part of GED-0301’s “current

  profile” based on existing data:




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         349.    Analysts were reassured by the Company’s statements. For example, in a May 18,

  2015 report, SunTrust Robinson Humphrey accepted Defendants’ defense of the Phase II data

  called into question in the NEJM editorial, stating: “Ad-hoc analyses of the Phase II study of

  GED-0301 in Crohn’s disease suggest efficacy irrespective of baseline disease severity and CRP

  levels.” The report also noted that the “key investor questions post Phase II data presentations

  revolved around the lack of endoscopic validation of CDAI improvement,” but that the Phase Ib

  study Celgene “is slated to correlate endoscopy assessments . . . with CDAI improvement.”

         350.    The statements in ¶¶ 343-348 above, including Defendants’ statements touting the

  strength of the Phase II data and the evidence of GED-0301’s efficacy, and defending the design

  of the Phase II study, were materially false and misleading, omitted material facts, and lacked a

  reasonable basis when made.       Specifically, as set forth in ¶¶ 104-204 above, Defendants’

  statements had the effect of concealing, and/or failing to disclose the following facts:

         (i)    Celgene acquired GED-0301 on the basis of efficacy data, including the
         Phase II data, that was recognized internally as highly questionable and
         indeterminate;
         (ii)    Celgene overlooked numerous red flags as part of its pre-acquisition due
         diligence, including concerns regarding both the reliability and the integrity of the
         Phase II data, as well as suspicions about the personal financial motive of the lead
         investigator who commercially developed GED-0301;
         (iii) the Advisory Board recognized the limitations of the Phase II data, this fact
         was communicated to Celgene, and Celgene acknowledged the limitations of the
         data; and
         (iv)   in or around mid-2015, there were ongoing meetings among the GED-0301
         development team, including with Usiskin, about the limitations of the GED-0301
         Phase II study data, including the lack of endoscopic evidence.

  By electing to speak publicly about the Phase II data, the purported evidence of GED-0301’s

  efficacy and the design of the Phase II study—and thereby putting these subjects into play—

  Defendants had a duty to fully, completely, and truthfully disclose all material facts regarding


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  these subjects so as to not mislead investors. As a result of the foregoing undisclosed material

  facts, Defendants’ public statements lacked a reasonable basis when made and were materially

  false and misleading at all relevant times.

         351.    On September 16, 2015, Celgene participated in the Morgan Stanley Healthcare

  Conference. During this conference, an analyst from Morgan Stanley asked Defendants whether

  the purchase of Receptos’ Ozanimod, which is a potential treatment for CD, was an indication that

  the Company had lost confidence in GED-0301: “[W]hat does [the] Receptos [acquisition] signal

  about your confidence in GED given that they potentially could have overlapping indications?” In

  response, Alles stated:

         Let me answer it categorically, GED-0301 in Crohn’s Disease is an asset that our
         belief from day one has only strengthened. We think the profile is miraculous and
         may actually be disease-altering which is why we’re doing the [Phase Ib]
         endoscopy trial.

         352.    On January 11, 2016, Celgene participated in the J.P. Morgan Healthcare

  Conference.    During this conference, Defendant Hugin reiterated that the Phase II data

  demonstrated GED-0301’s efficacy:

         Over this past year, our progress in achieving building an[] inflammatory bowel
         disease franchise is significant. We had the progress made in our GED franchise
         with GED-0301. We are now enrolling Phase 3 patients in our programs. It's an
         important part of it.

         Millions of patients suffer from these diseases where there is not adequate therapies,
         and as you remember, we were here and told you [about] the incredible Phase 2
         data. It is our mission to ensure that we replicate that in Phase 3 and we are on
         target to do that in the timelines that we have announced.

         353.    One month later, on February 11, 2016, Celgene participated in the Leerink Partners

  Global Healthcare Conference. In response to a question regarding the impact of the loss of

  Revlimid’s patent exclusivity, Alles stated:

         By itself, if I think about Crohn’s disease, ulcerative colitis -- the biologics today --
         somewhere in the range of $15 to $20 billion a year are being generated out of use

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         in GI diseases. We think we can replace the biologics with GED-0301 and
         ozanimod.

         If we were able to do that with oral therapy, with long duration of treatment, and
         keeping patients in remission so they don't have to go to surgery; they don’t have
         to cycle through multiple lines of therapy over and over and over again; that alone
         is enough to replace Revlimid in a window of time that is proximal to the loss of
         exclusivity. So if I could only just start there, I have line of sight -- and these are
         products in Phase 3 going through with Phase 2 profiles, giving them enormously
         high probability of success.

         354.   On March 16, 2016, Celgene participated in the Barclays Global Healthcare

  Conference. During this conference, Defendant Kellogg responded to an analyst’s question

  regarding GED-0301’s prospects in CD and UC, stating:

         Then you come to kind of the next generation of assets. And the ones which you
         asked about are really kind of the next generation. And those have the trials right
         now in Phase III targeted at very high unmet need in GI, both GED-0301 and
         Ozanimod in ulcerative colitis, are oral agents. These are patients that typically
         progress to surgery, so the [health technology] assessment is actually quite
         straightforward. I mean, clearly, if you can delay or prevent future surgeries on the
         GI track that is a huge benefit.

         The data sets that we’ve seen so far are spectacular.

         355.   On June 9, 2016, Celgene presented at the Jeffries Healthcare Conference. Alles

  again touted the evidence of GED-0301’s efficacy, specifically calling out its “unique mechanism

  of action:”

         So, GED-0301 is a very important product, it’s a small molecule oligonucleotide
         that has a unique mechanism of action that we think works quite well in the
         treatment of Crohn’s disease. . . . So it’s very unique in that patient compliance
         should be very high, and we think the therapeutic profile so far looks like it could
         replace a lot of existing therapy.

         356.   The statements in ¶¶ 351-355 above, including Defendants’ statement touting the

  evidence of GED-0301’s efficacy and mechanism of action, were materially false and misleading,

  omitted material facts, and lacked a reasonable basis when made. Specifically, as set forth in




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  ¶¶ 104-204 above, Defendants’ statements had the effect of concealing, and/or failing to disclose

  the following facts:

         (i)    Celgene acquired GED-0301 on the basis of efficacy data, including the
         Phase II data, that was recognized internally as highly questionable and
         indeterminate;
         (ii)    Celgene overlooked numerous red flags as part of its pre-acquisition due
         diligence, including concerns regarding both the reliability and the integrity of the
         Phase II data, as well as suspicions about the personal financial motive of the lead
         investigator who commercially developed GED-0301;
         (iii) the Advisory Board recognized the limitations of the Phase II data, this fact
         was communicated to Celgene, and Celgene acknowledged the limitations of the
         data;
         (iv)   in or around mid-2015, there were ongoing meetings among the GED-0301
         development team, including with Usiskin, about the limitations of the GED-0301
         Phase II study data, including the lack of endoscopic evidence; and
         (v)     by March 2016, Celgene recognized internally that GED-0301’s
         mechanism of action was not as described by its drug developer (Nogra) at the time
         Celgene acquired it, and that its delivery mechanism was obscure and “too fantastic
         to be true.”

  By electing to speak publicly about the Phase II data and the purported evidence of GED-0301’s

  efficacy—and thereby putting these subjects into play—Defendants had a duty to fully,

  completely, and truthfully disclose all material facts regarding this subject so as to not mislead

  investors. As a result of the foregoing undisclosed material facts, Defendants’ public statements

  lacked a reasonable basis when made and were materially false and misleading at all relevant times.

         357.    On September 12, 2016, filed a Form 8-K, signed by Kellogg, with the SEC. In the

  press release attached to the Form 8-K, Celgene announced interim data from its GED-0301 Phase

  Ib study in CD. In the press release, Defendants Celgene and Kellogg stated that the interim data

  showed that “in a proportion of patients treated with oral GED-0301 there was endoscopic

  improvement (defined as a 25 percent improvement from baseline) and clinical response and

  remission across all treatment groups at week 12.”

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          358.    The press release quoted Smith as stating:

          Given the high unmet need in Crohn’s disease, we are pleased that oral GED-0301
          showed both endoscopic improvements and clinically meaningful responses and
          remission at an early timepoint in this study.

          359.    On September 12, 2016, Celgene also participated in the Morgan Stanley Global

  Healthcare Conference. During the conference, Smith doubled-down on his praise of the Phase Ib

  study results, stating in part:

          [W]e were very, very encouraged by what we saw in the particular study. We saw
          endoscopic improvements, clinical responses and clinical remissions across all 3
          groups. . . . And we were very, very pleased with what we came up for results. And
          look forward to getting [that] out as quickly as we can on the full data.

          ***

          And that’s what we’ve found in the study [as confirmed by endoscopy]. The
          patients were starting to heal.

          360.    Defendant Smith also touted the robustness of the Phase Ib study design, stating:

          It was very data heavy, there was a ton of endpoints that we were looking at, both
          endoscopic endpoints and clinical endpoints. It was a patient population, which was
          different than we saw in the Phase II study in the past. There was [tumor necrosis
          factor or] TNF failures in there, there were prior surgeries in there, it was a study
          that was mainly done in the U.S. and we also include patients with much more sort
          of distal disease not just localized on the right side. So [it] was a very different
          patient population, a baseline [Crohn’s Disease Activity Index or] CDAI was much
          higher than it was in Phase II. And so we really wanted to try the molecule out in
          a sort of a challenged environment.

          361.    In addition, Smith represented that the lack of a control arm in the Phase Ib study

  did not undermine the strength of the data because a placebo group would not see a meaningful

  remission rate due to the severity of CD:

          There is no placebo in this particular study, but I will say I would expect the placebo
          rate in this particular population, this study from an endoscopic perspective to be
          very, very low. This confirms significant extensive disease at baseline, you
          wouldn’t expect the placebo patients to be getting better, you’d probably expect the
          majority of them getting worse over that 12-week period, it would be unlikely that
          you would get many responses. So you would expect a low placebo rate given what
          we’ve done here, so what you’d want is to be able to feel good that you could

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         separate from placebo and show statistically significant effects in our large powered
         study than you would achieve that end point.

         And having looked at all, and our interpretation of data is we feel very comfortable
         around the size, the structure and the timing of the Phase III program given that
         we’ve just -- given the data that we’ve just seen.

         362.    Finally, Smith described the Phase Ib study as “validating” of both the Phase II

  clinical data on which Celgene relied when it acquired the rights to GED-0301 and Celgene’s

  decision to continue with the Phase III trial:

         What we did is I think we saw outstanding responses, clinical responses and we
         saw outstanding clinical remissions for this population. For any population I
         thought it looked very solid. To me this study was validating and it was validating
         not only of the Phase II program and this again is a very difficult to treat
         population, so seeing good responses in this population is really something
         extraordinary. And so that’s wonderful. And then it’s also validating of the
         structure of the Phase III program that we put together. And so again, I don’t
         anticipate taking a look at this that we would make major changes to the structure
         or timing of the Phase III program that is actively enrolling.

         363.    The statements in ¶¶ 357-362 above, including Defendants’ statements touting the

  strength of the Phase II data, the evidence of GED-0301’s efficacy and the results of the Phase Ib

  study, and their statements defending the design of the Phase Ib study, were materially false and

  misleading, omitted material facts, and lacked a reasonable basis when made. Specifically, as set

  forth in ¶¶ 104-204 above, Defendants’ statements had the effect of concealing, and/or failing to

  disclose the following facts:

         (i)    Celgene acquired GED-0301 on the basis of efficacy data, including the
         Phase II data, that was recognized internally as highly questionable and
         indeterminate;
         (ii)    Celgene overlooked numerous red flags as part of its pre-acquisition due
         diligence, including concerns regarding both the reliability and the integrity of the
         Phase II data, as well as suspicions about the personal financial motive of the lead
         investigator who commercially developed GED-0301;
         (iii) the Advisory Board recognized the limitations of the Phase II data, this fact
         was communicated to Celgene, and Celgene acknowledged the limitations of the
         data;

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         (iv)   in or around mid-2015, there were ongoing meetings among the GED-0301
         development team, including with Usiskin, about the limitations of the GED-0301
         Phase II study data, including the lack of endoscopic evidence;
         (v)     by March 2016, Celgene recognized internally that GED-0301’s
         mechanism of action was not as described by its drug developer (Nogra) at the time
         Celgene acquired it, and that its delivery mechanism was obscure and “too fantastic
         to be true”;
         (vi) the Phase Ib study was designed in such a way as to limit the chances that
         GED-0301 would be shown to be ineffective;
         (vii) it was recognized internally at the Company that, due to the lack of a
         placebo arm in the Phase Ib study, Defendants’ claims regarding GED-0301’s
         efficacy were not supported by the Phase Ib study results;
         (viii) non-public interim trial data received and analyzed by Celgene and its
         representatives demonstrated GED-0301’s lack of efficacy, as evidenced by one of
         the principal investigators for the Phase Ib trial reporting to Celgene that there was
         no endoscopic response observed at his testing site;
         (ix)   Celgene’s decision to license GED-0301 and proceed with the Phase III trial
         was a “business decision” rather than a decision based on the scientific evidence;
         and
         (x)     there was growing concern from at least September 2016 that GED-0301
         would not make it past the Phase III clinical trials, as evidenced by the fact that
         between the time the Phase Ib data was released in September 2016 and the time
         the Phase III trial was discontinued in October 2017, GED-0301 was not discussed
         during the internal quarterly review meetings with Celgene’s Vice Presidents, in
         which the Company’s pipeline of drugs were typically discussed; Celgene was
         treating the drug as if it had already been written off.

  By electing to speak publicly about the Phase II data, the purported evidence of GED-0301’s

  efficacy and the design of the Phase Ib study—and thereby putting these subjects into play—

  Defendants had a duty to fully, completely, and truthfully disclose all material facts regarding

  these subjects so as to not mislead investors. As a result of the foregoing undisclosed material

  facts, Defendants’ public statements lacked a reasonable basis when made and were materially

  false and misleading at all relevant times.




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         364.    On October 16, 2016, Celgene issued a press release announcing the interim results

  from the Company’s Phase Ib study for GED-0301 in CD, the headline of which stated: “Oral

  GED-0301 Phase 1b Results Show Clinical Remission and Endoscopic Response at Week 12 in

  Patients with Active Crohn’s Disease.” The press release stated: “Of the patients with evaluable

  endoscopies at week 12 [ ] 37 percent had an endoscopic response,” which Celgene defined as

  equal to or greater than a 25 percent reduction in SES-CD score. The press release quoted Smith

  as stating: “We are encouraged that oral GED-0301 showed both meaningful endoscopic

  improvement and clinical remission at an early time point in this study.”

         365.    On October 18, 2016, Celgene hosted a conference call to discuss the data from the

  Phase Ib GED-0301 clinical study. During this call, Smith stated: “We are very encouraged by

  the validating results we have seen to date.” Smith continued:

         The CD-001 [Phase Ib] trial is still ongoing, but based on the interim results, we
         don’t anticipate needing to make any major structural changes to the phase 3
         program. Keeping our assumptions for powering and time lines the same, planning
         remains on track for GED submission to the FDA in 2018 and expected approval
         in 2019.

         366.    Defendant Callegari stated, “The efficacy seen in this exploratory trial, in terms of

  clinical response, remission, and endoscopic improvement seen validates previous GED trials and

  reinforces the potential of GED for patients with active Crohn’s disease.”

         367.    As part of Defendants’ presentation to investors, Celgene issued and published a

  series of slides on its corporate website. One of these slides, entitled “CD-001 Interim Results

  Provide Compelling Early Signal of GED-0301 Efficacy,” touted GED-0301’s purported evidence

  of efficacy and claimed that the interim results of CD-001 provided a “Compelling Early Signal

  of GED-0301 Efficacy” and showed “Signs of endoscopic improvement”:




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         368.    Defendants also represented in a second slide that the data Celgene had

  accumulated to date, including the Phase II and IB studies, provided “evidence” of GED-0301’s

  efficacy in each of the additional following areas, which Defendants claimed supported the drug’s

  “Potentially Transformational Profile”:




         369.    An analyst from Cowen and Company asked how the lack of a placebo control

  group impacted the validity of the Phase Ib data, asking: “[W]hat’s the best defense here that there


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  is a true drug effect as opposed to just a reversion to the mean in a patient population that’s very

  severe at the baseline?” In response, Smith stated:

         Again, this was a relatively small, exploratory phase 1b study. If you take a look
         at a number of different things, it was a little bit patient poor, but data rich, as we
         look at things, which was the reason for not having a placebo arm.

         When I take a look at this particular study, you see in a relatively heterogeneous,
         more severe, more difficult to treat population, you see a very positive signs [sic]
         in terms of clinical response and clinical remission, a very validating of what we
         have seen in the [Phase II] program. And then when you take a look at the other
         markers at week 12, which is an early time point for endoscopic healing and
         endoscopic response, you see signs of endoscopic improvement in all three
         treatment groups and you see biomarkers generally going in the right direction.

         So that cumulative evidence really tells you that not only are you having a pretty
         significant effect from a response and remission standpoint, but you are also seeing
         everything go in the direction that you would like to see it go. And then also from
         an endoscopic perspective, you are seeing sort of the largest responses in the
         patients with most extensive disease, which I think is a very positive sign of drug
         activity as well.

         370.    Analysts relied on Defendants’ assurances that the Phase Ib data supported their

  claims regarding GED-0301’s efficacy and their apparent confidence in the timeline for GED-

  0301’s regulatory approval, and that the lack of a placebo control group in the Phase Ib study was

  not a concern. For example, RBC Capital Markets stated in an October 18, 2016 report that the

  Phase Ib data “continue to point to a promising new oral therapy for Crohn’s disease which is a

  $5B market opportunity with high unmet need.” The report stressed that “positive efficacy so far

  for GED-0301 suggests even a modest/medium efficacy drug can be a potential $1B+ drug in our

  view.” Leerink Partners reported on this date that “[m]anagement indicated this week that with

  the trials just getting underway now . . . the company expects to submit their registration to the

  FDA in 2018, with approval in 2019.”




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         371.    On October 27, 2016, as part of Celgene’s third quarter 2016 earnings presentation,

  the Company issued and published a series of slides on its corporate website. One of these slides

  touted the evidence of GED-0301’s efficacy:




         372.    On April 27, 2017, Celgene hosted a conference call to discuss the Company’s first

  quarter 2017 financial results. During this call, Smith stated:

         There is a sort of an encore presentation of some of the GED, CD-001 data
         upcoming, which takes a look at the relationship between clinical remission and
         endoscopic improvements. And so I can’t give specifics to that data, but that will
         be presented at DDW coming up. So we’re excited about that. We’re very, very --
         we’ve got data for GED, obviously, and for ozanimod. We’re very excited about
         both assets. The GED registration program has really accelerated over the last
         little while. We remain on track with time lines there, and we think there’s
         tremendous potential.

         373.    The statements in ¶¶ 364-372 above, including Defendants’ statements touting the

  evidence of GED-0301’s efficacy and representing that GED-0301 was “on track” for regulatory

  approval, were materially false and misleading, omitted material facts, and lacked a reasonable

  basis when made. Specifically, as set forth in ¶¶ 104-204 above, Defendants’ statements had the

  effect of concealing, and/or failing to disclose the following facts:




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        (i)    Celgene acquired GED-0301 on the basis of efficacy data, including the
        Phase II data, that was recognized internally as highly questionable and
        indeterminate;
        (ii)    Celgene overlooked numerous red flags as part of its pre-acquisition due
        diligence, including concerns regarding both the reliability and the integrity of the
        Phase II data, as well as suspicions about the personal financial motive of the lead
        investigator who commercially developed GED-0301;
        (iii) the Advisory Board recognized the limitations of the Phase II data, this fact
        was communicated to Celgene, and Celgene acknowledged the limitations of the
        data;
        (iv)   in or around mid-2015, there were ongoing meetings among the GED-0301
        development team, including with Usiskin, about the limitations of the GED-0301
        Phase II study data, including the lack of endoscopic evidence;
        (v)     by March 2016, Celgene recognized internally that GED-0301’s
        mechanism of action was not as described by its drug developer (Nogra) at the time
        Celgene acquired it, and that its delivery mechanism was obscure and “too fantastic
        to be true”;
        (vi) the Phase Ib study was designed in such a way as to limit the chances that
        GED-0301 would be shown to be ineffective;
        (vii) it was recognized internally at the Company that, due to the lack of a
        placebo arm in the Phase Ib study, Defendants’ claims regarding GED-0301’s
        efficacy were not supported by the Phase Ib study results;
        (viii) non-public interim trial data received and analyzed by Celgene and its
        representatives demonstrated GED-0301’s lack of efficacy, as evidenced by one of
        the principal investigators for the Phase Ib trial reporting to Celgene that there was
        no endoscopic response observed at his testing site;
        (ix)   Celgene’s decision to license GED-0301 and proceed with the Phase III trial
        was a “business decision” rather than a decision based on the scientific evidence;
         (x)    there was growing concern from at least September 2016 that GED-0301
        would not make it past the Phase III clinical trials, as evidenced by the fact that
        between the time the Phase Ib data was released in September 2016 and the time
        the Phase III trial was discontinued in October 2017, GED-0301 was not discussed
        during the internal quarterly review meetings with Celgene’s Vice Presidents, in
        which the Company’s pipeline of drugs were typically discussed; Celgene was
        treating the drug as if it had already been written off; and
        (xi)  Celgene had recognized internally GED-0301’s ineffectiveness and
        Defendants were frantically attempting to make Ozanimod’s efficacy as a treatment


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          for CD appear better than GED-0301, going so far as to manipulate the Ozanimod
          Phase II CD testing protocol to achieve this result.

  By electing to speak publicly about the purported evidence of GED-0301’s efficacy and its

  progress toward regulatory approval—and thereby putting these subjects into play—Defendants

  had a duty to fully, completely, and truthfully disclose all material facts regarding these subjects

  so as to not mislead investors. As a result of the foregoing undisclosed material facts, Defendants’

  public statements lacked a reasonable basis when made and were materially false and misleading

  at all relevant times.

          374.    On July 27, 2017, Celgene hosted a conference call to discuss the Company’s

  second quarter 2017 financial results. During this call, Curran stated that “progress continues

  with GED-0301 and other important pipeline programs” and that “[w]e remain focused on

  progressing our next-generation growth drivers, Ozanimod and GED-0301, and look forward

  with anticipation to multiple data readouts in the next 12 to 24 months.”

          375.    Analysts took note of Defendants’ emphasis on GED-0301 as a “next generation

  growth driver.” For example, Morgan Stanley reported on July 28, 2017 that “we see 2018 UC

  and Crohn’s for ozanimod and GED0301 as the key drivers for CELG.”

          376.    On September 6, 2017, Celgene participated in the Robert W. Baird Global

  Healthcare Conference.     In connection with this healthcare conference, Celgene issued and

  published a series of slides on its corporate website. In one of these slides, presented by Kellogg,

  Defendants stated that GED-0301’s regulatory approval was on track and targeted to occur in

  2019:




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         377.    A week later on September 13, 2017, Celgene participated in the Morgan Stanley

  Healthcare Conference. During this conference, Alles stated: “We still project GED-0301 data,

  in particular, in Crohn’s disease in ‘18, with ‘19 being the regulatory year plus launch.”

         378.    The next day, on September 14, 2017, Celgene participated in the Bank of America

  Merrill Lynch Healthcare Conference. During this conference, Kellogg again presented the slide

  presented on September 6, 2017 in which Defendants reiterated that Celgene planned for

  regulatory approval of GED-0301 to occur in 2019.

         379.    On September 26, 2017, Celgene presented at the Cantor Fitzgerald 3rd Annual

  Healthcare Conference. During this conference, Ahmed and Patrick Flanigan (“Flanigan”),

  Corporate Vice President of Investor Relations, presented the identical slide presented by Kellogg

  on September 6 and 14, 2017, in which Defendants again stated that Celgene planned for

  regulatory approval for GED-0301 to occur in 2019.

         380.    The statements in ¶¶ 374-379 above, including Defendants’ statements representing

  that GED-0301 was “on track” for regulatory approval as a treatment for CD, were materially

  false and misleading, omitted material facts, and lacked a reasonable basis when made.


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  Specifically, as set forth in ¶¶ 104-204 above, Defendants’ statements had the effect of concealing,

  and/or failing to disclose the following facts:

         (i)    Celgene acquired GED-0301 on the basis of efficacy data, including the
         Phase II data, that was recognized internally as highly questionable and
         indeterminate;
         (ii)    Celgene overlooked numerous red flags as part of its pre-acquisition due
         diligence, including concerns regarding both the reliability and the integrity of the
         Phase II data, as well as suspicions about the personal financial motive of the lead
         investigator who commercially developed GED-0301;
         (iii) the Advisory Board recognized the limitations of the Phase II data, this fact
         was communicated to Celgene, and Celgene acknowledged the limitations of the
         data;
         (iv)   in or around mid-2015, there were ongoing meetings among the GED-0301
         development team, including with Usiskin, about the limitations of the GED-0301
         Phase II study data, including the lack of endoscopic evidence;
         (v)     by March 2016, Celgene recognized internally that GED-0301’s
         mechanism of action was not as described by its drug developer (Nogra) at the time
         Celgene acquired it, and that its delivery mechanism was obscure and “too fantastic
         to be true”;
         (vi) the Phase Ib study was designed in such a way as to limit the chances that
         GED-0301 would be shown to be ineffective;
         (vii) it was recognized internally at the Company that, due to the lack of a
         placebo arm in the Phase Ib study, Defendants’ claims regarding GED-0301’s
         efficacy were not supported by the Phase Ib study results;
         (viii) non-public interim trial data received and analyzed by Celgene and its
         representatives demonstrated GED-0301’s lack of efficacy, as evidenced by one of
         the principal investigators for the Phase Ib trial reporting to Celgene that there was
         no endoscopic response observed at his testing site;
         (ix)   Celgene’s decision to license GED-0301 and proceed with the Phase III trial
         was a “business decision” rather than a decision based on the scientific evidence;
         (x)      there was growing concern from at least September 2016 that GED-0301
         would not make it past the Phase III clinical trials, as evidenced by the fact that
         between the time the Phase Ib data was released in September 2016 and the time
         the Phase III trial was discontinued in October 2017, GED-0301 was not discussed
         during the internal quarterly review meetings with Celgene’s Vice Presidents, in
         which the Company’s pipeline of drugs were typically discussed; Celgene was
         treating the drug as if it had already been written off;

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         (xi)   Celgene had recognized internally GED-0301’s ineffectiveness and
         Defendants were frantically attempting to make Ozanimod’s efficacy as a treatment
         for CD appear better than GED-0301, going so far as to manipulate the Ozanimod
         Phase II CD testing protocol to achieve this result; and
         (xii) by no later than July 2017, Defendants knew that the Phase III trial in CD
         was going to be unsuccessful and that GED-0301 would be abandoned.

  By electing to speak publicly about GED-0301’s progress toward regulatory approval—and

  thereby putting this subject into play—Defendants had a duty to fully, completely, and truthfully

  disclose all material facts regarding this subject so as to not mislead investors. As a result of the

  foregoing undisclosed material facts, Defendants’ public statements lacked a reasonable basis

  when made and were materially false and misleading at all relevant times.

         B.      Otezla

         381.    On January 12, 2015, Celgene filed a Form 8-K, signed by Kellogg, with the SEC.

  In the press release attached to the Form 8-K, which announced certain of the Company’s financial

  results for 2014 and its five-year strategic growth plan, Celgene stated that the 2017 net product

  sales for Otezla were expected to be between $1.5 billion to $2 billion.

         382.    On January 12, 2015, Celgene participated in the J.P. Morgan Healthcare

  Conference. During this conference, Hugin stated:

         I’m going to talk specifically about some of the progress achieved in the fourth
         quarter with Otezla in our I&I franchise, [which] gives us great confidence that we
         are on track to really again meet or exceed the 2017 guidance. And new data is
         coming out across our pipeline that will strengthen our performance in this
         timeframe.

         383.    Analysts following the Company took note of Defendants’ reaffirmation of the

  2017 guidance. For example, SunTrust Robinson Humphrey stated in a January 12, 2015 report:

  “We believe that management’s commentary that CELG is slated to ‘meet or exceed 2017

  guidance’. . . should spur investor excitement.”



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         384.    On January 29, 2015, Celgene filed a Form 8-K, signed by Kellogg, with the SEC.

  In the press release attached to this Form 8-K, which announced certain of the Company’s financial

  and operating results for the quarter and full-year ended December 31, 2014, Celgene again stated

  that the 2017 sales for Otezla were expected to be between $1.5 billion and $2 billion.

         385.    Following Celgene’s January 29, 2015 press release, several analysts noted that the

  Company again reaffirmed the 2017 Otezla guidance. For example, J.P. Morgan Securities stated

  in a January 29, 2015 report that “2017 guidance reiterated. . . . Otezla sales of $1.5-2B.”

         386.    On March 4, 2015, Celgene participated in the Cowen 35th Annual Healthcare

  Conference. In connection with this conference, Celgene issued and published a series of slides

  on its corporate website. One of these slides, which was presented by Kellogg, reiterated that

  Otezla was “on track” to meet or exceed its 2017 financial targets—i.e., $1.5 billion and $2 billion

  in net product sales.




         387.    On May 12, 2015, Celgene participated in the Bank of America Merrill Lynch 2015

  Healthcare Conference. In connection with this conference, Celgene issued and published a series


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  of slides on its corporate website. One of these slides again reiterated that Otezla was “on track”

  to meet or exceed its 2017 financial targets—i.e., $1.5 billion and $2 billion in net product sales.




         388.    On June 10, 2015, Celgene participated in the William Blair Growth Stock

  Conference. In connection with this conference, Celgene issued and published a series of slides

  on its corporate website. One of these slides, which was presented by Perry Karsen, CEO of

  Celgene Cellular Therapeutics, again reiterated that Otezla was “on track” to meet or exceed its

  2017 financial targets—i.e., $1.5 billion and $2 billion in net product sales.




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          389.    On September 17, 2015, Celgene participated in the Bank of America Merrill

  Lynch Global Healthcare Conference. In connection with this conference, Celgene issued and

  published a series of slides on its corporate website. One of these slides, which was presented by

  Kellogg, again reiterated that Otezla was “on track” to meet or exceed its 2017 financial targets—

  i.e., $1.5 billion and $2 billion in net product sales.




          390.    On November 10, 2015, Celgene participated in the Credit Suisse Healthcare

  Conference. In connection with this conference, Celgene issued and published a series of slides

  on its corporate website. One of these slides, which was presented by Kellogg, again reiterated

  that Otezla was “on track” to meet or exceed its 2017 financial targets—i.e., $1.5 billion and $2

  billion in net product sales.




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         391.    On February 11, 2016, Celgene participated in the Leerink Partners Global

  Healthcare Conference. During this conference, an analyst from Leerink Partners asked, “where

  do you stand in your conviction about the previously-issued 2017 guidance?” Alles responded:

  “On a constant currency basis we are on track.”

         392.    On April 28, 2016, Celgene hosted a conference call to discuss the Company’s first

  quarter 2016 financial results. During this call, Kellogg stated, in part:

         Now let’s focus on the 2 target years specifically. Turning to 2017. . . . Both
         POMALYST and OTEZLA are on track and expected to achieve our previous
         target.

         393.    During this call, an analyst from RBC Capital Markets asked: “Can you walk us

  through what the thinking is around those other products and if those guidance you’re thinking has

  changed in 2017?” In response, Smith stated: “On the OTEZLA side, we’re reaffirming the 2017

  target for OTEZLA . . . at $1.5 billion to $2 billion.”

         394.    Analysts reporting on the Company’s first quarter 2016 conference call noted that

  Celgene again reaffirmed the 2017 Otezla sales guidance. For example, in an April 28, 2016


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  report, Jeffries Group LLC commented that Celgene’s “[r]eaffirmation of Otezla guidance despite

  the recent Rx slowdown seems to reflect the company’s confidence in . . . adoption being more

  impacted by seasonal prior authorization dynamics rather than competition impacting demand,”

  and RBC Capital Markets and SunTrust Robinson Humphrey similarly observed in reports issued

  the same day that Celgene had reiterated and reaffirmed the 2017 Otezla guidance.

         395.    On May 11, 2016, Celgene participated in the Bank of America Merrill Lynch

  Healthcare Conference. During this conference, an analyst from Bank of America Merrill Lynch

  asked Celgene to discuss the 2017 financial guidance for Otezla. In response, Alles stated, in part:

         Otezla has a terrific launch . . . . That gives us the confidence that, as we think about
         2017 – and our earnings call a couple of weeks ago highlighted that – we are very
         confident that the momentum in psoriasis and then increasingly in psoriatic arthritis
         puts us in that range that we’ve talked about. So we are extremely confident that
         the US performance being the dominant part of that, that we have visibility, we
         understand the access environment very well, so some of those barriers that gave
         us all a little bit of caution for the uptake of Otezla early have started to present
         themselves in ways where we can manage it, understand it, and in many cases,
         we have great advantaged positions now because of the profile of the drug. . . .

         396.    The statements set forth in ¶¶ 381-395 above, including Defendants’ statements

  reaffirming the 2017 Otezla sales guidance and the statements indicating that Celgene was “on

  track” to “meet or exceed” the 2017 Otezla guidance, were materially false and misleading, omitted

  material facts, and lacked a reasonable basis when made. Specifically, as set forth in ¶¶ 205-269

  above, at the time Defendants issued these statements, Defendants knowingly or recklessly

  concealed and/or failed to disclose that:

         (i)     Defendants’ Otezla pricing strategy ensured that Celgene would never
         attain the growth in sales and revenues necessary to meet the 2017 guidance;
         (ii)   Celgene sales representatives from across the country were reporting flat
         Otezla sales growth from the date of the drug’s March 2014 launch; and




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         (iii) Otezla was plagued by issues including step-edits, poor insurance coverage,
         and inferior efficacy compared to competitors that impaired its sales and attendant
         revenues.

  By electing to speak publicly about Celgene’s 2017 Otezla sales guidance and the Company’s

  current progress in meeting this guidance—and thereby putting these subjects into play—

  Defendants had a duty to fully, completely, and truthfully disclose all material facts regarding the

  fact that Celgene was not positioned to meet the 2017 guidance and that this guidance could not

  be met given the numerous issues impacting Otezla revenues. As a result of the foregoing

  undisclosed material facts, Defendants’ public statements lacked a reasonable basis and were

  materially false and misleading at all relevant times.

         397.    On September 12, 2016, Celgene participated in the Morgan Stanley Global

  Healthcare Conference. During this conference, an analyst asked about the challenges related to

  achieving the 2020 financial guidance. In response, Smith stated, in part:

         Otezla is moving along very nicely at this point in time. Looks like $1 billion in
         sales this year. Again, launches all over the world next year. I feel really great
         about where we are going and the numbers both in 2017 and 2020 that we put
         out there. . . .

         ***

         But we feel great about all the guidance it is been giving, the trajectory, and I am
         just excited to get it launched geographically, and there is lots of different places
         we can take the molecule. So we are very, very excited about where we are with
         OTEZLA right now.

         398.    On October 27, 2016, Celgene hosted a conference call to discuss the Company’s

  2016 third quarter financial results. During this call, an analyst from RBC Capital Markets asked

  Smith about Celgene’s confidence regarding the 2017 guidance. In response, Smith stated:

         I feel very confident in [the] direction of OTEZLA, not – for finishing this year and
         going into 2017. I think we have a lot of momentum. And for specifically the ‘17
         [guidance], I think we have a high degree of confidence. I’m very excited about
         the fact that we are just now starting to launch in some really major impactful

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         countries, France, England and Wales, Japan early next year. There’s a lot [of]
         geographic expansion, and we see the market shares in the U.S. continuing to grow.
         So we feel very good about the targets that are out there.

         399.    Following Celgene’s third quarter conference call, RBC Capital Markets stated in

  an October 27, 2016 report that “CELG expressed high degree of confidence on Otezla prospects

  for 2017.”

         400.    On January 9, 2017, Celgene filed a Form 8-K, signed by Kellogg, with the SEC.

  In the press release attached to the Form 8-K, Celgene announced preliminary 2016 unaudited

  results and 2017 financial guidance. Celgene stated that Otezla’s net product sales for 2017 would

  be approximately $1.5 billion to $1.7 billion with a 57% year-over-year change.

         401.    On January 26, 2017, Celgene filed a Form 8-K, signed by Kellogg, with the SEC,

  announcing results for the fourth quarter and full-year ended December 31, 2016. In the Form 8-

  K, Celgene stated that the 2017 total revenues for Otezla would be approximately $1.5 billion to

  $1.7 billion and that the Company expected a 57% “Year-over-Year Change” from 2016.

         402.    On January 26, 2017, Celgene hosted a conference call to discuss the Company’s

  fourth quarter and full-year 2016 financial results. In connection with this conference call, Celgene

  issued and published a series of slides on its corporate website. One of these slides, which was

  presented by Kellogg, reaffirmed the 2017 Otezla revenue guidance of $1.5 billion to $1.7 billion

  and a 57% year-over-year change from 2016.

         403.    Analysts and other news outlets reiterated Defendants’ forecasts of 57% year-over-

  year sales growth for Otezla. For example, SunTrust Robinson Humphrey noted in a January 26,

  2017 report that Celgene’s revised 2017 Otezla guidance of “~$1.5B-$1.7B . . . calls for +57%

  Y/Y growth” and Investor’s Business Daily similarly stated in an article the same day that “Otezla,




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  a psoriasis med, is its product expected to have the best growth, up 57% to $1.5 billion to $1.7

  billion.”

          404.    The statements set forth in ¶¶ 397-402 above, including Defendants’ statements

  reaffirming the 2017 Otezla sales guidance and the statements that Otezla revenues would grow

  by 57% year-over-year compared to 2016, were materially false and misleading, omitted material

  facts, and lacked a reasonable basis when made. Specifically, as set forth in ¶¶ 205-269 above, at

  the time Defendants issued these statements, Defendants knowingly or recklessly concealed and/or

  failed to disclose that:

          (i)     Defendants’ Otezla pricing strategy ensured that Celgene would never
          attain the growth in sales and revenues necessary to meet the 2017 guidance;
          (ii)   Celgene sales representatives from across the country were reporting flat
          Otezla sales growth from the date of the drug’s March 2014 launch;
          (iii) Otezla was plagued by issues including step-edits, poor insurance coverage,
          and inferior efficacy compared to competitors that impaired its sales and attendant
          revenues;
          (iv)   during the third and fourth quarters of 2016, Smith, Curran, and other
          members of the IIEC and CPMAC, were explicitly warned by both Celgene’s
          Senior Vice President of I&I and a senior executive in the U.S. Market Access
          group that Celgene could not meet the 2017 Otezla guidance and that these numbers
          should be lowered;
          (v)      FE 17 recounted that the Forecasting team was “told to change” the numbers
          (i.e., the internal forecasts) by Smith and Curran to conceal the lack of growth; and
          (vi)   FE 18, confirmed that when Defendants were assessing the 2017 Otezla
          market access and setting the 2017 targets, the market did not support even close to
          57% growth.

  By electing to speak publicly about Celgene’s 2017 Otezla sales guidance and the expected year-

  over-year growth in sales—and thereby putting these subjects into play—Defendants had a duty

  to fully, completely, and truthfully disclose all material facts regarding the fact that Celgene was

  not positioned to meet the 2017 guidance and that this guidance could not be met given the



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  numerous issues impacting Otezla revenues. As a result of the foregoing undisclosed material

  facts, Defendants’ public statements lacked a reasonable basis and were materially false and

  misleading at all relevant times.

         405.    On April 27, 2017, Celgene filed a Form 8-K, signed by Kellogg, with the SEC

  announcing certain first quarter 2017 operating and financial results. In the press release attached

  to this Form 8-K, Celgene stated that the previously issued 2017 sales guidance for Otezla

  remained “Unchanged.”       In this press release, Alles stated: “Our significant first quarter

  operational, financial and strategic progress strengthen our confidence and outlook for 2017.” The

  press release further represented with respect to Otezla:

         Despite a contraction in the overall market volume of prescriptions filled, OTEZLA
         share in psoriasis grew versus last quarter. In addition, net sales were impacted by
         increasing gross-to-net adjustments related to contracts implemented in January
         with several large payers that significantly broadened access for up to 100 million
         covered lives.

         406.    On April 27, 2017, Celgene hosted a conference call to discuss the Company’s

  financial results for the first quarter of 2017. During this call, when explaining the first quarter

  Otezla net product sales miss, Kellogg omitted any reference to the myriad issues impacting Otezla

  sales recounted by Celgene former employees and falsely suggested that the new large payer

  contracts would improve Otezla’s market share and, by extension, revenues, stating:

         As a reminder, the sequential performance from Q4 to Q1 is always impacted by
         several items . . . OTEZLA is impacted by managed care dynamics that drive lower
         total marketplace prescriptions for psoriasis therapies in Q1. In addition, a new
         dynamic for OTEZLA this quarter was a higher gross-to-net adjustment related to
         new contracts with several large payers that were implemented in January. These
         new contracts approximately doubled the number of patient lives who can now
         access OTEZLA without being required to step through a biologic therapy, which
         has already improved OTEZLA’s market share in these accounts.




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         407.      In connection with this conference call, Celgene issued and published a series of

  slides on its corporate website. One of these slides, which was presented by Kellogg, reiterated

  that the previously issued 2017 guidance for Otezla remained “Unchanged.”




         408.      Smith added with respect to Otezla: “The momentum we see in Q2 across a number

  of fronts gives us confidence that we will deliver on our full year 2017 guidance of $1.5 billion to

  $1.7 billion.”

         409.      In responding to a request from a UBS analyst that the Company “walk through

  what gives you confidence [that Otezla] growth will bounce back,” Curran stated:

         I think there was really 3 key drivers to the performance in the first quarter. Firstly,
         we saw contraction in the market as we saw increased [gross to net] as a result of
         the contracting. But importantly, that really gives us access to double the number
         of insured lives going forward. And lastly, we saw a minimal drawdown in
         inventory. Importantly, if we look at the underlying dynamics of the business,
         they’re exceptionally strong. If you look at the market share, OTEZLA continues
         to grow market share. We continue to gain more than 40% of new patients. And
         these new contracts will give us access to an additional pool of patients moving
         forward. Importantly, if we look at the exit run rates out of quarter 1 and into
         quarter 2, we do see the net sales rebounding and on track to deliver our 2017
         guidance.



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         410.    Analysts seized on Defendants’ reaffirmation of the 2017 Otezla guidance

  notwithstanding the first quarter miss. For example, BMO Capital Markets noted in an April 27,

  2017 report that: “Management reiterated FY2017 Otezla sales of $1.5-1.7bn.” UBS stated in an

  report issued the same day that “Celgene reiterated confidence in achieving 2017 guidance and the

  longer term outlook for Otezla, citing consistent market share growth (>40% of new patients),

  narrowing its position behind Stelara in the psoriasis market, and new contracts that increase

  market access and share” and an April 28, 2017 JMP Securities report observed: “We note that

  previous guidance of $1.5bil to $1.7bil in net Otezla sales for 2017 remains intact despite this soft

  quarter.”

         411.    On May 31, 2017, Celgene participated in the Sanford C. Bernstein Strategic

  Decision Conference. During this conference, Alles stated, in part:

         This is a bona fide blockbuster, and I can tell you coming out of Q1 into Q2, we’ve
         seen a nice volume recovery. We’ve seen the prescription volume in the market in
         the U.S. grow, and we’re launching right now in Japan and across Europe. So a lot
         of momentum for OTEZLA despite a little bit of weakness in the first quarter. We
         also affirmed our guidance for the year for OTEZLA, $1.5 billion to $1.7 billion,
         so year-on-year great performance and a lot of momentum for the brand.

         412.    On July 27, 2017, Celgene filed a Form 8-K, signed by Kellogg, with the SEC

  announcing certain operating and financial results for second quarter 2017. In the press release

  attached to this Form 8-K, Celgene stated that the 2017 net sales projections for Otezla remained

  “Unchanged” at between $1.5 billion and $1.7 billion.

         413.    On July 27, 2017, Celgene hosted a conference call to discuss the Company’s

  second quarter financial results. In connection with this conference call, Celgene issued and

  published a series of slides on its corporate website. One of these slides, which was presented by

  Kellogg, again stated that the 2017 financial guidance for Otezla remained “Unchanged.”




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         414.    Analysts once again reiterated Defendants’ reaffirmation of the 2017 Otezla

  guidance. For example, Morgan Stanley stated in a July 28, 2017 report that: “Mgt. reaffirmed

  prior 2017 net product sales guidance, with . . . Otezla of $1.5B-$1.7B.”

         415.    The statements set forth in ¶¶ 405-413 above, including Defendants’ statements

  reaffirming the 2017 Otezla sales guidance and attributing the slow-down in first quarter 2017

  Otezla sales to a “contraction in the overall market volume of prescriptions filled,” “increasing

  gross-to-net adjustments” and “managed care dynamics,” were materially false and misleading,

  omitted material facts, and lacked a reasonable basis when made. Specifically, as set forth in

  ¶¶ 205-269 above, at the time Defendants issued these statements, Defendants knowingly or

  recklessly concealed and/or failed to disclose that:

         (i)     Defendants’ Otezla pricing strategy ensured that Celgene would never
         attain the growth in sales and revenues necessary to meet the 2017 guidance;
         (ii)   Celgene sales representatives from across the country were reporting flat
         Otezla sales growth from the date of the drug’s March 2014 launch;
         (iii) Otezla was plagued by issues including step-edits, poor insurance coverage,
         and inferior efficacy compared to competitors that impaired its sales and attendant
         revenues;



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         (iv)   during the third and fourth quarters of 2016, Smith, Curran, and other
         members of the IIEC and CPMAC were explicitly warned by both Celgene’s Senior
         Vice President of I&I and a senior executive in the U.S. Market Access group that
         Celgene could not meet the 2017 Otezla guidance and that these numbers should
         be lowered;
         (v)      FE 17 recounted that the Forecasting team was “told to change” the numbers
         (i.e., the internal forecasts) by Smith and Curran to conceal the lack of growth;
         (vi)   FE 18 confirmed that when Defendants were assessing the 2017 Otezla
         market access and setting the 2017 targets, the market did not support even close to
         57% growth;
         (vii) Defendants’ decision to allow wholesalers to buy Otezla in excess of their
         demand in the fourth quarter of 2016 negatively impacted the first quarter 2017
         Otezla sales;
         (viii) Tessarolo, Senior Vice President of I&I, U.S., had again warned Defendants
         in early 2017 that the Company needed to downgrade its 2017 Otezla revenue
         guidance;
         (ix)    the newly-entered PBM contracts Defendants claimed “doubled the number
         of patient lives who can now access OTEZLA without being required to step
         through a biologic therapy” would not positively impact Celgene’s Otezla net
         product sales for months or even years; and
         (x)    FE 18 recounted that it was clear from the beginning of 2017, based on the
         models that his team was running monthly, that the PBM contracts were not
         meeting revenue expectations and Celgene eventually lowered the expectations on
         many of these PBM contracts internally.

  By electing to speak publicly about Celgene’s 2017 Otezla sales guidance—and thereby putting

  this subject into play—Defendants had a duty to fully, completely, and truthfully disclose all

  material facts regarding the fact that Celgene was not positioned to meet the 2017 guidance, and

  that this guidance could not be met given the numerous issues impacting Otezla revenues. As a

  result of the foregoing undisclosed material facts, Defendants’ public statements lacked a

  reasonable basis and were materially false and misleading at all relevant times.




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         C.      Ozanimod

         416.    As detailed above in ¶¶ 297-298, by no later than November 21, 2016, Defendants

  discovered the Metabolite. Former employees referred to the finding as a great concern, which

  required additional, time-consuming Phase I testing which would prevent the filing of a complete

  NDA in 2017. The former employees also stated that the submission of the NDA for Ozanimod

  without the testing would lead the FDA to reject the NDA and issue an RTF (which the FDA did).

  In the face of these and other undisclosed material facts, Defendants issued the following material

  misrepresentations and omissions during the Class Period.

         417.    On January 9, 2017, Celgene participated in the 35th Annual J.P. Morgan

  Healthcare Conference. During this conference, Alles stated, in part:

         We have two Phase 3 [Ozanimod] trials that have completely accrued and expect
         to have the data during the first half of this year, which will inform us. And
         contingent on that, we will file an NDA for Ozanimod in multiple sclerosis by the
         end of the year.

         418.    In connection with this healthcare conference, Celgene issued and published a

  series of slides on its corporate website. Alles presented a slide entitled “Coming Soon . . . Phase

  III Ozanimod Data in Multiple Sclerosis” that provided in part, “Phase III data expected in

  H1:17” and “Planning NDA submission YE:17.”

         419.    Analysts and other news outlets reiterated Defendants’ representations regarding

  the timeline for Celgene’s Ozanimod Phase III study results and NDA submission. For example,

  in a January 9, 2017 report, Evercore ISI stated: “Ph3 data readouts for Ozanimod in MS . . .

  appear to be on track in 2017” and The Daily Cardinal: University of Wisconsin reported in a

  January 10, 2017 article that: “The studies of ozanimod in multiple sclerosis are very intriguing

  trials. . . . [A]nd data should be available for investors to digest by mid-year. If the data is good,

  an FDA filing for approval is expected before the end of 2017.”


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         420.    On January 26, 2017, Celgene hosted a conference call to discuss the Company’s

  fourth quarter and full year 2016 financial results. During this conference call, Smith stated:

         Turning now to Ozanimod. We are very excited to be getting pivotal data from both
         the 12-month SUNBEAM and 24-month RADIANCE studies in the first half of
         2017. These large Phase III active comparator trials . . . will form the core of an
         expected NDA submission by year-end.

         421.    During the same call, an analyst from Citigroup, Inc. inquired, “maybe give us some

  color on your thoughts on MS market and how you’re thinking about how it’s evolved the

  acquisition and the guidance.” In responding to these questions, Defendant Fouse, without saying

  anything about the Metabolite or the required time-consuming testing, stated:

         As Scott said, we think we are going to have a highly differentiated molecule. So
         you’re going to have the data from the 2 Phase III MS trials this year, and then
         the team will submit that by the end of the year.

         422.    In connection with the January 26, 2017 conference call, Celgene issued and

  published a series of slides on its corporate website. One of the slides, which was presented by

  Smith, stated that Celgene’s I&I Franchise was on track to “submit ozanimod U.S. NDA in RMS”

  in 2017.




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         423.   Fouse also presented a slide discussing “Key Catalysts in 2017” with respect to

  Celgene’s growth. This slide stated that one “Key Catalyst[] in 2017” was that the I&I Franchise

  would “submit NDA for Ozanimod in RMS” by the end of 2017.




         424.   Analysts and other news outlets again reiterated Defendants’ representations

  regarding the timeline for Celgene’s NDA submission based on the Phase III study results. For

  example, BTIG Equity Research stated in a January 26, 2017 report that “the Phase III topline

  results for Ozanimod” were a “significant clinical catalyst[]” and Cowen and Company stated in a

  January 26, 2017 report that “Celgene anticipates filing an NDA for ozanimod in MS by YE.”

  Similarly, The Daily Cardinal: University of Wisconsin reported: “If the [Phase III] data is

  positive, and the FDA eventually approves it, ozanimod could be competing in a market worth $20

  billion—and growing—as soon as next year.”

         425.   On February 10, 2017, Celgene filed a Form 10-K (“2016 10-K”), signed by Alles,

  Kellogg, Hugin and Fouse, with the SEC. The 2016 10-K represented, “[w]e have phase III trials

  underway for ozanimod in relapsing multiple sclerosis” and included a chart representing that the

  “Status” of Ozanimod for RMS was “Phase III” and that Celgene “Entered current status” in 2013.




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         426.    On February 17, 2017, Celgene filed a Form 8-K, signed by Kellogg, with the SEC.

  In the press release attached to the Form 8-K, which announced the positive results from the

  Ozanimod phase III SUNBEAM trial, Smith was quoted as stating, “‘[w]e look forward to data

  from the confirmatory phase III RADIANCE trial in the second quarter as we advance toward

  planned regulatory submissions by year-end.’”

         427.    Several analysts and media outlets seized on Defendants’ representations regarding

  the Phase III trial results and the Company’s timeline for submission of the Ozanimod NDA. For

  example, Jefferies Group LLC stated in a February 17, 2017 report that “CELG reported positive

  top-line data for ozanimod in MS from the first ph.III study” and Leerink Partners represented in

  a February 17, 2017 report that “[t]he timing and success of SUNBEAM, and the expectation for

  confirmatory phase III RADIANCE data in Q2, are consistent with the timeline for filing

  Ozanimod in H2 2017 and launching in 2018.”

         428.    The statements set forth in ¶¶ 417-426 above, including Defendants’ statements

  indicating that Celgene was in Phase III testing for Ozanimod and reaffirming the Company’s

  plans to submit the Ozanimod NDA by the end of 2017, pending only the final Phase III study

  results, were materially false and misleading, omitted material facts, and lacked a reasonable basis

  when made. Specifically, as set forth in ¶¶ 270-341 above, at the time Defendants issued these

  statements, Defendants knowingly or recklessly concealed and/or failed to disclose that:

         (i)      Defendants discovered a disproportionate Metabolite in November 2016;
         (ii)    the testing and studies regarding the Metabolite, including many Phase I
         studies, that needed to be conducted prior to filing the NDA put the Company’s
         NDA filing timeline at risk and rendered it unreasonable; and
         (iii) if Celgene submitted the NDA without the necessary metabolite testing and
         studies, the FDA was almost certain to issue an RTF.




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  By electing to speak publicly about the nearly complete status of Celgene’s Ozanimod Phase III

  studies and the Company’s professed ability to submit a complete NDA for Ozanimod in 2017 for

  FDA approval in 2018—and thereby putting these subjects into play—Defendants had a duty to

  fully, completely, and truthfully disclose all material facts regarding the discovery of the

  Metabolite and the need for additional Phase I testing that jeopardized Celgene’s filing of a

  complete Ozanimod NDA in 2017 and Celgene’s ability to receive FDA approval in 2018, so as

  to not mislead investors. As a result of the foregoing, undisclosed material facts, Defendants’

  public statements lacked a reasonable basis when made and were materially false and misleading

  at all relevant times.

          429.    On March 15, 2017, Celgene participated in the Barclays Global Healthcare

  Conference. During the Company’s presentation, Flanigan stated:

          So, in terms of timelines in MS, we just had the first Phase 3 readout. This is a
          one-year result out of SUNBEAM. We are waiting for the two-year trial called
          RADIANT that should read out sometime in Q2. And based upon those data sets,
          the second study, if RADIANCE is consistent with SUNBEAM, then we package
          all this into an NDA and submit it to the FDA by the end of the year.

          430.    On April 27, 2017, Celgene filed a Form 10-Q, signed by Alles and Kellogg, with

  the SEC. This Form 10-Q represented: “[W]e have phase III trials underway for ozanimod in

  relapsing multiple sclerosis.”

          431.    On April 27, 2017, Celgene also filed a Form 8-K, signed by Kellogg, with the

  SEC. In the press release attached to this Form 8-K, which announced certain first quarter 2017

  operating and financial results, Celgene stated:

          In February, Celgene disclosed positive top-line results from the phase III
          SUNBEAM trial evaluating ozanimod in patients with relapsing multiple sclerosis
          (RMS). The trial met its primary endpoint in reducing annualized relapse rate
          (ARR), compared to weekly interferon (IFN) β-1a (Avonex®). Data from the
          confirmatory phase III RADIANCE trial are expected in the second quarter.


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         Celgene anticipates filing ozanimod for regulatory approval by year-end based
         on these data.

         432.    On the same date, Celgene hosted a 2017 conference call to discuss the Company’s

  first quarter 2017 financial results. In connection with the April 27, 2017 conference call, Celgene

  issued and published a series of slides on its corporate website. One of the slides, entitled “2017

  I&I Franchise Outlook,” was presented by Defendant Smith. This slide touted “Advancing

  Ozanimod Development Programs in MS and IBD” and confirmed that Celgene would “submit

  ozanimod U.S. NDA in RMS [in 2017].”




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         433.   During this call, Fouse presented a slide that listed “Submit NDA for ozanimod in

  RMS (YE)” as a “Key Catalyst[] in 2017” and doubled-down on confirming that Celgene would

  “submit NDA for ozanimod in RMS” by end of 2017.




         434.   In reporting on Celgene’s April 27, 2017 conference call, analysts focused on

  Defendants’ representations that Celgene would submit an NDA by year-end 2017. For example,

  Barclays stated in an April 27, 2017 report that “[n]otably, Celgene plans to submit an NDA in

  RMS by year-end, with a likely launch in 2018.” J.P. Morgan similarly stated in an April 27, 2017

  report that a “Key 2017 catalyst[]” included “Ozanimod Ph3 data in MS in May with NDA

  submission by YE17” and Oppenheimer acknowledged in an April 27, 2017 report that “Celgene

  announced it intends to file Ozanimod for regulatory approval by the end of 2017 using data from

  the phase III SUNBEAM and RADIANCE studies.”

         435.   The statements set forth in ¶¶ 429-433 above, including Defendants’ statements that

  the Phase III studies for Ozanimod were positive and nearly complete and that Celgene was set to

  file the Ozanimod NDA by the end of 2017 pending only the final Phase III study results, were

  materially false and misleading, omitted material facts, and lacked a reasonable basis when made.

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  Specifically, as set forth in ¶¶ 270-341 above, at the time Defendants issued these statements,

  Defendants knowingly or recklessly concealed and/or failed to disclose that:

         (i)     Defendants discovered a disproportionate Metabolite in November 2016;
         (ii)    the testing and studies regarding the Metabolite, including many Phase I
         studies, that needed to be conducted prior to filing the NDA put the Company’s
         NDA filing timeline at risk and rendered it unreasonable; and
         (iii) if Celgene submitted the NDA without the necessary metabolite testing and
         studies, the FDA was almost certain to issue an RTF.

  By electing to speak publicly about the complete status of Celgene’s Ozanimod Phase III studies

  and the Company’s professed ability to submit a complete NDA for Ozanimod in 2017 for FDA

  approval in 2018—and thereby putting these subjects into play—Defendants had a duty to fully,

  completely, and truthfully disclose all material facts regarding the discovery of the Metabolite and

  the need for additional Phase I testing that jeopardized Celgene’s filing of a complete Ozanimod

  NDA in 2017 and Celgene’s ability to receive FDA approval in 2018, so as to not mislead

  investors. As a result of the foregoing, undisclosed material facts, Defendants’ public statements

  lacked a reasonable basis when made and were materially false and misleading at all relevant times.

         436.    On May 22, 2017, Celgene filed a Form 8-K, signed by Kellogg, with the SEC. In

  the press release attached to the Form 8-K, which announced the results from Ozanimod’s Phase

  III trial, RADIANCE, Curran stated, in part:

         We are excited by the results seen to-date across both pivotal trials, which further
         validated ozanimod’s promising benefit-risk profile relative to current
         therapies . . . We plan to begin submitting global registration dossiers by the end
         of the year . . . .

         437.    In the wake of Celgene’s Form 8-K, Canaccord stated in a May 22, 2017 report that

  in light of the positive RADIANCE and SUNBEAM data, “[w]e believe there is a high probability

  of approval,” and Oppenheimer stated in a May 22, 2017 report that “Celgene announced that

  further analyses of the RADIANCE trial are ongoing and it plans to submit an NDA to the FDA,

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  based on the combined SUNBEAM and RADIANCE trials for relapsing MS by the end of 2017.”

  In a May 22, 2017 report, Raymond James represented: “No change to plans to submit a U.S.

  filing by YE17.”

         438.    On May 31, 2017, Celgene participated in the Sanford C. Bernstein Strategic

  Decision Conference, where Alles discussed Ozanimod’s Phase III study results. Alles stated:

         About 22 months ago, we acquired Receptos for $7.2 billion net of cash to bring
         ozanimod into our portfolio, and 2 Mondays ago, we announced the second of 2
         Phase III trials that were very positive for the drug in the setting of relapsed
         multiple sclerosis. So we’re quite excited about that. We’re anxious for investors
         and the community at large to see the data. . . . We’re very, very excited about the
         data. And in fact, the results of the 2 Phase III trials separately and together for
         relapsing MS put the product at a profile that’s better than the base case we had
         when we did the deal to acquire the asset.

         439.    On July 27, 2017 Celgene filed a Form 10-Q, signed by Alles and Kellogg, with

  the SEC. This Form 10-Q represented: “[W]e have phase III trials underway for ozanimod in

  relapsing multiple sclerosis.”

         440.    On July 27, 2017, Celgene also hosted a conference call to discuss the Company’s

  second quarter 2017 financial results. During this call, Curran stated:

         We announced positive results from RADIANCE, our second Phase III trial of
         ozanimod in MS and are on track to file the U.S. NDA by year end. We’re very
         pleased with the progress of the program and look forward to the data being
         presented in upcoming major medical meetings.

         441.    In connection with the July 27, 2017 conference call, Celgene issued and published

  a series of slides on its corporate website. One of the slides, which was presented by Defendant

  Curran, reiterated that Ozanimod was “[p]reparing for regulatory submission to the FDA by

  YE:17.”




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         442.    Curran presented an additional slide that stated that Celgene’s I&I Franchise would

  “[f]ile ozanimod U.S. NDA in RMS” by year-end 2017.




         443.    Smith also confirmed that the study data from the Ozanimod testing was universally

  positive, stating “[j]ust to add on to the comments, we feel very, very good about the data that’s

  emerging for ozanimod and looking forward to getting it out.”




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            444.   Smith then presented a slide that discussed Ozanimod as having “positive top-line

  data in RMS” while “[a]dvancing towards FDA filing by YE:17.”




            445.   On July 27, 2017, Celgene filed a Form 8-K, signed by Kellogg, with the SEC. In

  this Form 8-K, Celgene discussed “Product and Pipeline Updates” for the I&I Franchise, and

  stated:

            In May, Celgene disclosed positive top-line results from the confirmatory phase III
            RADIANCE™ trial evaluating ozanimod in RMS. . . . An NDA submission to the
            FDA based on the combined phase III SUNBEAM™ and RADIANCE™ trials
            for RMS is expected by the end of 2017.

            446.   On August 7, 2017, the Journal of Clinical Pharmacology in Drug Development

  published an article authored by Tran and several other Celgene employees entitled “Cardiac

  Safety of Ozanimod, a Novel Sphingosine-1-Phosphate Receptor Modulator: Results of a

  Thorough QT/QTc Study.”          In this article, which was sponsored by Celgene, Tran stated:

  “Metabolism studies in animals identified 3 pharmacologically active metabolites (RP101988,

  RP101075, and RP101442) that have similar S1P selectivity and potency in vitro to ozanimod”

  and described the characteristics of these three metabolites. Despite Celgene’s discovery of the



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  Metabolite as early as November 2016, Tran’s article made no mention of the Metabolite or the

  additional testing of the Metabolite that was required for Celgene’s Ozanimod NDA.

         447.    On September 26, 2017, Celgene participated in the Cantor Fitzgerald 3rd Annual

  Healthcare Conference.     In connection with this healthcare conference, Celgene issued and

  published a series of slides on its corporate website. One of these slides, which was presented by

  Defendant Ahmed, stated Ozanimod was “[o]n-track for NDA submission by YE:17.”




         448.    On October 26, 2017 Celgene filed a Form 10-Q, signed by Alles and Kellogg, with

  the SEC. This Form 10-Q represented: “[W]e have phase III trials underway for ozanimod in

  relapsing multiple sclerosis.”

         449.    On October 26, 2017, Celgene also hosted a conference call to discuss the

  Company’s third quarter 2017 financial results. During this call, Curran stated:

         We made good progress on the I&I pipeline and are very excited about the
         upcoming data presentation for ozanimod and MS at the ECTRIMS-ACTRIMS
         joint meeting in Paris later this week. The program remains on track for
         regulatory submission, beginning with the U.S. by year-end. . . Turning now to
         ozanimod. We are highly encouraged by the results we have seen to date in both
         MS and IBD indications.”



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         450.   In connection with the October 26, 2017 conference call, Celgene issued and

  published a series of slides on its corporate website. One of the slides, which was presented by

  Defendant Curran, stated that Ozanimod was “moving forward in Multiple Sclerosis” and Celgene

  was “[p]reparing for regulatory submission [of the Ozanimod NDA] to the FDA by year-end.”




         451.   Defendant Curran presented an additional slide that stated that Celgene would

  “[s]ubmit ozanimod U.S. NDA in RMS by YE:17.”




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         452.   A third slide, presented by Defendant Smith, characterized Celgene’s “[o]zanimod

  FDA filing in RMS by YE:17” as an inflection point in 2017 that would drive growth for Celgene.




         453.   On October 26, 2017, Celgene issued a press release, which announced certain of

  the Company’s financial and operating results for the quarter ended September 30, 2017. This

  press release included “Product and Pipeline Updates” for the I&I Franchise and stated, “Celgene

  plans to submit a New Drug Application (NDA) to the FDA for Ozanimod in RMS by year-end.”

         454.   Following Defendants’ October 26, 2017 statements, analysts and other media

  outlets again reiterated Defendants’ representations regarding Celgene’s timeline for submission

  of the Ozanimod NDA. For example, BTIG Equity Research stated in an October 26, 2017 report:

  “We expect ozanimod to be approved for MS during 2H2018 (US NDA sub for [R]MS YE2017).”

  The Dow Jones Institutional News reported in an October 26, 2017 article: “Celgene plans to

  submit a New Drug Application (NDA) to the FDA for ozanimod in RMS by year-end.”

         455.   Two days later, on October 28, 2017, Celgene held an Investor Event at the

  MSParis2017-7th Joint American-European Committee for Treatment and Research in Multiple

  Sclerosis. During this event, several Individual Defendants issued misrepresentations concerning



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  Ozanimod. For example, in discussing the Ozanimod “development program,” Defendant Martin

  stated:

            [T]he RADIANCE study and the SUNBEAM study will form the basis of our
            submission to the FDA and to [the] EMA. For the FDA, we are working hard as
            we speak to get ready to file by the end of the year.

            456.   Defendant Curran represented that Celgene was “very excited by the data and

  looking forward to filing or submitting filing by the end of the year in the U.S. and the EMEA the

  first half of next year.”

            457.   Defendant Smith stated:

            We announced positive top line data to ozanimod and SUNBEAM and
            RADIANCE earlier in the year, and we’ve been very anxiously awaiting, getting
            to this meeting and being in a position to really get in and dig in and talk about the
            data. We’re tremendously thrilled with the data and satisfied and happy.

                                                     ***
            So it’s very, very exciting for us to be heading off in this new venture in neurology,
            but heading off with such an amazing, potential cornerstone product as ozanimod
            with what we think is a very, very, very positive data.

                                                     ***
            Since we went and made the acquisition and we’ve just continued to get more
            excited and more excited as we’ve continued to have data and whether that data
            was in MS and pivotal data, you see data firming up long term in the Phase II data,
            Crohn’s data coming in. The data around this asset is very, very solid, and it’s
            really, really exciting.

            458.   In reporting on Defendants’ statements at the MSParis2017 meeting, Oppenheimer

  focused on Defendants’ repeated representations regarding the Phase III trial data and NDA

  submission timeline, stating: “Celgene has previously announced that further analyses of the

  RADIANCE trial are ongoing and it plans to submit an NDA to the FDA, based on the combined

  SUNBEAM and RADIANCE trials for relapsing MS by the end of 2017.”




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         459.    The statements set forth in ¶¶ 436-457 above, including Defendants’ statements that

  the Phase III studies for Ozanimod were positive and complete and that, in light of these study

  results, Celgene was set to file the Ozanimod NDA by the end of 2017, were materially false and

  misleading, omitted material facts, and lacked a reasonable basis when made. Specifically, as set

  forth in ¶¶ 270-341 above, at the time Defendants issued these statements, Defendants knowingly

  or recklessly concealed and/or failed to disclose that:

         (i)     Defendants discovered a disproportionate Metabolite in November 2016;
         (ii)    the testing and studies regarding the Metabolite, including many Phase I
         studies, that needed to be conducted prior to filing the NDA put the Company’s
         NDA filing timeline at risk and rendered it unreasonable; and
         (iii) if Celgene submitted the NDA without the necessary metabolite testing and
         studies, the FDA was almost certain to issue an RTF.

  By electing to speak publicly about the complete status of Celgene’s Ozanimod Phase III studies

  and the Company’s professed ability to submit a complete NDA for Ozanimod in 2017 for FDA

  approval in 2018—and thereby putting these subjects into play—Defendants had a duty to fully,

  completely, and truthfully disclose all material facts regarding the discovery of the Metabolite and

  the need for additional Phase I testing that jeopardized Celgene’s filing of a complete Ozanimod

  NDA in 2017 and Celgene’s ability to receive FDA approval in 2018, so as to not mislead

  investors. As a result of the foregoing, undisclosed material facts, Defendants’ public statements

  lacked a reasonable basis when made and were materially false and misleading at all relevant times.

         460.    As discussed above (see ¶¶ 312-322), Celgene submitted the Ozanimod NDA for

  MS to the FDA in December 2017, notwithstanding that it omitted the Metabolite testing results

  demanded by the FDA at their November 2017 meeting with the Company.

         461.    On January 8, 2018, Celgene filed a Form 8-K, signed by Kellogg, with the SEC.

  In the press release attached to the Form 8-K, Celgene hyped their December 2017 submission of


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  the Ozanimod NDA for MS, identifying as one of its “2018 Expected Operational Milestones” the

  “FDA decision on the submission of an NDA for ozanimod in patients with relapsing multiple

  sclerosis (RMS).”

         462.    Following the January 8, 2018 press release, J.P. Morgan asserted in a January 8,

  2018 report, that the “Key 2018 catalysts” included “potential approval of ozanimod in relapsing

  multiple sclerosis in 2018” and RBC Capital Markets stated in a report published the same day

  that “CELG confirmed they submitted an NDA for ozanimod in MS.”

         463.    Approximately two weeks later on January 25, 2018, Celgene filed another Form

  8-K, signed by Kellogg, with the SEC again highlighting that “a New Drug Application (NDA)

  was submitted with the FDA for Ozanimod in relapsing multiple sclerosis (RMS) based on data

  from the phase III RADIANCE™ Part B and SUNBEAM™ trials for evaluating Ozanimod in

  patients with RMS.”

         464.    Following Defendants’ repeated reference to its NDA submission, SunTrust

  Robinson Humphrey stated in a January 25, 2018 report that “Other Late Stage Assets Also

  Progressing Swiftly,” and specifically noted with respect to Ozanimod that “U.S. approval and

  launch in relapsing multiple sclerosis (RMS) expected in 4Q18 (following NDA filing in

  December 2017 . . . ).”

         465.    On February 7, 2018, Celgene filed an Annual Report on a Form 10-K signed by

  Alles and Kellogg, with the SEC (“2017 10-K”), again representing that “a New Drug Application

  (NDA) was submitted with the FDA for Ozanimod in RMS based on data from the phase III trials

  evaluating Ozanimod in patients with RMS.” The 2017 10-K also included a chart representing

  that the “Status” of Ozanimod for RMS was “Regulatory submission” and that Celgene “Entered

  current status” in the fourth quarter of 2017.



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         466.    The statements set forth in ¶¶ 461-465 above, including Defendants’ statements

  discussing the submission of the Ozanimod NDA, were materially false and misleading, omitted

  material facts, and lacked a reasonable basis when made. Specifically, as set forth in ¶¶ 270-341

  above, at the time Defendants issued these statements, Defendants knowingly or recklessly

  concealed and/or failed to disclose that:

         (i)      Defendants discovered a disproportionate Metabolite in November 2016;
         (ii)     the necessary testing and studies regarding the Metabolite, including many
         Phase I studies, were not complete at the time Celgene submitted the NDA and
         Celgene’s failure to include the results from these studies in the NDA rendered it
         facially deficient;
         (iii)   Defendants knew that the Ozanimod NDA would be rejected for the reasons
         stated above in Section IV.D.5, including the FDA’s warning during the November
         2017 pre-NDA meeting that the NDA would be deemed incomplete unless Celgene
         included the Metabolite test results.

  By electing to speak publicly about the complete status of Celgene’s Ozanimod Phase III studies

  and the Company’s submission of the NDA for FDA approval in 2018—and thereby putting these

  subjects into play—Defendants had a duty to fully, completely, and truthfully disclose all material

  facts regarding the discovery of the Metabolite and the incompleteness of the additional Phase I

  testing at the time Celgene filed the Ozanimod NDA in December 2017 which jeopardized

  Celgene’s ability to receive FDA approval in 2018, so as to not mislead investors. As a result of

  the foregoing, undisclosed material facts, Defendants’ public statements lacked a reasonable basis

  when made and were materially false and misleading at all relevant times.

  VI.    THE RELEVANT TRUTH EMERGES: ALLEGATIONS OF LOSS CAUSATION

         467.    Defendants’ material misstatements and omissions complained of herein artificially

  inflated the market price of Celgene’s publicly traded common stock. The artificial inflation in

  Celgene’s stock price was removed when the facts and risks misstated and omitted by Defendants



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  were revealed to the market. Such corrective information was disseminated to investors through

  public disclosures on October 19, 2017, October 26, 2017, February 27, 2018, and April 29, 2018.

  Each such disclosure partially revealed relevant facts regarding the false and misleading nature of

  Defendants’ material misstatements concerning GED-0301, Otezla, and Ozanimod.                     Each

  disclosure, more particularly described below, removed artificial inflation in the price of Celgene’s

  publicly traded stock, causing economic injury to Lead Plaintiff and other members of the Class.

         A.      October 19, 2017: Celgene Discontinues Its GED-0301 Program

         468.    On October 19, 2017, after market close, Celgene issued a press release announcing

  that “the GED-0301 (mongersen) phase III REVOLVE trial (CD-002) in Crohn’s disease (CD)

  and the extension trial (SUSTAIN, CD-004) will discontinue.” The press release added that:

  “Celgene has decided to stop the trials following an October recommendation of the DMC,

  which assessed overall benefit/risk during a recent interim futility analysis” and that “[a]t this time,

  the phase III DEFINE trial (CD-003) in Crohn’s disease will not be initiated.”

         469.    Also on October 19, 2017, the Company filed a Form 8-K with the SEC stating that

  it expected to record a $1.6 billion impairment charge as a result of its decision to discontinue its

  GED-0301 trials, partially offset by a reduction in liabilities associated with the development

  program. As Dow Jones reported on October 19, 2017, Celgene concluded that “it will recognize

  a fourth-quarter 2017 charge to earnings related to the significant impairment of the approximately

  $1,600 million GED-0301 In-Process Research and Development asset, as well as wind-down

  costs associated with discontinuing the Trials and certain development activities.” Dow Jones also

  reported that “[t]he exact amount of the net pre-tax charge to earnings has not yet been determined,

  but is estimated to be in the range of $300 million to $500 million, or $0.27 to $0.45 per diluted

  share after tax” and that “[a]pproximately 50 percent of the net charge will require cash payments.”



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         470.    In response to Celgene’s disclosure on October 19, 2017, Celgene common stock

  fell by a total of $14.63 per share—nearly 11%—from a closing price of $135.96 on October 19,

  2017 to a close of $121.33 on October 20, 2017 in a single trading day on extremely heavy trading

  volume of 27.8 million shares. This wiped out more than $11 billion in market capitalization.

         471.    As the Barron’s Blog wrote on October 20, 2017, “[t]he stock fell almost 10.8% to

  close at $121.33 on a day when the S&P 500 posted a 0.5% gain, making Celgene the worst-

  performing stock in the index,” which “cost Celgene $11.5 billion in market value.”

         472.    On October 19, 2017, Morgan Stanley described the discontinuation of GED-0301

  as “a major setback” for Celgene. Morgan Stanley reported that “[g]iven that mgt. did not identify

  any safety imbalances, we believe this decision was based on lack of efficacy.”

         473.    Cantor Fitzgerald wrote the same day that Celgene’s “discontinuation of GED-0301

  Phase III REVOLVE trial and of the extension trial in Crohn’s disease is a disappointment, taking

  the shares down 6% in after-hours trading.”

         474.    Also on October 19, 2017, Raymond James wrote that “few likely foresaw a GED-

  301 termination,” and that “few were expecting this development.”

         475.    Market commentary stated that investors were then expecting Celgene’s anticipated

  submission and approval of its Ozanimod NDA to compensate for any losses or setbacks the

  Company suffered as a result of the GED-0301 news. For example, Raymond James reported on

  October 19, 2017 that it believed the failure of GED-0301 could be offset by the potential future

  success of Ozanimod and Otezla, writing that “[m]anagement has sought to develop a continuum

  of inflammatory bowel disease products, and that strategy remains intact with ozanimod and

  Otezla.” The same day, RBC Capital Markets similarly reported that “0301/mongersen d/c

  [discontinuation] is disappointing given high potential opportunity in Crohn’s for unique oral, and



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  increases onus on ozanimod/BD [business development] for post-Revlimid revenue

  sustainability.”

         476.    Negative market commentary continued into October 20, 2017. As reported by

  Benzinga, Baird Equity Research: (i) lowered Celgene’s price target by 16% to $136 in light of

  Celgene’s disclosure regarding GED-0301; (ii) noted “lower prospects for long-term growth, as

  pressure to succeed in [inflammation and immunology] is now almost exclusively on ozanimod”;

  and (iii) added that the “high-profile GED-0301 failure has potential to call into question the

  pipeline.” Leerink Partners reported on October 20, 2017 that the GED-0301 discontinuation was

  “a painful reminder of the costs of a ‘shots on goal’ approach to business development, and the

  perils of heavily front-loaded investments into categories where the organization lacks technical

  and commercial expertise.” In addition, the Barron’s Blog wrote in an October 20, 2017 post

  called “Celgene: No Surprise? It’s 10% Drop Says Different” that the news released about GED-

  0301 certainly “seems to be new to investors.”

         477.    Despite the Company’s October 19, 2017 disclosures concerning GED-0301 and

  the related stock price decline, the price of Celgene common stock remained artificially inflated

  as Defendants continued to misrepresent and conceal material information from investors

  concerning Otezla and Ozanimod.

         B.      October 26, 2017: Celgene Discloses Sharply Negative Financial
                 Results for Otezla

         478.    Only one week after Celgene’s disclosure that it would be discontinuing its GED-

  0301 studies, on October 26, 2017, the Company released is third quarter 2017 financial results.

  Celgene reported total Otezla sales of only $308 million, a 14% decline from second quarter 2017

  Otezla sales, and blamed “an increase in gross-to-net adjustments from contracts implemented in

  January and a slowing in overall category growth due to a more challenging market access


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  environment.” Celgene also announced that it no longer expected 2017 Otezla net product sales

  to be between $1.5 billion and $1.7 billion as it had previously stated, but rather expected 2017

  sales to be only approximately $1.25 billion. Celgene also stated that it was lowering its fiscal

  2020 guidance as a result of the poor Otezla results.

         479.    In response to Defendants’ disclosures on October 26, 2017, the price of Celgene

  common stock fell by $19.57 per share—more than 16%—from a close of $119.56 on October 25,

  2017 to close at $99.99 on October 26, 2017 on abnormally high trading volume of 24.1 million

  shares. This wiped out more than $14 billion in Celgene market capitalization.

         480.    Analysts commented negatively not only on Celgene’s missed and lowered

  guidance, but also on management’s credibility. For instance, J.P. Morgan reported on October

  26, 2017 that Celgene “management faces a major credibility issue.” That day, Cowen and

  Company similarly reported that the shortfall on Otezla sales “is likely to impact the company’s

  credibility.” On October 26, 2017, SeekingAlpha also reported that “the Street has suddenly lost

  trust in Celgene’s pipeline as well as the credibility of management’s guidance.” Raymond James

  downgraded Celgene stock from Strong Buy to Market Perform, and reported:

         [T]oday’s update substantially alters our outlook and confidence in the
         company’s ability to execute. We previously viewed Celgene’s immune &
         inflammatory (I&I) franchise as a key driver to facilitate a revenue diversification
         effort away from Revlimid. However, with GED-0301 now eliminated, and Otezla
         appearing to stumble, revised FY20 targets indicate an increasing reliance on the
         hematology franchise (rather than decreasing), which is the opposite of what we’d
         hope to see over time. Even if ozanimod data shows differentiation, we think
         CELG has now become a ‘show me’ story[.]

         481.    PiperJaffray also reported on October 26, 2017 that “despite an attractive valuation,

  we think management will need to start executing better commercially, clinically and strategically

  before this stock begins to work again.” PiperJaffray further reported that:




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         While some expected management to revisit 2020 guidance, given the GED-0301
         failure from last week, we think the magnitude of the reset has clearly shaken
         investors. Indeed, in one fell swoop, 2020 revenue guidance was shaved by $1.5B,
         with hematology accounting for >80% of revenue up from 70% of revenue. . . .
         With this new outlook, we can’t imagine angst on this front will go away any time
         soon.

         482.    Similarly, BTIG Equity Research reported on October 26, 2017 that Celgene’s third

  quarter results “severely disappointed relative to expectations on Otezla, and mgmt significantly

  lowered 2020 guidance due to several product forecast revisions.” Jefferies Group LLC also

  reported that day that “CELG put up an unusual notable revenue miss (it’s been a few years

  since that happened by this much) and notably lowered 2017 revenue guidance and 2020 revenue

  and EPS guidance,” and that “it will take some time to re-engage in credibility to hit targets and

  get quarters back on track and reset the situation.”

         483.    Analysts also discussed the factors that drove Celgene’s lower Otezla revenues.

  For example, in an October 26, 2017 report, BMO Capital Markets attributed the Otezla miss in

  part to discounting and competition from other psoriasis treatments, stating that “[a]lthough Otezla

  script growth was apparent (+4% Q/Q), it just wasn’t enough to offset the aggressive discounting

  and slowing growth of psoriatic arthritis and greater competition in psoriasis markets.”

         484.    Analysts reported that the magnitude of Celgene’s miss was a surprise to the

  market. On October 26, 2017, J.P. Morgan reported that:

         In a word, CELG’s print this morning was ugly. The company reported a top-line
         miss (total revenue of $3.28B vs. cons of $3.42B) with a bottom-line beat (non-
         GAAP EPS of $1.91 vs. cons of $1.87). . . . Otezla, in particular, was the standout
         for the wrong reasons with a bad miss ($380M vs. $411M). We believe a weak
         quarter was expected based on lackluster Rx trends, but not to this extent.

         485.    UBS similarly reported the same day that:

         While some shift in the makeup of 2020 guidance was expected (though not today),
         lowered guidance is a surprise – leaving the company even more dependent on
         Revlimid just as the focus on that[] drug[’s] IP (rightly or wrongly) intensifies.

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         486.    Also on October 26, 2017, Leerink Partners reported:

         This morning Celgene reported alarming Q3 2017 with revenues 4% below
         consensus and pro forma EPS 2% above consensus, and the company lowered their
         long-term 2020 revenue targets by 5-10% after recent pipeline failures and negative
         market trends for Otezla. Investors are likely to ask whether the company’s good
         fortune has run out, with disappointments (mongersen) and negative revisions
         (Otezla) left and right. Recently installed new management are likely to face tough
         questions from investors about the company’s direction and leadership after the
         operational and guidance disappointments this quarter.

         487.    Even those analysts initially bullish on Celgene ultimately downgraded their ratings

  of Celgene shares. For example, Cantor Fitzgerald downgraded Celgene from Overweight to

  Neutral on October 26, 2017, and reported that:

         [T]he upside is now considerably less, given the lower visibility on the longer term.
         We had believed that pipeline execution would see CELG shares through the loss
         of REVLIMID, but the company’s revisitation of guidance in the wake of GED-
         0301’s failure creates an overhang and perhaps places greater pressure to execute
         on a strategic/business development option.

         488.    Despite Celgene’s disclosures concerning Otezla results and related stock price

  decline, the price of Celgene common stock remained artificially inflated as Defendants continued

  to misrepresent and conceal material information from investors concerning Ozanimod. For

  example, during the October 26, 2017 conference call, Defendant Alles tried to shift the focus from

  GED-0301 to Ozanimod and falsely and misleadingly claimed to investors that the “immediate

  shift from GED-0301 to ozanimod in Crohn’s disease is a great example of the pipeline optionality

  and opportunity we have built and continue to build into our research model for hematology,

  oncology and inflammation and immunology.”




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         C.      February 27, 2018 and April 29, 2018: Celgene Receives a Refusal-to-
                 File Letter for Ozanimod Based on Its Lack of Metabolite Testing

                         (a)    February 27, 2018: Celgene Discloses the Refusal-to-File Letter
                                for Ozanimod

         489.    After market close on February 27, 2018, just three weeks after Celgene’s Form

  2017 10-K touted the fact that “a New Drug Application (NDA) was submitted with the FDA for

  Ozanimod in RMS based on data from the phase III trials,” Celgene issued a press release revealing

  that it had received an RTF from the FDA regarding its recently submitted NDA for Ozanimod.

  Celgene’s press release stated:

         [U]pon its preliminary review, the FDA determined that the nonclinical and clinical
         pharmacology sections in the NDA were insufficient to permit a complete review.
         Celgene intends to seek immediate guidance, including requesting a Type A
         meeting with the FDA, to ascertain what additional information will be required to
         resubmit the NDA.

         490.    In response to the Company’s disclosure on February 27, 2018, the price of Celgene

  common stock fell by $8.66 per share—more than 9%—from a close of $95.78 on February 27,

  2018 to a close of $87.12 on February 28, 2018, on abnormally heavy trading volume of 27.9

  million shares. This disclosure wiped out more than $6.5 billion in market capitalization.

         491.    Analysts responded immediately and negatively to this news, expressing shock and

  disappointment, particularly given management’s recent positive commentary on Ozanimod. On

  February 27, 2018, for example, Raymond James reported that the market “didn’t see this one

  coming,” and called the RTF news an “unexpected development.” SeekingAlpha reported the same

  day that the news of Celgene’s RTF was “hard to accept as a reality” because receiving such a

  refusal to file letter from the FDA is “almost unheard of for a major company.” Credit Suisse

  similarly reported that “we are disappointed by the timing delay related to the filing, and we think

  that this will continue to further concerns associated with management execution.”



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         492.      Reflecting on the critical implications the RTF would have for Celgene, RBC

  Capital Markets reported on February 27, 2018 that “given that [Celgene] will be requesting a

  Type A meeting with the FDA, it may be some time before there is additional clarity on the

  potential path forward. We view ozanimod as one of the most, if not the most, important pipeline

  programs for CELG[.]”

         493.      Other analyst firms also reported on February 27, 2018 that the RTF raised

  questions about Celgene’s ability to diversify away from Revlimid. For example, PiperJaffray

  reported that:

         It’s been a rough couple of months [for Celgene].                  GED0301 failure
         notwithstanding, this isn’t the first execution-related hurdle that I&I franchise has
         faced, with Otezla routinely falling short of expectations and the timeline for
         ozanimod in UC also recently delayed [], only raising more questions regarding
         CELG’s efforts to diversify away from Revlimid.

         494.      Despite Celgene’s disclosure of the RTF and the related stock price decline, the

  price of Celgene common stock remained artificially inflated as Defendants continued to conceal

  material information from investors concerning the testing required to address the Metabolite and

  how that testing would affect the timeline for submitting the revised NDA.

                          (b)    April 29, 2018: Investors Learn that the Resubmission of the
                                 NDA will be Delayed up to Three Years

         495.      After almost two months of speculation surrounding the RTF, on April 25, 2018,

  in a presentation of Phase III Ozanimod Multiple Sclerosis data at an AAN meeting, a Celgene

  investigator disclosed new information about a “major active metabolite” of Ozanimod

  (CC112273), which, in fact, is behind the vast majority of Ozanimod’s efficacy. Specifically, the

  investigator disclosed that Celgene first identified the Metabolite in a human mass balance study

  conducted in parallel with the Phase III Ozanimod trials, that the Metabolite levels were much




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  lower in the animal species used in the non-clinical studies than in humans, and that the Metabolite

  is responsible for approximately 90% of Ozanimod’s clinical activity.

         496.    Despite Celgene’s disclosure of the Metabolite on April 25, 2018, the price of

  Celgene common stock remained artificially inflated as Defendants continued to conceal material

  information from investors concerning the testing required to address the Metabolite and how that

  testing would affect the timeline for submitting the revised NDA.

         497.    The market’s initial response to this news was mixed, as analysts tried to digest

  what it meant for Celgene and investors. For example, Morgan Stanley issued an analyst report

  after the close of trading on April 25, 2018 that concluded that the “Disclosure of active metabolite

  for Ozanimod is a net positive as it suggests the FDA RTF is due to lack of characterization of the

  metabolite.” The analyst added that “[w]ith mgt. indicating it will provide an update with earnings

  and highlighting this disclosure at AAN, we suspect many investors will view this positively . . . .”

  As a result, Morgan Stanley wrote that it “would expect to see CELG up in the low-to-mid single

  digit % on the news.”

         498.    The next day, April 26, 2018, RBC Capital Markets reported that “[t]hough we still

  do not know the exact reasons CELG received an RTF, the fact pattern suggested by yesterday’s

  new details strongly indicates [the RTF] likely relates to some FDA discomfort around the

  characterization of this metabolite []” but that “[w]hether this can be quickly rectified, perhaps

  with add’l clinical characterization remains the key question and the key unknown.”

         499.    The ambivalence came to an end on Sunday, April 29, 2018, after Morgan Stanley

  issued a strongly negative report based on its detailed review of certain obscure data related to

  Ozanimod’s other metabolites. Morgan Stanley’s April 29, 2018 report entitled, “More Bread

  Crumbs Yield Less Confidence in Ozanimod,” stated that its “analysis of prior ozanimod pre-



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  clinical studies suggest [that] CC112273 concentrations in prior pre-clinical work is unlikely to

  approximate human clinical doses” and, “[t]herefore we believe it is increasingly likely mgt. will

  need to complete new preclinical work on CC112273 setting up a 1 to 3 year delay.”

          500.     The Morgan Stanley analysts explained that their analysis was only made possible

  after they “were able to locate copies of [] posters over the weekend [April 28 and 29]” containing

  the “previously published ozanimod preclinical toxicology results and studies of [the two] known

  metabolites,” i.e., other than CC112273. The posters established that the two previously identified

  metabolites produced levels in the animal studies that were just above the human therapeutic dose

  and therefore approximated the human dose. The analysts further explained that, based on their

  review of FDA guidance on metabolites, “the only way for mgt. to avoid synthesizing CC112273

  and re-running preclinical [i.e., Phase I] toxicology [i.e., engaging in protracted testing] was by

  having exposure of CC112273 in animals equivalent to the human therapeutic dose” so that

  Celgene could simply recycle the prior testing used on the known metabolites. However, as

  Morgan Stanley explained, a “1 to 3 year delay” in completing the requisite testing was

  unavoidable given the significantly higher levels of the Metabolite in humans compared to

  animals. Morgan Stanley referred to its “prior review of FDA guidance on metabolites” and

  stressed that:

          However, given that mgt. indicated ‘CC112273 levels were much lower . . . in the
          animal species used in the non-clinical studies than the amount produced by
          humans’ and that our calculations suggest the prior set of identified (and thus
          studied metabolites) produced levels barely above the human therapeutic dose,
          we believe it is increasingly unlikely CC112273 produced levels near the human
          therapeutic dose in the prior preclinical work. Thus, mgt. will likely need to re-
          run preclinical toxicology which could take 6 months (rats) to 2 years (another
          carcinogenicity study). Given the timeline to start the study, produce the study
          reports and refile, we believe the delay is at a minimum 1 year and up to 3 years
          if mgt. must redo all animal work.



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  The bolding and italics above appeared in the original Morgan Stanley April 29, 2018 report, to

  emphasize the importance of this text to its readers.

         501.    Celgene’s stock price fell on the news of the significant additional testing required

  from Celgene and the significant delay for Ozanimod approval as a result of the Company’s

  premature submission of the NDA. Specifically, Celgene’s common stock dropped from a close

  of $91.18 on April 27, 2018 to close at $87.10 on April 30, 2018, a 4.5% decline that wiped out

  approximately $3 billion in market capitalization.

         502.    Analysts attributed this decline to the revelations that resulted from Morgan

  Stanley’s detailed, specialized analysis and digestion of Celgene’s informationally-complex AAN

  disclosure. For example, The Motley Fool wrote on April 30, 2018 that: “[S]hares of Celgene lost

  4.5%. The biotech giant got negative comments from analysts at Morgan Stanley, who predicted

  that it could take several years for Celgene to move forward with plans to file for approval from

  the U.S. Food and Drug Administration for its multiple sclerosis candidate drug ozanimod.”

  Similarly, Citywire reported on the same day that “Celgene shares fell 4.5% after Morgan Stanley

  said it expects a delay of up to three years for Celgene’s key multiple sclerosis drug, ozanimod.”

  Likewise, Marketwatch reported on this date that “Celgene Corp. . . . fell 4.5% after a Morgan

  Stanley report predicted a one- to three-year delay on any new attempt to file for U.S. approval of

  the company’s highly anticipated drug ozanimod, which is designed to treat multiple sclerosis.”

         503.    As a result of Defendants’ misstatements and omissions, which were corrected by

  the disclosures discussed above, in total, the price of Celgene common stock ended the Class

  Period at $87.10, more than 40% below its Class Period high of $146.52 on October 4, 2017.

  VII.   ADDITIONAL ALLEGATIONS OF SCIENTER

         504.    Celgene and the Individual Defendants were active and culpable participants in the

  fraud, as evidenced by their knowing or reckless issuance of and/or control over Celgene’s and the

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  Individual Defendants’ materially false and misleading statements and omissions. Celgene,

  through its management and other senior level employees, and the Individual Defendants acted

  with scienter in that they knew or recklessly disregarded that the public statements set forth in

  Section V above were materially false and misleading when made, and knowingly or recklessly

  participated or acquiesced in the issuance or dissemination of such statements as primary violators

  of the federal securities laws. In addition to the facts alleged in Section IV above, regarding

  Celgene’s and the Individual Defendants’ personal knowledge and/or reckless disregard of the

  materially false misrepresentations and omissions, Celgene’s and the Individual Defendants’

  scienter is evidenced by the specific facts discussed below.

         A.       Defendants’ Knowledge and Reckless Disregard of Misstatements
                  Regarding GED-0301, Otezla, and Ozanimod

         505.    Defendants were directly involved in and participated in both the management and

  day-to-day operations of the Company at its highest levels. Accordingly, as detailed below,

  Defendants each had access to detailed information concerning the Company’s I&I franchise

  generally, and GED-0301, Otezla, and Ozanimod, specifically. This information was transmitted

  and learned through meetings, reports and other regular communications, as detailed by numerous

  confidential witnesses.

                1.       GED-0301

         506.     Celgene’s and the Individual Defendants’ scienter with respect to the misstatements

  and omissions regarding the evidence of GED-0301’s efficacy, the design and results of the Phase

  II and Phase Ib studies, and the timeline for its regulatory approval is evidenced by the following

  facts, among others:




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                       (a)     Defendants knew or recklessly disregarded severe deficiencies
                               in the pre-acquisition data supporting GED-0301’s efficacy

        (i)     Defendants secretly acknowledged the limited evidence of GED-0301’s
        efficacy. FE 1 stated that after entering into the licensing agreement, he
        communicated with members of Celgene’s senior management about the
        limitations of the pre-acquisition Phase II data, including Smith or Diamond, and
        that Celgene’s senior management acknowledged the limitations of the Phase II
        data. ¶ 122.

        (ii)    FE 1 stated that the Advisory Board agreed on the need for endoscopic
        evidence and the limitations of the Phase II study, and that the need for endoscopic
        testing was communicated by him to the Celgene representatives who participated
        in the pre-acquisition due diligence conference calls. As a result, FE 1 stated that
        Celgene was “absolutely” aware of the limited evidence of GED-0301’s efficacy
        based on the Phase II data. ¶¶ 118-122.

        (iii) FE 2 recalled that in or around mid-2015 there were ongoing meetings
        among the GED-0301 development team, including with Usiskin, about the
        limitations of the GED-0301 Phase II study data, including the lack of endoscopic
        evidence. ¶ 142. FE 2 stated that based upon the Phase II clinical trial data, it was
        “irresponsible” for Defendants to claim that GED-0301 was “transformational.”
        ¶ 129. FE 2 recalled “a lot of discussion” within Celgene that the Company had
        paid too much for GED-0301 given the limited evidence of GED-0301’s efficacy.
        ¶ 128.

        (iv)    FE 4 stated that, based on discussions with other scientists and
        investigators within Celgene concerning the pre-acquisition GED-0301 data,
        “everybody [within Celgene] knew the acquisition was a poor science decision”
        because the data that was used to justify it lacked endoscopic evidence of efficacy.
        ¶ 126.

        (v)     FE 1 stated that after the publication of the NEJM editorial, the GED-0301
        Advisory Board discussed the limitations in the Phase II study identified by Dr.
        Vermeire and communicated those views to Celgene, and Celgene acknowledged
        the limitations of the study data. ¶¶ 140-141.

        (vi)    The prevailing scientific literature at the time Celgene licensed GED-0301,
        of which Defendants were no doubt aware, recognized that endoscopic evidence
        is necessary to properly assess the efficacy of a treatment for CD when compared
        to placebo. ¶ 119.

        (vii) FE 1 and FE 3 both stated that endoscopic evidence was viewed as the
        primary measure of efficacy in clinical trials for CD treatments, and that regulatory


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        bodies, including the FDA, had made clear that they would not accept proof of
        efficacy that did not include endoscopic testing. ¶¶ 119, 125.

        (viii) FE 2 confirmed that it was understood internally at Celgene that the FDA
        viewed endoscopic evidence as necessary to demonstrate efficacy, as this guidance
        was considered in designing the GED-0301 Phase III trial. FE 2 also believed that
        Celgene was specifically advised by the FDA of the need for endoscopic endpoints
        in order to support claims of efficacy. ¶ 121.

        (ix)    FE 2 stated that internally at Celgene there was doubt and confusion
        concerning GED-0301’s mechanism of action. FE 2 described a multi-disciplinary
        project meeting in or about March 2016 in which it was discussed that, based on
        experiments conducted by Celgene, the mechanism of action as described by
        Nogra at the time of the acquisition was not correct. ¶ 154.

        (x)     FE 2 also stated that there was skepticism within Celgene about whether
        the GED-0301 delivery mechanism worked, explaining that because the drug was
        an oral therapy and not systemically absorbed by the body, it had to dissolve at
        just the right spot in the gastrointestinal system to be effective, and it was unclear
        whether that happened. ¶ 155.

                       (b)     Defendants knew of or recklessly disregarded additional red
                               flags concerning the Phase II data

        (i)     Defendants knew or recklessly disregarded that Monteleone, who was the
        lead researcher for the Phase II study, held a patent for the use of Smad7 antisense
        oligonucleotides in CD and stood to personally profit if GED-0301 was successful.
        ¶ 131.

        (ii)    FE 2 stated that it was internally recognized by Celgene employees who
        were working on GED-0301 that the pre-acquisition data was “suspicious.” ¶ 128.
        FE 2 also recalled conversations within Celgene regarding the fact that Monteleone
        had a large personal financial interest in GED-0301. ¶ 131.

                       (c)     Defendants designed a deficient Phase Ib study, and knew or
                               recklessly disregarded the lack of GED-0301’s efficacy
                               following the release of the flawed Phase Ib results

        (i)    FE 1 stated that Celgene’s decision to conduct the Phase Ib study reflected
        the Company’s awareness of the limitations of the Phase II study. Despite the
        Advisory Board’s warnings to Celgene that the existing data did not support GED-
        0301 efficacy, FE 1 stated that Celgene “chose not to install adequate controls” in
        the Phase Ib study and that the decision not to include a control arm was a
        “corporate decision,” not a science-driven decision. ¶ 167.


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        (ii) FE 1 discussed the Phase Ib study’s lack of a control arm with other IBD experts
        who worked with Celgene, all of whom shared FE 1’s concerns about the
        limitations of the Phase Ib study results. These discussions confirmed FE 1’s belief
        that the Phase Ib study was flawed and that Celgene chose not to install adequate
        controls when designing the Phase Ib study. ¶¶ 168-169.

        (iii) FE 4 noted that patients with CD often relapse and remit without any
        treatment, and stated that it was known internally at Celgene that the lack of a
        control arm in the Phase Ib trial meant that the results did not support Celgene’s
        claims regarding GED-0301’s efficacy. ¶ 173.

        (iv)    FE 5 raised concerns with Martin, Diamond, and others within Celgene
        about the flawed Phase Ib study design, stating that the claimed efficacy was “not
        real” without a placebo control group. FE 5 noted that the senior Celgene
        employees with whom he spoke refused to engage substantively about the lack of
        evidence of GED-0301’s efficacy. As a result of raising these concerns, FE 5 was
        subject to hostile treatment, contributing to his leaving the Company. ¶¶ 175-177.

        (v)      FE 3 informed Celgene that there was no endoscopic response observed at
        his testing site and stated that his peers also did not see any robust results. ¶ 172.

                       (d)     Defendants were aware that the Phase III clinical trial was
                               going to be unsuccessful at the time they touted GED-0301’s
                               timeline for regulatory approval

        (i)    FE 4 stated that Celgene had effectively given up on GED-0301 after the
        Phase Ib study, recalling that between the time the Phase Ib data was released in
        September 2016 and the time the Phase III trial was discontinued in October 2017,
        GED-0301 was not mentioned during internal quarterly review meetings with
        Celgene’s Vice Presidents, stating that it was unusual for one of the Company’s
        major development-stage drugs not to be discussed in such meetings. ¶ 187.

        (ii)   FE 5 confirmed that internally, by March or April of 2017, it was very clear
        that Celgene had recognized that GED-0301 would be a failure, as during this
        timeframe, Celgene shifted its focus to Ozanimod as a first line therapy for CD.
        Furthermore, Martin, Kopicko, and Saillot were frantically pushing the Ozanimod
        CD team to show better efficacy for CD than GED-0301, going so far as to
        manipulate the testing protocol for the ongoing Ozanimod CD clinical trial in order
        to boost Ozanimod’s apparent efficacy. ¶¶ 188-191.

        (iii) FE 4 stated that approximately four months prior to Celgene’s October 2017
        announcement of its discontinuation of Phase III testing, he was told by Horan, a
        Principal Investigator at Celgene who was in a position to access the information



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         regarding the ongoing Phase III GED-0301 trial, that the trial was going to be
         “scrapped.” ¶¶ 192-193.

         (iv)    FE 6 was similarly informed by a Celgene colleague in the summer of 2017
         that the GED Phase III clinical trial would be discontinued. Specifically, in August
         2017, FE 6’s colleague attended a meeting among Celgene’s RMLs and MSLs in
         Chicago, which Defendant Callegari and Diamond also attended, and during this
         meeting it was discussed that the GED-0301 Phase III trial would not be successful.
         ¶ 194.

                2.          Otezla

         507.        Celgene’s and the Individual Defendants’ scienter with respect to the misstatements

  and omissions regarding the unreasonableness and unattainability of the Company’s 2017 Otezla

  sales guidance is evidenced by the following facts, among others:

                            (a)      Smith, Curran and others in senior management were warned
                                     that the 2017 Otezla sales guidance could not be met and
                                     should be lowered

         (i)     FE 7 repeatedly warned Defendant Smith that the Company’s strategy of
         offering deep discounts and rebates for Otezla was fatally flawed and rendered it
         “impossible” for the Company to achieve the 2017 Otezla guidance. ¶ 250. As
         early as the Otezla launch, FE 7 informed Smith—who had the final say with regard
         to Otezla and Market Access decisions—that he would be destroying the “best
         price” for the drug by offering large rebates and discounts, thereby setting Otezla
         up for consistently depressed net revenues going forward. ¶¶ 212-214.

         (ii)   FE 7 wrote multiple emails to Celgene’s senior executive management,
         including Smith, documenting his concerns about the discounts and rebates that
         Celgene was offering for Otezla. ¶ 215. FE 7 also told Smith that Celgene should
         never “pay to play”—i.e., offer rebates and deep discounts in exchange for market
         access—as that would prevent Celgene from maximizing its profits. ¶ 215.

         (iii) According to FE 14 and FE 12, Celgene’s management had access to Otezla
         sales data that Celgene received from IMS through Tableau. This data reflected
         straight volume, volume growth, number of prescriptions by territory, number of
         prescriptions by provider, and number of prescriptions attributed to each
         salesperson. ¶ 219. Sales representatives from across the country all reported that
         sales of Otezla, which were reflected in Tableau, were steady to flat from 2014
         through 2017. ¶¶ 218-219.




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        (iv)   No later than the third quarter of 2016, Tessarolo communicated in weekly
        meetings with the IIEC, which included Defendants Smith and Curran, that the
        2017 Otezla guidance could not be met. ¶ 236.

        (v)    During presentations in the third and fourth quarters of 2016, FE 17 and his
        team informed the IIEC that the 2017 Otezla sales guidance could not be met. FE
        17 recounted that “everyone knew that the actual stated forecast was not
        reasonable” and could not be met. ¶ 235-237.

        (vi)   In the fourth quarter of 2016, FE 17 expressly advised the IIEC that the
        Otezla sales guidance should be lowered. ¶ 237.

        (vii) By the end of 2016, Tessarolo again warned the IIEC of the need to lower
        the 2017 Otezla sales guidance, but the IIEC insisted that the forecasts would not
        be changed. ¶ 237.

        (viii) The forecasting team was “told to change” the numbers (i.e., the internal
        forecasts) by Smith and Curran to conceal the lack of growth. ¶ 238.

        (ix)   According to FE 17, Defendants refused to lower the Otezla guidance per
        his warnings and instead put pressure on the salespeople to hit the impossible
        numbers. ¶ 241.

        (x)    FE 18 indicated that the aggressive Otezla guidance did not account for the
        introduction of new competition to the PA and psoriasis market and that CPMAC
        knew of, but simply ignored, this factor. ¶ 240.

                       (b)     Multiple former employees confirmed that Defendants knew
                               that 57% year-over-year growth in Otezla net product sales
                               between 2016 and 2017 was unachievable.

        (i)     FE 19 stated that in late 2016, when Defendant Smith was assessing the
        2017 Otezla market access information that FE 19’s team put together and setting
        the sales targets, the market did not support anything close to the 57% growth
        Defendants told the public. ¶ 246. According to FE 19, there was no way
        Defendant Smith could have interpreted what his Market Access team was
        reporting and translated that into 57% sales growth for Otezla in 2017. ¶ 247.

        (ii)     FE 17 stated that as early as April 2016, the rebates due on existing Otezla
        prescriptions covered by “underwater” PBM contracts were “significant.” ¶ 248.
        In light of these outstanding rebates, FE 17 stated that Celgene management should
        have given a warning to investors in the fourth quarter of 2016 because the IIEC
        knew about the rebate issue and the impact that it was going to have on the
        Company’s 2017 Otezla revenues. ¶ 248.

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        (iii) In anticipation of a planned 2017 price increase for Otezla, Celgene’s
        management acceded to the requests of many wholesalers to purchase in December
        2016 the quantities of Otezla they were slated to purchase in January 2017, in order
        to take advantage of the lower price. ¶ 249. This buy-in negatively and foreseeably
        impacted Otezla sales in the first quarter of 2017. ¶ 249.

        (iv)    FE 17 learned from Tessarolo that he had given a presentation to the IIEC
        in early 2017 concerning the disappointing Otezla sales and had warned the IIEC
        that the Company needed to downgrade its 2017 Otezla guidance. ¶ 252. However,
        rather than heed Tessarolo’s warning, Defendant Smith cut him off, stating that he
        had heard enough of the negative information. ¶ 259.

        (v)   FE 7, added that “there isn’t any way to grow [Otezla] revenue by 57%.”
        FE 7 was very vocal to senior management and specifically told them that Otezla’s
        growth could not continue because of the step-edit hurdles and the saturation of
        competitor drugs in the market. FE 7’s warnings, however, were ignored.

                       (c)    Defendants lacked a reasonable basis for representing that new
                              PBM contracts and the removal of step-edits would help the
                              Company hit the 2017 Otezla sales guidance

        (i)    In November or December of 2016, FE 7 met with Grausso, Curran,
        Tessarolo, Swartz, Willcox and Owen and again warned these executives that
        paying to remove the step-edits for Otezla was not a cure for the drug’s broad-based
        market access challenges. ¶ 257.

        (ii)    Even though the Company entered into new PBM contracts that went into
        effect in 2017, Celgene did not recognize revenues from prescriptions for many
        patients covered by these contracts until months later. ¶ 260. FE 18 stated that it
        was clear from the beginning of 2017 that the new PBM contracts were not meeting
        revenue expectations. ¶ 261. FE 18 communicated this fact to his boss, Swartz,
        and she reported this information to the CPMAC. ¶ 261. According to FE 18,
        notwithstanding the data showing that the contracts were underperforming, Celgene
        refused to lower expectations for the PBM contracts. ¶ 261.

        (iii) FE 18 confirmed that the market for Otezla did not change rapidly in 2017:
        “We saw what was happening way before then. We had monthly meetings with
        the contract and pricing teams . . . very early on in 2017” and there was “worry”
        and “concern” at these meetings. As FE 18 further stated: “We were in trouble
        with our Otezla contracts. You heard that from a lot of the pricing and contract
        people.” ¶ 265.




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                3.       Ozanimod

         508.     Celgene’s and the Individual Defendants’ scienter with respect to the misstatements

  and omissions regarding the submission of the Ozanimod NDA and the status of the Company’s

  Ozanimod clinical development, is evidenced by the following facts, among others:

                         (a)     Upon acquiring Receptos, Celgene exercised control and
                                 decision-making authority over Receptos and Ozanimod

         (i)    FE 20 explained that once Celgene agreed to acquire Receptos on July 14,
         2015, all decisions were made by Celgene in New Jersey or on-site Celgene
         personnel. ¶ 272.

         (ii)  FE 21 stated that after the July 14, 2015 acquisition, Celgene did not allow
         Receptos’ leadership to partake in any decisions that could potentially impact
         Celgene’s stock price. ¶ 272.

         (iii) FE 2 recalled that Martin, who FE 2 described as a “control freak” and
         Smith’s right-hand man, was sent by Celgene to San Diego to serve as the
         Managing Director for Receptos. ¶ 273. FE 2 referred to Martin as the de facto
         chief executive of Receptos. ¶ 273.

         (iv)   FE 5 likewise described Martin as the CEO of Receptos after the acquisition
         and confirmed that Martin was in charge of the entire Receptos organization and
         reported directly to Smith. ¶ 273. FE 5 also recounted that Smith sent Gary Cline,
         Head of Strategic Research and Innovation, to San Diego to keep tabs on Ozanimod
         for him. ¶ 274.

         (v)   FE 22 further corroborated that Martin reported directly to Smith and Saillot
         was Martin’s second in command. ¶ 274.

                         (b)     Defendants knew that the Metabolite required additional
                                 testing prior to submitting the NDA, and that the NDA was
                                 deficient upon submission

         (i)     On November 21, 2016, Celgene completed the Mass Balance Study and
         identified the Metabolite. ¶ 297. FE 20 confirmed that the Metabolite was
         discovered during this study. ¶ 298. FE 21 similarly recalled that Celgene
         identified the Metabolite approximately one year before the Ozanimod NDA was
         submitted in December 2017. ¶ 298.

         (ii)   FE 21, who had first-hand knowledge of the Metabolite, discussed the
         discovery with Martin and noted that it was of great concern. ¶ 299. In response,

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        Martin told FE 21 not to tell anyone about the Metabolite discovery and that Martin
        would tell him who needed to know and send people to him to work on the
        Metabolite. ¶ 299.

        (iii) FE 21 stated that the employees in his role and Martin’s role at Celgene
        knew about the Metabolite discovery. ¶ 299. FE 21 also stated that Celgene’s
        senior leadership was briefed on the discovery of the Metabolite and the ongoing
        characterization efforts “quite some time before the filing” of the NDA. ¶ 303.

        (iv)   FE 5 recalled that during an Ozanimod meeting in March or April of 2017,
        Defendant Tran confirmed the need for additional testing and studies of the
        Metabolite. ¶¶ 304-305. FE 5 confirmed that Martin, Saillot (who reported to
        Martin), Frohna (Vice President of Clinical Development and Translational
        Medicine, Receptos who reported to Martin), Kopicko (Executive Director of
        Biometrics, Receptos, who reported to Martin), Penenberg (Director, Receptos,
        who reported to Kopicko), Aranda (Vice President of Clinical Development,
        Receptos, who reported to Martin), Skolnick (Executive Director of Clinical
        Development, Receptos, who reported to Aranda), and others attended this
        March/April 2017 meeting. ¶ 304.

        (v)     FE 5 further recalled that at this March/April 2017 meeting Tran directed
        his comments concerning the Metabolite to Martin and Saillot, but that Martin and
        Saillot quickly shut down the conversation. ¶ 305.

        (vi)   FE 21 stated that he and his colleagues discussed the need to perform
        additional testing after finding the Metabolite and the working team in “clinpharm”
        advocated that if Celgene submitted the NDA, it would get a refusal to file. FE 21
        confirmed that this was said to his direct management. ¶ 314.

        (vii) FE 21 and his colleagues agreed that the Company should wait to complete
        testing on the Metabolite before submitting the NDA as there was no empirical
        reason to submit without it. ¶ 313. He was never provided any reason why Celgene
        was rushing to submit when it was clear that more work was required. When he
        expressed his feelings to his leaders he was told to keep his personal feelings to
        himself. ¶ 313.

        (viii) According to FE 22, in November 2017, Celgene met with the FDA for a
        pre-NDA meeting. ¶ 316. FE 22 stated that during this pre-NDA meeting, the FDA
        told the Company: (i) the FDA needed the study results for the Metabolite; (ii) the
        results were very important; and (iii) the results had to be included in the Ozanimod
        NDA. ¶ 317.

        (ix)  As detailed above, ¶¶ 282-292, federal regulations and FDA guidance,
        which Defendants were required to follow, had a duty to monitor, and must have


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        known about: (i) stress the importance of testing for metabolites before filing an
        NDA; (ii) require additional testing of metabolites where the results between human
        and animal testing differ; and (iii) mandate that NDAs address drug metabolism.

        (x)     Celgene’s receipt of the RTF is additional evidence of Defendants’ scienter
        because: (i) according to the FDA, “an RTF is based on omissions of clearly
        necessary information (e.g., information required under the statute or regulations)
        or omissions or inadequacies so severe as to render the application incomplete on
        its face” (¶¶ 324-325); (ii) only 45 RTFs have been issued between December 31,
        2001 and February 28, 2018 (¶ 326); and (iii) at least one market analyst noted that
        companies like Celgene “do not make execution mistakes like the one [involving
        the Ozanimod NDA]” (¶ 326).

        (xi)    Celgene admitted after the fact (in June 2018) that the NDA was facially
        deficient upon submission when it blamed Receptos for the NDA filing. ¶ 337.

        (xii) FE 21, FE 22, and FE 2 all rejected the idea that the deficient NDA was
        submitted without the approval of Celgene’s leadership, ¶¶ 339-340; and Hasnain,
        the former CEO of Receptos, and Frohna, the former Vice President of Clinical
        Development and Translational Medicine at Receptos, publicly stated that Celgene
        was responsible for filing the NDA. ¶ 338.

                       (c)    Defendants were motivated to file the NDA for Ozanimod in
                              late 2017 without the necessary Metabolite testing

        (i)     Defendants were motivated to submit the NDA in late 2017, rather than wait
        to complete the necessary Metabolite testing, because Gilenya was set to lose its
        patent exclusivity, paving the way for Gilenya generics that would compete with
        Ozanimod to enter the RMS market by the end of 2019. By submitting the NDA
        in late-2017 for early-2018 approval, Celgene sought to gain a year’s worth of
        market share for Ozanimod before having to fend off cheaper competition from
        generics. ¶¶ 279-280.

        (ii)   Defendants also were motivated to hide the results of the Mass Balance
        Study, as they demonstrated that the Metabolite’s half-life was much longer than
        Gilenya’s, thereby wiping out a previously reported advantage of Ozanimod.
        ¶¶ 302, 320, 333.

        (iii) Defendants also were financially motivated to submit the NDA in 2017.
        ¶ 321. FE 22 stated that both Martin and Saillot received bonuses for submitting
        the Ozanimod NDA by year-end 2017. ¶ 321. FE 20 confirmed that the
        compensation for the Celgene and Receptos personnel, including Martin, was tied
        to the Ozanimod NDA filing, and that the higher you went up the corporate chain,
        the greater the amount of compensation tied to the NDA filing. ¶ 321.


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         (iv)    Celgene’s annual proxy statement on Form DEF 14A, filed with the SEC
         on April 27, 2017, disclosed that Defendants Hugin, Alles, Kellogg and Smith were
         all entitled to performance awards based in part on the “filing of a new drug
         application.” ¶ 321. Hugin, Alles, Kellogg and Smith received lucrative
         performance awards for 2017 of $2,175,000, $2,144,623, $800,352, and $629,125,
         respectively, along with company stock. ¶ 321.

         B.      The I&I Franchise was One of Celgene’s Core Operations

         509.    Celgene’s I&I franchise—which consisted of commercial stage Otezla and pipeline

  drugs Ozanimod and GED-0301—was one of the Company’s core operations during the Class

  Period. As discussed above (see ¶¶ 99-103), Celgene devised a three-pronged plan to develop and

  market three I&I drugs—GED-0301, Otezla, and Ozanimod—in an attempt to replace the

  Company’s revenue stream from its extremely successful cancer drug, Revlimid.

         510.    The first prong of Celgene’s Revlimid replacement plan centered around GED-

  0301, which Celgene purchased from Nogra for $710 million upfront in addition to committing

  nearly $2 billion more in milestone payments—the largest single-drug acquisition in

  pharmaceutical history. The second prong was Otezla, which Celgene described as its “flagship

  product” driving the I&I franchise’s success. Indeed, Celgene noted that the Company was

  “dependent upon the continued commercial success of . . . Otezla.” The third prong focused on

  Celgene’s acquisition of Receptos and with it, Ozanimod, a development-stage drug that was

  described by one commenter as “the crown jewel of Celgene’s $7.2 billion acquisition of Receptos,

  Inc.” Following the Receptos acquisition, Celgene revised its 2020 revenue guidance for the I&I

  franchise up from $3 billion to over $4 billion. Based on the importance of the three drugs to

  Celgene’s business, Defendants must have been aware of all material facts affecting their revenue

  generation potential.

         511.    Defendants’ own statements confirm that they paid particularly close attention to

  the status of each drug. Throughout the Class Period, Defendants repeatedly acknowledged the


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  importance of GED-0301, Otezla, and Ozanimod to Celgene’s success.                 For example, in

  announcing the Receptos acquisition, Celgene noted that its “I&I pipeline will, upon completion

  of the [Receptos] transaction, consist of three high-potential commercialized or late-stage assets:

  OTEZLA, GED-0301 and Ozanimod.” Celgene also touted all three drugs as being among the

  Company’s “multiple potential blockbuster products in I&I,” which were the keys to replacing

  revenue when Revlimid lost its patent exclusivity:

         •   On July 23, 2015, Celgene touted GED-0301, along with Ozanimod and Otezla,
             as being among their “multiple potential blockbuster products in I&I” which
             were expected to lead the company towards “significant growth through 2020
             and beyond.”

         •   On January 9, 2017, Alles stated: “As we think about these catalysts between
             2020, 2030, and this window of affirming our 2020 targets, there are three
             launches coming. Otezla I have already talked about; . . . But Ozanimod in
             relapsing MS, GED-0301 in Crohn’s disease, and then again Ozanimod in
             ulcerative colitis, a three-year run here of fantastic opportunity for us to create
             a multi-billion-dollar add on to our current product portfolio.”

         •   On May 31, 2017, Alles stated that “the 3 products, OTEZLA, ozanimod and
             GED-0301, . . . that revenue alone, that opportunity alone can offset all of not
             the annual REVLIMID sales, right, but whatever the peak is. This is a
             replacement for it.”

         512.    The repeated statements made by the Individual Defendants throughout the Class

  Period touting the evidence of GED-0301’s efficacy and the timeline for its commercialization,

  reaffirming the 2017 Otezla sales guidance, and discussing the progress of Ozanimod toward NDA

  submission, strongly and plausibly suggest that each Defendant had detailed knowledge of or

  access to material facts and information misrepresented or concealed by Celgene’s and the

  Individual Defendants’ statements. In addition, the Individual Defendants’ repeated statements

  regarding these topics demonstrate that these were areas upon which the Individual Defendants

  were particularly focused, had a duty to monitor, and therefore knew or recklessly disregarded the

  omitted and misrepresented information.


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           C.       Defendants Were Financially Motivated to Conceal Material
                    Information from Investors

           513.     Individual Defendants Alles, Curran, and Hugin (the “Insider Trading Defendants”)

  were financially motivated to commit securities fraud and realized substantial financial benefits

  from their personal sales of Celgene stock at the same time that they and the Company

  misrepresented and concealed from investors Celgene’s material problems with GED-0301,

  Ozanimod, and Otezla.

           514.     At the same time that Celgene issued materially false and misleading statements to

  investors, the Insider Trading Defendants collectively sold 569,796 shares of their Celgene stock

  at artificially inflated prices as high as $143.89 per share, for illegal insider trading proceeds in

  excess of $68.4 million, and profits of at least $27.6 million. These sales are detailed in the chart

  below:

       Name       Date       Shares         Price         Proceeds         Cost per         Profit         % of
                              Sold                                          Share                         Shares
                                                                                                           Sold
   Alles        2/6/2015     117,099       $120.68       $14,131,156        Approx.        Approx.        67.30%
                                                                            $41.75       $9,242,272
   Curran 9/25/2017           1,727        $143.89        $248,498         Not publicly disclosed         30.56%

   Hugin        6/20/2016     75,000       $100.16       $7,512,000        Not publicly disclosed        27.4% 16
                7/28/2016    100,000       $110.00       $11,000,000       Not publicly disclosed
                11/9/2016    100,000       $120.00       $12,000,000       Not publicly disclosed
                6/22/2017     60,000       $134.14       $8,048,400         $29.26       $6,292,800



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           Prior to Hugin’s first Class Period sale, he held 1,197,201 shares of Celgene common stock. Through option
  exercises during the Class Period, at highly favorable prices, he acquired 450,970 additional shares of Celgene
  common stock in connection with the sales set forth herein. These option exercises increased his cumulative common
  stock holdings to 1,648,171 shares. The 27.4% figure represents the cumulative sale of those 450,970 shares divided
  by the cumulative holdings of 1,648,171 shares.


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                          60,000     $134.14     $8,048,400       $33.78     $6,021,600
                          55,970     $134.14     $7,507,815       $24.81     $6,119,200
                                        Total    $68,496,269


         515.    The Insider Trading Defendants’ sales of Celgene stock were suspicious in timing

  and amount.

         516.    As set forth above, Alles, Celgene’s President and COO, sold 117,099 shares of

  Celgene stock on or about February 6, 2015, at a price of $120.68, for total proceeds of $14.1

  million, and profits of approximately $9.2 million. This sale was suspiciously timed because it

  followed a significant run up in the price of Celgene stock following Celgene’s acquisition of

  GED-0301 on April 24, 2014, when Celgene stock traded for as low as $68.38 per share. Alles’

  sales were suspicious in amount because they represented 67.3% of his currently-held shares of

  Celgene common stock at that time. In addition, his sales were suspicious in amount because his

  approximately $9.2 million in profits from the sales were approximately 5.5 times greater than

  Alles’ 2015 total salary and bonus compensation ($1,669,907). Alles’ Class Period sales were also

  suspicious in timing and amount because Alles sold 15% more Celgene shares during the Class

  Period than during a period of similar length before the Class Period (the “Control Period”).

         517.    Curran, Celgene’s President of Inflammation & Immunology, sold 1,727 shares of

  Celgene stock on or about September 25, 2017, at a price of $143.89, for proceeds of $248,498.

  This sale was suspiciously timed because it occurred after Celgene secretly determined that the

  GED-0301 program would be discontinued, but before Celgene publicly disclosed that material

  adverse fact to the market on October 19, 2017. In response to that news, the price of Celgene

  stock fell to a price of $121.33 on October 20, 2017. Curran’s sale was also suspiciously timed

  because it occurred after Curran and other senior executives had been warned that the 2017 Otezla


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  sales guidance could not be met and should be lowered, but right before Celgene publicly disclosed

  the lowered guidance. Indeed, just weeks after Curran’s September 25, 2017 stock sale, on

  October 26, 2017, Celgene disclosed sharply disappointing financial results for Otezla and lowered

  its financial guidance as a result. In response to that news, the price of Celgene stock fell to $99.99

  on October 26, 2017. Curran’s sale was suspicious in amount because it represented 30.56% of

  her currently-held shares of Celgene common stock at that time. A comparison of these sales to

  Curran’s annual salary and bonus compensation is not possible at this time because her salary and

  bonus compensation is not publicly reported in Celgene Proxy Statements.               In addition, a

  comparison of Curran’s Class Period sales to her pre-Class Period sales is not possible at this time

  because her pre-Class Period sales are not publicly disclosed.

         518.    Hugin, Celgene’s Executive Chairman, sold 450,970 shares of Celgene common

  stock during the Class Period at artificially inflated prices ranging from $100.16 to $134.14, for

  total proceeds of $54.1 million and profits of at least $18.4 million. The cost basis for the 275,000

  shares that Hugin sold during the Class Period in June, July, and November 2016 is not publicly

  available, but his profits on just his sales of 175,970 shares of Celgene stock on June 22, 2017

  alone are $18.4 million. Hugin’s sales were suspicious in amount because his profits of at least

  $18.4 million from his June 2017 sales alone were approximately five times greater than his 2017

  salary and bonus compensation ($3.675 million).

         519.    Hugin’s June 22, 2017 sales of 175,970 Celgene shares were particularly suspicious

  in timing because they occurred at the time that: (i) Celgene secretly determined that the GED-

  0301 program would be discontinued, but before the Company announced its discontinuation on

  October 19, 2017; (ii) Defendants knew that Celgene was not going to meet its 2017 Otezla sales

  guidance, but before the Company announced the shortfall on October 26, 2017; and (iii)



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  Defendants knew that discovery of the Ozanimod Metabolite required extensive Phase I testing

  that would made it impossible to file a complete NDA in 2017, which materialized with

  announcements in February and April 2018 when the FDA rejected the Ozanimod NDA and the

  likely timetable for the missing Phase I testing was revealed, respectively. In addition, Hugin’s

  total Class Period sales were suspicious in amount because they represented 27.4% of his shares

  of Celgene common stock acquired and held during the Class Period after his June 20, 2016 sale.

  Hugin’s Class Period sales were also suspicious in timing and amount because Hugin sold nearly

  three times more Celgene shares during the Class Period than during the Control Period.

          520.    Celgene Form 4 filings with the SEC indicate that the Insider Trading Defendants’

  Class Period sales of Celgene common stock on February 6, 2015; June 20, 2016; July 28, 2016;

  November 9, 2016; and September 25, 2017 were made pursuant to Rule 10b5-1 trading plans.

  However, those public filings do not specify when the Insider Trading Defendants entered into

  those plans. Accordingly, based on the currently-available record, it is quite likely that the Insider

  Trading Defendants entered into their Rule 10b5-1 plans governing these sales at times when they

  were already in possession of material adverse non-public information, thus negating the ability of

  such plans to immunize the Defendants’ trades from securities liability.

          521.    Hugin’s remaining sales of 175,970 shares of Celgene common stock on June 22,

  2017 were apparently not made pursuant to a Rule 10b5-1 trading plan, and are therefore

  particularly suspicious because, in contrast to his June 20, 2016; July 28, 2016; and November 9,

  2016 sales, Hugin made these sales outside of a pre-determined Rule 10b5-1 trading plan.

          D.      Terminations of High-Ranking Personnel Are Probative of Scienter

          522.    The terminations and resignations of high-ranking executives, including certain of

  the Individual Defendants, during or shortly after the revelation of the alleged fraud, are further

  indicia of scienter.

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         523.   In June 2017—while Celgene employees internally acknowledged that the

  Company was likely to receive an RTF in light of its decision to push ahead with the Ozanimod

  NDA submission without including the results from the additional Metabolite studies—Fouse,

  who made repeated statements regarding the timeline for Celgene’s submission of the NDA,

  abruptly left Celgene. Fouse’s departure came just a year after she was promoted to President and

  COO of Celgene.

         524.   Swartz, the Vice President of U.S. Market Access, was terminated in November

  2017, one month after Celgene announced Otezla’s failure to meet its 2017 guidance. As discussed

  above (see ¶ 243), Swartz was forced out due to her pushback regarding the unachievable 2017

  Otezla guidance and Defendants’ repeated fraudulent statements reaffirming this guidance.

         525.   Smith, who was promoted from President of I&I to COO in April 2017, abruptly

  resigned one year later, in April 2018. Smith’s unexpected exit came just months after Celgene

  terminated its Phase III clinical trials for GED-0301, slashed its Otezla sales guidance, and

  disclosed that the FDA rejected Ozanimod’s NDA for failing to provide the required data regarding

  the Metabolite.

         526.   Within a few weeks of Smith’s resignation, George Golumbeski, Executive Vice

  President of Business Development, quietly resigned from his position on April 16, 2018. Notably,

  Golumbeski played a leading role in several of Celgene’s acquisitions, including the acquisitions

  of Receptos (and Ozanimod) and GED-0301.

  VIII. CLASS ACTION ALLEGATIONS

         527.   Lead Plaintiff bring this action on its own behalf and as a class action pursuant to

  Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of a class consisting of

  all persons and entities who purchased the common stock of Celgene from January 12, 2015

  through and including April 27, 2018, and were damaged thereby. Excluded from the Class are:

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  (i) Defendants; (ii) members of the immediate families of the Individual Defendants; (iii) the

  Company’s subsidiaries and affiliates; (iv) any person who is or was an officer or director of the

  Company or any of the Company’s subsidiaries or affiliates during the Class Period; (v) any entity

  in which any Defendant has a controlling interest; and (vi) the legal representatives, heirs,

  successors, and assigns of any such excluded person or entity.

          528.   The members of the Class are so numerous that joinder of all members is

  impracticable. During the Class Period, Celgene had more than 800 million shares of common

  stock outstanding and actively trading on the NASDAQ. While the exact number of Class

  members is unknown to Lead Plaintiff at this time and can only be ascertained through appropriate

  discovery, Lead Plaintiff believes that the proposed Class numbers in the thousands and is

  geographically widely dispersed. Record owners and other members of the Class may be identified

  from records maintained by the Company or its transfer agent and may be notified of the pendency

  of this action by mail, using a form of notice similar to that customarily used in securities class

  actions.

          529.   Lead Plaintiff’s claims are typical of the claims of the members of the Class. All

  members of the Class were similarly affected by Defendants’ alleged conduct in violation of the

  Exchange Act as complained of herein.

          530.   Lead Plaintiff will fairly and adequately protect the interests of the members of the

  Class. Lead Plaintiff has retained counsel competent and experienced in class and securities

  litigation.

          531.   Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. The questions

  of law and fact common to the Class include:



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         •   whether Defendants violated the federal securities laws by their acts and
             omissions as alleged herein;

         •   whether Defendants made statements to the investing public during the Class
             Period that contained material misrepresentations or omitted material facts;

         •   whether and to what extent the market price of Celgene’s common stock was
             artificially inflated during the Class Period because of the material
             misstatements and omissions alleged herein;

         •   whether Celgene and the Individual Defendants acted with the requisite level
             of scienter;

         •   whether the Section 20(a) Defendants were controlling persons of the
             Company;

         •   whether reliance may be presumed; and

         •   whether the members of the Class have sustained damages as a result of the
             conduct complained of herein and, if so, the proper measure of damages.

         532.    A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy because, among other things, joinder of all members of the Class

  is impracticable. Furthermore, because the damages suffered by individual Class members may

  be relatively small, the expense and burden of individual litigation make it impossible for members

  of the Class to individually redress the wrongs done to them. There will be no difficulty in the

  management of this action as a class action.

  IX.    THE FRAUD ON THE MARKET PRESUMPTION OF RELIANCE APPLIES

         533.    At all relevant times, the market for Celgene’s common stock was efficient for the

  following reasons, among others:

         (i)    Celgene’s common stock met the requirements for listing, and was listed
         and actively traded on the NASDAQ Global Select Market, a highly efficient and
         automated market;
         (ii)   As a regulated issuer, Celgene filed periodic public reports with the SEC
         and the NASDAQ Global Select Market;




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         (iii) Celgene regularly and publicly communicated with investors via
         established market communication mechanisms, including through regular
         disseminations of press releases on the national circuits of major newswire services
         and through other wide-ranging public disclosures, such as communications with
         the financial press and other similar reporting services; and
         (iv)    Celgene was followed by multiple securities analysts employed by major
         brokerage firms who wrote reports, which were distributed to the sales force and
         certain customers of their respective brokerage firms. Each of these reports was
         publicly available and entered the public marketplace. Indeed, more than nine
         hundred analyst reports on Celgene were published during the Class Period.
         534.    As a result of the foregoing, the market for Celgene’s common stock promptly

  digested current information regarding Celgene from all publicly available sources and reflected

  such information in the price of Celgene’s stock. Under these circumstances, all purchasers of

  Celgene’s common stock during the Class Period suffered similar injury through their purchase of

  Celgene’s stock at artificially inflated prices and a presumption of reliance applies.

         535.    Further, at all relevant times, Lead Plaintiff and other members of the putative Class

  reasonably relied upon Defendants to disclose material information as required by law and in the

  Company’s SEC filings. Lead Plaintiff and the other members of the Class would not have

  purchased or otherwise acquired Celgene common stock at artificially inflated prices if Defendants

  had disclosed all material information as required. Thus, to the extent that Defendants concealed

  or improperly failed to disclose material facts with regard to the Company and its business, Lead

  Plaintiff and other members of the Class are entitled to a presumption of reliance in accordance

  with Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 153 (1972).

  X.     THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTRINE
         ARE INAPPLICABLE

         536.    The Private Securities Litigation Reform Act’s statutory safe harbor and/or the

  “bespeaks caution doctrine” applicable to forward-looking statements under certain circumstances

  do not apply to any of the materially false or misleading statements alleged herein.


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          537.    None of the statements complained of herein was a forward-looking statement.

  Rather, each was a historical statement or a statement of purportedly current facts and conditions

  at the time each statement was made.

          538.    To the extent that any materially false or misleading statement alleged herein, or

  any portion thereof, can be construed as forward-looking, such statement was a mixed statement

  of present and/or historical facts and future intent, and is not entitled to safe harbor protection with

  respect to the part of the statement that refers to the present and/or past.

          539.    To the extent that any materially false or misleading statement alleged herein, or

  any portions thereof, may be construed as forward-looking, such statement was not accompanied

  by meaningful cautionary language identifying important facts that could cause actual results to

  differ materially from those in the statement or portion thereof. As alleged above in detail, given

  the then-existing facts contradicting Defendants’ statements, any generalized risk disclosures

  made by Defendants were not sufficient to insulate Defendants from liability for their materially

  false or misleading statements.

          540.    To the extent that the statutory safe harbor may apply to any materially false or

  misleading statement alleged herein, or a portion thereof, Defendants are liable for any such false

  or misleading statement because at the time such statement was made, the speaker knew the

  statement was false or misleading, or the statement was authorized and approved by an executive

  officer of Celgene who knew that such statement was false or misleading.

  XI.     CAUSES OF ACTION

                                             COUNT I
        For Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                  Thereunder Against Celgene and the Individual Defendants

          541.    Lead Plaintiff repeats and realleges each and every allegation set forth above as if

  fully set forth herein.

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         542.    This Count is asserted pursuant to Section 10(b) of the Exchange Act, and Rule

  10b-5 promulgated thereunder on behalf of Lead Plaintiff and all other members of the Class,

  against Celgene and the Individual Defendants.

         543.    As alleged herein, throughout the Class Period, Celgene and the Individual

  Defendants, individually and in concert, directly and indirectly, by the use of the means or

  instrumentalities of interstate commerce, the mails and/or the facilities of national securities

  exchanges, made materially untrue statements of material fact and/or omitted to state material facts

  necessary to make their statements not misleading and carried out a plan, scheme, and course of

  conduct, in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

  thereunder. Celgene and the Individual Defendants intended to and did, as alleged herein:

  (i) deceive the investing public, including Lead Plaintiff and members of the Class; (ii) artificially

  inflate and maintain the prices of Celgene’s common stock; and (iii) cause Lead Plaintiff and

  members of the Class to purchase the Company’s common stock at artificially inflated prices.

         544.    The Individual Defendants were individually and collectively responsible for

  making the materially false and misleading statements and omissions alleged herein and having

  engaged in a plan, scheme, and course of conduct designed to deceive Lead Plaintiff and members

  of the Class, by virtue of having made public statements and prepared, approved, signed, and/or

  disseminated documents that contained untrue statements of material fact and/or omitted facts

  necessary to make the statements therein not misleading.

         545.    As set forth above, Celgene and the Individual Defendants made the materially false

  and misleading statements and omissions and engaged in the fraudulent activity described herein

  knowingly and intentionally, or in such a deliberately reckless manner as to constitute willful




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  deceit and fraud upon Lead Plaintiff and the other members of the Class who purchased the

  Company’s common stock during the Class Period.

          546.    In ignorance of the materially false and misleading nature of Celgene’s and the

  Individual Defendants’ statements and omissions, and relying directly or indirectly on those

  statements or upon the integrity of the market price for Celgene’s common stock, Lead Plaintiff

  and other members of the Class purchased the Company’s common stock at artificially inflated

  prices during the Class Period. But for the fraud, Lead Plaintiff and members of the Class would

  not have purchased the Company’s common stock at such artificially inflated prices. As set forth

  herein, when the true facts were subsequently disclosed, the price of Celgene’s common stock

  declined precipitously, and Lead Plaintiff and members of the Class were harmed and damaged as

  a direct and proximate result of their purchases of the Company’s common stock at artificially

  inflated prices and the subsequent decline in the price of that stock when the truth was disclosed.

                                                COUNT II
                            For Violations of Section 20(a) of the Exchange Act
                                   Against the Section 20(a) Defendants

          547.    Lead Plaintiff repeats and realleges each and every allegation set forth above as if

  fully set forth herein.

          548.    This Count is asserted pursuant to Section 20(a) of the Exchange Act, on behalf of

  the Lead Plaintiff and all other members of the Class, against Defendants Alles, Kellogg, Smith,

  Curran, Hugin, and Fouse (the “Section 20(a) Defendants”).

          549.    As alleged above, the Company violated Section 10(b) of the Exchange Act and

  Rule 10b-5 promulgated thereunder by making materially false and misleading statements and

  omissions in connection with the purchase or sale of Celgene’s common stock and by participating

  in a fraudulent scheme and course of business or conduct throughout the Class Period. This

  fraudulent conduct was undertaken with scienter, and Celgene is charged with the knowledge and

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  scienter of each of the Individual Defendants who knew of or acted with deliberate reckless

  disregard of the falsity of the Company’s statements and the fraudulent nature of its scheme during

  the Class Period.

         550.    As set forth above, the Section 20(a) Defendants were controlling persons of the

  Company during the Class Period, due to their senior executive positions with the Company and

  their direct involvement in the Company’s day-to-day operations, including their power to control

  or influence the policies and practices giving rise to the securities violations alleged herein, and

  exercised the same. As such, the Section 20(a) Defendants had regular access to non-public

  information about Celgene’s business, operations, performance, and future prospects through

  access to internal corporate documents and information, conversations, and connections with other

  corporate officers and employees, attendance at management meetings and meetings of the

  Company’s Board and committees thereof, as well as reports and other information provided to

  them in connection therewith.

         551.    By virtue of the foregoing, the Section 20(a) Defendants each had the power to

  influence and control, and did influence and control, directly or indirectly, the decision-making of

  the Company, including the content of its public statements with respect to its operations, corporate

  governance, and compliance with regulators.

         552.    The Section 20(a) Defendants were culpable participants in Celgene’s fraud alleged

  herein, by acting knowingly and intentionally, or in such a deliberately reckless manner as to

  constitute willful fraud and deceit upon Lead Plaintiff and the other members of the Class who

  purchased the Company’s common stock during the Class Period.




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         553.    By reason of the foregoing, the Section 20(a) Defendants are liable to Lead Plaintiff

  and the members of the Class as controlling persons of the Company in violation of Section 20(a)

  of the Exchange Act.

  XII.   PRAYER FOR RELIEF

     WHEREFORE, Lead Plaintiff respectfully prays for judgment as follows:

         554.    Determining that this action is a proper class action maintained under Rules 23(a)

  and (b)(3) of the Federal Rules of Civil Procedure, certifying Lead Plaintiff as class representative,

  and appointing Kessler Topaz Meltzer & Check, LLP as class counsel pursuant to Rule 23(g);

         555.    Declaring and determining that Defendants violated the Exchange Act by reason of

  the acts and omissions alleged herein;

         556.    Awarding Lead Plaintiff and the Class compensatory damages against all

  Defendants, jointly and severally, in an amount to be proven at trial together with prejudgment

  interest thereon;

         557.    Awarding Lead Plaintiff and the Class their reasonable costs and expenses incurred

  in this action, including but not limited to, attorneys’ fees and costs incurred by consulting and

  testifying expert witnesses; and

         558.    Granting such other and further relief as the Court deems just and proper.

                                     JURY TRIAL DEMANDED

         Lead Plaintiff hereby demands a trial by jury.


  Dated: February 22, 2019

                                                 Respectfully submitted,

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